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                        EXHIBIT B
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 1                          UNITED STATES DISTRICT COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
 3                                 EASTERN DIVISION
 4
 5          RAUL NOVOA, JAIME CAMPOS
            FUENTES, ABDIAZIZ KARIM,
 6          and RAMON MANCIA,
            individually and on behalf
 7          of all others similarly
            situated,
 8
                             Plaintiffs,
 9               vs.                            No. 5:17-cv-02514-JGB-SHKx
10          THE GEO GROUP, INC.,
11                           Defendant.
            _________________________/
12
13
14             DEPOSITION OF SERENA MORONES, CPA, ASA, ABV, CFE
15                   appearing remotely at Portland, Oregon
16                          Thursday, September 24, 2020
17
18
19
20
21
22
23          Reported by:
            Natalie Y. Botelho
24          CSR No. 9897
25          Job No. 4264454

                                                                 Page 1

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     1          UNITED STATES DISTRICT COURT                              1               INDEX
     2         CENTRAL DISTRICT OF CALIFORNIA                             2   WITNESS                                   PAGE
     3             EASTERN DIVISION                                       3   Serena Morones
     4                                                                    4
                                                                          5   EXAMINATION
     5 RAUL NOVOA, JAIME CAMPOS
                                                                          6   By Mr. Charest                              8
       FUENTES, ABDIAZIZ KARIM,                                           7   By Ms. Scheffey                             305
     6 and RAMON MANCIA,                                                  8   FURTHER EXAMINATION
       individually and on behalf                                         9   By Mr. Charest                             316
     7 of all others similarly                                           10              ---oOo---
       situated,                                                         11
     8                                                                   12            EXHIBITS
                Plaintiffs,                                              13 NUMBER               DESCRIPTION         PAGE
     9    vs.             No. 5:17-cv-02514-JGB-SHKx                     14 Exhibit 203 Rebuttal Expert Report of    9
    10 THE GEO GROUP, INC.,                                                          Serena Morones, dated
                                                                         15          August 31, 2020, CPA, ASA,
    11          Defendant.
                                                                                     ABV, CFE
       _________________________/                                        16
    12                                                                      Exhibit 204 Expert Declaration of      10
    13                                                                   17          Professor Michael Childers
    14        Videotaped remote deposition of SERENA                     18 Exhibit 205 Amended Expert Report of Jody 10
    15 MORONES, taken on behalf of Plaintiffs, at Portland,                          Bland dated September 2, 2020
    16 Oregon, beginning at 9:13 a.m. and ending at 5:40                 19
    17 p.m. on Thursday, September 24, 2020, before NATALIE                 Exhibit 206 Performance-Based National     68
    18 Y. BOTELHO, Certified Shorthand Reporter No. 9897.                20          Detention Standards 2011,
    19                                                                               Bates GEO-Novoa_00015059
                                                                         21          through 00015534
    20
                                                                         22 Exhibit 207 A GEO Group document dated      109
    21                                                                               06/19/2018 re: Job Title:
    22                                                                   23          Janitor, Bates GEO-Novoa_00062408
    23                                                                               through 00062416
    24                                                                   24
    25                                                                   25
                                                                Page 2                                                                   Page 4

     1 APPEARANCES:                                                       1        E X H I B I T S (continued)
     2                                                                    2 NUMBER               DESCRIPTION           PAGE
     3 For Plaintiffs:                                                    3 Exhibit 208 A screenshot of page 16 of 43 179
                                                                                     entitled "Table 3: Shift
     4      BURNS CHAREST LLP
                                                                          4          Lengths by Job Type," with
            BY: DANIEL CHAREST, ESQ.                                                 annotations in red
     5      BY: LARRY VINCENT, ESQ.                                       5
            BY: LAUREN CROSS, ESQ.                                          Exhibit 209 Expert Report of Peter H.     262
     6      900 Jackson Street, Suite 500                                 6          Nickerson, Ph.D. dated
            Dallas, TX 75202                                                         September 20, 2018, Bates
     7      (469)904-4555                                                 7          GEO-Novoa_00086951 through
                                                                                     00086992
            dcharest@burnscharest.com
                                                                          8
     8      lvincent@burnscharest.com                                       Exhibit 210 Memorandum to La Rond Baker, 286
            lcross@burnscharest.com                                       9          from Peter H. Nickerson, Ph.D.,
     9                                                                               dated October 9, 2018, RE:
            BURNS CHAREST LLP                                            10          Amended Expert Report of
    10      BY: LYDIA WRIGHT, ESQ.                                                   Peter H. Nickerson, Ph.D. and
            365 Canal Street, Suite 1170                                 11          attachments GEO-Novoa_00161980
                                                                                     through 00162016
    11      New Orleans, LA 70130
                                                                         12
            (504)799-2844                                                   Exhibit 211 A document entitled "The GEO 236
    12      lwright@burnscharest.com                                     13          Group Inc. Initial/Hazardous
    13 For Defendants:                                                               Communications Safety Training,"
    14      AKERMAN LLP                                                  14          Bates GEO-Novoa_00000116
            BY: ADRIENNE SCHEFFEY, ESQ.                                              through 00000129
    15      1900 16th Street, Suite 1700                                 15
            Denver, CO 80202                                                Exhibit 212 An e-mail thread, the most    247
                                                                         16          recent e-mail from Patricia
    16      (303)640-2512
                                                                                     Love, to Michelle Keeney, sent
            adrienne.scheffey@akerman.com                                17          3/7/2018, Bates
    17                                                                               GEO-Novoa_00001227 through
    18 Also Present:                                                     18          00001229
    19      JULIANNA GRAVOIS, paralegal, Burns Charest,                  19 Exhibit 213 A GEO Group document dated        255
       LLP                                                                           06/20/2018 for Job Title: Food
    20                                                                   20          Service Worker, Bates
                                                                                     GEO-Novoa_00062421 and 00062422
    21
                                                                         21
    22                                                                   22
    23                                                                   23              ---oOo---
    24                                                                   24
    25                                                                   25
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     1    Portland, Oregon, Thursday, September 24, 2020             1         MS. SCHEFFEY: Yes. Other than privilege
     2               9:13 a.m.                                       2   where I instruct her to answer that's --
     3                                                               3         MR. CHAREST: Fair.
     4                 PROCEEDINGS                                   4         THE VIDEOGRAPHER: You can swear the
     5          THE VIDEOGRAPHER: Good morning. We are               5   witness, please.
     6   going on the record at 9:13 a.m. on September 24th,         6
     7   2020. Audio and video recording will continue to            7              SERENA MORONES,
     8   take place unless all parties agree to go off the           8   having been administered an oath, was examined and
     9   record.                                                     9            testified as follows:
    10          This is Media Unit 1 of the video recorded          10
    11   deposition of Serena Morones, taken by counsel for         11            EXAMINATION BY MR. CHAREST
    12   Plaintiff in the matter of Raul Novoa, Jaime Campos        12         MR. CHAREST: Q. Good morning,
    13   Fuentes, Abdiaziz Karim, and Ramon Mancia,                 13   Ms. Morones. Can you state your name for the
    14   individually and on behalf of all others similarly         14   record, please?
    15   situated versus The GEO Group, Inc., filed in the          15   A.      Serena Morones.
    16   United States District Court, Central District of          16   Q.      And where are you located right now?
    17   California, Eastern Division, Case                         17   A.      In my office in downtown Portland, Oregon.
    18   No. 517-cv-02514-JGB-SHKx.                                 18   Q.      And do you live in Portland, Oregon or
    19          The deposition is being conducted using             19   thereabouts?
    20   Veritext Zoom technology, and all parties are              20   A.      Yes.
    21   appearing remotely. The videographer is Brittany           21   Q.      Is your house okay?
    22   Rohan, and the court reporter is Natalie Botelho,          22   A.      Thank you for asking. Yes.
    23   both appearing on behalf of Veritext Legal                 23   Q.      That's good. I'm glad.
    24   Solutions. I am not related to any party in this           24         You issued a report in connection with the
    25   action, nor am I financially interested in the             25   case before the court here, what we call the Novoa
                                                           Page 6                                                        Page 8

     1   outcome.                                                    1   case, correct?
     2          Counsel and all present in the remote room           2   A.       Yes.
     3   will now state their appearances and affiliations           3   Q.       All right. And I know you are probably
     4   for the record. If there are any objections to              4   fairly well versed in remote depositions, but I just
     5   proceeding, please state them at the time of your           5   want to make sure that we both understand each
     6   appearance, beginning with the noticing attorney.           6   other. You have access to a share screen where
     7          MR. CHAREST: Daniel Charest, for the                 7   exhibits are being posted, correct?
     8   plaintiffs, joined by, remotely here, Lydia Wright,         8   A.       Yes.
     9   Lauren Cross, and Larry Vincent, also for                   9          (Whereupon Exhibit 203 was marked for
    10   Plaintiffs.                                                10          identification.)
    11          MS. SCHEFFEY: Adrienne Scheffey, on                 11          MR. CHAREST: Q. Okay. So I've marked
    12   behalf of the GEO Group, and we don't have any             12   for the record Exhibit 203 as your rebuttal report.
    13   objection to remote swearing in and the videography.       13   Can you confirm for me that that is, in fact, your
    14          While I have a moment, Dan, the magistrate          14   rebuttal report?
    15   judge in this case has previously suggested to the         15   A.       Okay. I will open it. I hadn't clicked
    16   parties that they should try to stipulate, if              16   on anything yet. Yes, this is -- well, wait. Let
    17   possible, in the beginning of a deposition that all        17   me just get comfortable with moving around. I see
    18   objections other than to form are preserved, to kind       18   the first page. Yes. Okay. This is my rebuttal
    19   of speed up the process. Are Plaintiffs willing to         19   report.
    20   agree to that today?                                       20   Q.       Great. And do you have a hard copy of
    21          MR. CHAREST: Yes.                                   21   that in your office now?
    22          MS. SCHEFFEY: Thank you.                            22   A.       I don't. If you want me to, I would need
    23          MR. CHAREST: As long as the responsive --           23   to print it out. I could do that. Wouldn't take
    24   the other side of that is that the objections are          24   long, but I didn't bring anything.
    25   made "Objection; form," and that's it, yeah.               25   Q.       Fair. Well, I guess what I'd say is, on
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     1   that, if you need one and you find it more               1           THE WITNESS: Yeah, Adrienne, your volume
     2   expedient, let's just cut a break and print it, but      2   is a little low. I was struggling to hear it
     3   let's just see how it goes. Okay?                        3   earlier, so...
     4   A.       Okay.                                           4           Yes, that's correct.
     5           (Whereupon Exhibit 204 was marked for            5           MR. CHAREST: Q. Okay. In -- aside from
     6           identification.)                                 6   those three broad strokes of kind of things you did
     7           MR. CHAREST: Q. All right. Similarly,            7   in your report, can -- is there anything else you
     8   available to you are Exhibits 204, which is a report     8   think that you did beyond those three things:
     9   issued by an expert in the case named Michael            9   Question the assumptions, show the sensitivity of
    10   Childers, correct?                                      10   the different assumptions, and address math errors?
    11   A.       Yes, I see that.                               11           MS. SCHEFFEY: Object to form.
    12           (Whereupon Exhibit 205 was marked for           12           THE WITNESS: I believe -- at a high
    13           identification.)                                13   level, I believe those are the categories of -- of
    14           MR. CHAREST: Q. And the other one that's        14   opinions and information provided. As we go along,
    15   available to you is Exhibit 205, which is an amended    15   if something else comes out, I might raise it, but I
    16   expert report of Jody Bland, correct?                   16   think that sounds reasonable.
    17   A.       Correct.                                       17           MR. CHAREST: Q. Okay. Very good. Thank
    18   Q.       And just -- those are the three exhibits       18   you.
    19   you have available to you now, and if you need to       19           Adrienne, what's your -- what was your
    20   refer to any of them to answer a question, I'd          20   objection?
    21   please encourage you to do that. Okay?                  21           MS. SCHEFFEY: Oh, form. That's all.
    22   A.       Okay.                                          22           MR. CHAREST: Yeah, but when I ask you
    23   Q.       And the report that you issued, which is       23   "what," I want to know what it is exactly.
    24   Exhibit 203, is a rebuttal report to both the           24           MS. SCHEFFEY: Compound.
    25   Childers report and the Bland report, correct?          25           MR. CHAREST: Compound? Okay.
                                                       Page 10                                                    Page 12

     1   A.      Yes.                                             1   Q.      Okay. So let's talk about your background
     2   Q.      And you were hired as a rebuttal expert by       2   and experience. Is "Ms. Morones" okay?
     3   GEO, the defendant in this case, to evaluate those       3   A.      Yes.
     4   reports and provide your opinions about them,            4   Q.      Thank you. Let's talk about your
     5   correct?                                                 5   background and experience. You own and run a
     6   A.      Correct.                                         6   professional expert witness farm, correct?
     7   Q.      And in broad strokes, my -- I would              7   A.      I've never had anyone call it that. It's
     8   describe your observation as follows, and I'll see       8   a CPA firm that specializes in damage analysis,
     9   if you agree with me: No. 1, you question and            9   business valuation, forensic accounting, data
    10   sometimes contradict assumptions that are made by       10   analytics.
    11   the experts; is that fair?                              11   Q.      Yeah, but for litigation, right?
    12   A.      Yes.                                            12   A.      For litigation and for other purposes too,
    13   Q.      You -- No. 2, you show the impact               13   but largely, yes, for litigation.
    14   vis-a-vis the bottom line, if you will, of changed      14   Q.      Right. I mean, there's nothing wrong with
    15   assumptions or changed inputs, correct?                 15   being a professional damages expert. That's --
    16   A.      Correct.                                        16   people do that for a living. But that is, in fact,
    17   Q.      And No. 3, you purport to correct what you      17   what you are, right?
    18   perceive as math errors or, I would call,               18          MS. SCHEFFEY: Object to form.
    19   analytical, but fundamentally math errors that were     19          THE WITNESS: Yes.
    20   done either by Mr. Bland or by Mr. Childers in the      20          MR. CHAREST: What's your objection?
    21   report, correct?                                        21          MS. SCHEFFEY: Object to form.
    22          MS. SCHEFFEY: Object to form.                    22          MR. CHAREST: What's the form objection?
    23          THE WITNESS: I'm sorry, I couldn't hear.         23          MS. SCHEFFEY: Argumentative, and also, I
    24          MR. CHAREST: Q. She objected to form.            24   would probably move to strike your testimony.
    25   It's okay. You can answer.                              25          MR. CHAREST: Q. And if I read your
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     1   opinions correctly, Ms. Morones, you don't have         1   independent evaluation or research, correct?
     2   any -- you don't have an independent opinion about      2   A.      That's --
     3   what damages are appropriate in this case. You just     3          MS. SCHEFFEY: I'm going to instruct you
     4   critique the presentations of Mr. Bland and             4   not to answer to the extent that calls for
     5   Mr. Childers; is that correct?                          5   information about things we've discussed, but beyond
     6   A.      That's correct.                                 6   that, you can answer.
     7   Q.      Okay. The analytical aspect of your             7          THE WITNESS: Yes, that's generally
     8   firm's work, I suspect, is -- I'm just shifting back    8   correct. Those are our sources of information in a
     9   to your experience in your firm. I'm sorry. Are         9   case.
    10   you with me on topic?                                  10          MR. CHAREST: Q. Did you limit your
    11   A.      I think so. I'll wait to hear your             11   answer at all in respect to that instruction you
    12   question.                                              12   took?
    13   Q.      Of course. The -- your firm is not -- and      13   A.      No.
    14   you are not an expert on evaluating facts, correct?    14   Q.      Okay. In this specific case, you did
    15          MS. SCHEFFEY: Object to form.                   15   receive information from attorneys about facts of
    16          THE WITNESS: I -- I don't know that I can       16   the case, correct?
    17   agree to that. In my work as a forensic accountant,    17   A.      Correct.
    18   I do evaluate information and accumulate support for   18   Q.      And you relied on those factual assertions
    19   our calculations and opinions. However, there are      19   and statements by counsel in developing and
    20   always disputed facts in cases that it isn't within    20   presenting your opinions, correct?
    21   my assignment or expertise to evaluate. It's going     21          MS. SCHEFFEY: Object to form.
    22   to be something that the Court ultimately concludes?   22          THE WITNESS: I would say so, yes.
    23          MR. CHAREST: Q. Or the jury, right?             23          MR. CHAREST: What's your objection?
    24   A.      Or the jury, yes.                              24          MS. SCHEFFEY: Where I object to form?
    25   Q.      And so when, for example, you make in your     25          MR. CHAREST: Yes.
                                                      Page 14                                                         Page 16

     1   reports an observation about, "Well, this fact is X     1          MS. SCHEFFEY: That was vague. I wasn't
     2   or Y," you're not saying that that thing you're         2   sure which one of the two you were asking her what
     3   asserting is necessarily true or a better fact about    3   she relied on, the facts she received or the
     4   the thing that's being talked about. It's just          4   statements from counsel. Two separate things in
     5   you're bringing some fact to the table and saying       5   there.
     6   "Probably this should be considered as well"; is        6          MR. CHAREST: Q. Ms. Morones, you
     7   that fair?                                              7   received statements of counsel on which you premised
     8           MS. SCHEFFEY: Object to form.                   8   at least some of your report, correct?
     9           THE WITNESS: That's generally fair.             9   A.       That's correct. We've cited conversations
    10   There are some exceptions to what you said in a        10   with counsel in our report.
    11   forensic accounting analysis where part of our work    11   Q.       I've seen at least two such citations, and
    12   is to try to determine the most well-supported fact.   12   I suspect we'll talk about whether there was other
    13   In this particular case, I cannot -- you know, I'd     13   sources of information through counsel. But you at
    14   have to look at a more specific to determine if        14   least cited twice conversations with counsel as a
    15   that's something that we did.                          15   basis for an opinion you rendered, correct?
    16           MR. CHAREST: Q. But ultimately you would       16   A.       I don't recall the number, but I do
    17   agree with me that your position as an expert is not   17   remember citing conversations with counsel.
    18   to determine which facts are true or not. It's in      18   Q.       Right. And the documents you received
    19   the province of the judge and the jury, correct?       19   from -- well, let me -- can I start that question
    20   A.       That's correct. We assumed facts and make     20   again? Can I start the question again, please?
    21   calculations based on those facts.                     21          I was asking the witness if I can start
    22   Q.       And the assumptions you get are based on      22   the question again.
    23   information you receive from the lawyers for whom      23   A.       Yeah, I also don't understand what you're
    24   you've -- you are working or the records that the      24   asking me. So just if you want to ask the question
    25   lawyers provided for you or, if you've done it, an     25   again or ask a new question, go ahead.
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     1   Q.      In addition to receiving information          1     such as literal time records of length of time spent
     2   orally from counsel, you also received documents      2     on specific detainee details, but I don't recall
     3   from counsel, correct?                                3     anything that I understand exists that we didn't --
     4   A.      Yes.                                          4     that wasn't provided.
     5   Q.      You did not conduct an independent review     5     Q.       In response to a question from you,
     6   of GEO documents to find things that you might think 6      correct?
     7   were relevant, correct?                               7     A.       Correct.
     8   A.      I would not have the ability to obtain GEO    8     Q.       So if there's -- if there's an issue about
     9   documents outside of counsel providing them.          9     which there is no information, can we conclude,
    10   Q.      Well, in fact, in fairness, you could have   10     then, that either you didn't ask, the materials
    11   been given a console and a host of documents and     11     don't exist, or GEO did not provide it to you?
    12   spent time reviewing them yourself. That's a thing   12            MS. SCHEFFEY: Object to form.
    13   that could have happened, correct?                   13            THE WITNESS: I wouldn't want to conclude
    14          MS. SCHEFFEY: Object to form.                 14     that without looking at a specific example because I
    15          THE WITNESS: Yes, that happens sometimes 15          may not remember every situation, every scenario.
    16   in cases, yes.                                       16     So it's not fair to -- for me to say everything fits
    17          MR. CHAREST: Q. That did not happen in        17     within those three, because I can't remember
    18   this case, correct?                                  18     every -- every document asked and received
    19   A.      That's correct.                              19     throughout the whole process. Generally, what you
    20   Q.      All right. The documents that you cite       20     described is how we receive information. I would
    21   and you rely on in your report were given to you and 21     agree with that.
    22   have been selected prior by counsel, correct?        22            MR. CHAREST: Q. All right. And sitting
    23   A.      Not necessarily. We go through a process     23     here, as we're discussing it, you can't conceive of
    24   of asking for things, and some documents may have 24        any other scenario, other than you not asking, GEO
    25   been provided upon our request.                      25     not providing it, or the materials not existing and
                                                      Page 18                                                      Page 20

     1   Q.      Okay. Then there's two subsets of               1   GEO telling you, "Yeah, that doesn't exist,"
     2   documents let's talk about. One set was provided by     2   correct?
     3   counsel without your asking, correct?                   3   A.       Nothing comes to mind.
     4          MS. SCHEFFEY: Object to form.                    4   Q.       This case is not about lost profits, is
     5          THE WITNESS: Yes. In every case, we              5   it?
     6   receive an initial set of documents, yes.               6          MS. SCHEFFEY: Object to form.
     7          MR. CHAREST: Q. Well, I'm not -- I'm not         7          THE WITNESS: Not strictly. It's about
     8   suggesting anything nefarious. I'm just trying to       8   lost earnings. And so according to your strict
     9   understand what's going on.                             9   definition of "lost profits," no.
    10          So aside from the documents you receive         10          MR. CHAREST: Q. Okay. It's not about IP
    11   from counsel unprompted, you also received other       11   damages, correct?
    12   documents from counsel in response to requests,        12   A.       Correct.
    13   correct?                                               13   Q.       It's not a personal injury/wrongful death
    14   A.      Yes, that's very likely. I don't have a        14   case, right?
    15   specific recall of which documents were received       15   A.       Correct.
    16   that way, but throughout this case, we had many        16   Q.       It's not a business valuation case or
    17   discussions about information and made requests.       17   issue, correct?
    18   Q.      Did you ever make a request of counsel for     18   A.       Not according to a strict definition of
    19   information not provided?                              19   "business valuation."
    20   A.      I don't recall anything that fits that         20   Q.       The other -- I'm -- you maybe have caught
    21   category.                                              21   on to it, but maybe not. I'm looking at the
    22   Q.      So there's no unanswered questions on your     22   different categories of expertise you have on your
    23   part that GEO did not provide information?             23   website. Okay. The remainder are forensic
    24   A.      Well, there are categories of information      24   accounting/fraud investigation and data analytics.
    25   that I understand do not exist that we asked about,    25   And you also say -- and those are the other two
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     1   topics. I'm curious to see if you think the work        1   assignment.
     2   you did fits within one of those two buckets.           2   Q.      Right. And you have no opinion about the
     3   A.      Of data analytics or forensic accounting?       3   appropriate damage number for lost earnings under
     4   Q.      The other two areas of expertise you            4   any of the theories, whether presented by Mr. Bland
     5   purport to have in your -- on your website.             5   or by Mr. Childers, correct?
     6   A.      The work definitely falls within a              6          MS. SCHEFFEY: Object to form.
     7   category of forensic accounting, and to some degree     7          THE WITNESS: I have not -- correct. I
     8   data analytics. It's very -- data analytics is very     8   have not reached an opinion about overall damages.
     9   open-ended in terms of what it means.                   9          MR. CHAREST: Q. And not only did not
    10   Q.      Okay. And so I take your point, I think,       10   reach one. Not been asked to do one and not
    11   the concept being, again, you're not trying to         11   presented one in the disclosures, correct?
    12   divine what damages are appropriate, but rather did    12   A.      Correct.
    13   the experts do their job properly; is that fair?       13   Q.      And don't have any plan to testify about
    14   A.      Did the experts adequately support their       14   the appropriate damage amount for this case if
    15   opinions, are the assumptions adequately supported,    15   called at trial, correct?
    16   are the calculations made accurately.                  16   A.      Correct.
    17   Q.      But by -- I'm trying to talk about the         17          MS. SCHEFFEY: Object to form.
    18   application of your experience and expertise to the    18          MR. CHAREST: What's your objection?
    19   work you did. I understand that's the work you did,    19          MS. SCHEFFEY: Object to form.
    20   but I'm trying to see do you have the tools to do      20          MR. CHAREST: What's the form objection?
    21   that work. That's my question. So are you applying     21          MS. SCHEFFEY: Appropriate damage amount,
    22   data analytics to that work?                           22   I think that -- I don't want to tell her, but it
    23   A.      Yes, to some degree, and probably to a         23   sounds like that that's vague because, insofar as
    24   larger degree, forensic accounting.                    24   she critiques what your expert set forth, what is
    25   Q.      Okay. But again, neither forensic              25   the appropriate damage amount to encompass that. I
                                                      Page 22                                                        Page 24

     1   accounting nor data analytics are fields that are       1   just don't think that's a very clear term.
     2   used to determine the amount of unpaid wages for a      2           MR. CHAREST: Well, let's -- I'll just
     3   class of workers, correct?                              3   take that. Let's put that term on the table and
     4          MS. SCHEFFEY: Object to form.                    4   talk about it.
     5          THE WITNESS: I would disagree with that.         5   Q.       Ms. Morones, you show different
     6   Forensic accounting encompasses lost earnings           6   sensitivity analyses in your report, correct?
     7   calculations, damage calculations, broadly within       7   A.       Correct.
     8   the training that the AICPA provides. For example,      8   Q.       But you don't purport to say that the
     9   there's quite a bit of training on lost earnings        9   answer you conclude is the correct number to use,
    10   calculations. So forensic accounting does cover        10   right?
    11   concepts of damage quantification in a wide variety    11   A.       That's correct. I do not reach a final
    12   of categories of damage.                               12   opinion of damage.
    13          MR. CHAREST: Q. Right. From an                  13   Q.       Well, not just a not final opinion, but
    14   evaluative perspective, meaning did the person that    14   literally you're not trying to say that, "Oh, you
    15   generated this number do it correctly, but not in      15   should subtract a million dollars, and therefore,
    16   the sense of generating a number of what an            16   the correct amount would be X." That's not what
    17   appropriate damage amount is, correct?                 17   you're doing in your report, right?
    18   A.      I disagree with that. The forensic             18           MS. SCHEFFEY: Object to form.
    19   accounting profession includes training and the        19           THE WITNESS: Not as a whole. In the
    20   development of expertise in quantifying damages for    20   categories of correcting errors, in quantifying the
    21   lost earnings and lost profits.                        21   impact of an error, it would be -- it would be
    22   Q.      Okay. But that's not what you did in this      22   correct in terms of quantifying that error, but I
    23   case, correct? You have not quantified what you        23   have, as I've said, not reached an opinion of
    24   believe an appropriate damage measure is, correct?     24   damages as a whole.
    25   A.      That's correct. That was not my                25           MR. CHAREST: Q. "Reached an opinion of
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     1   damages as a whole." What do you mean? What's the           1   between two assumptions.
     2   difference between what you're saying and what I'm          2   Q.      Okay. And the reasonableness or not of an
     3   saying? Do you have an opinion about the                    3   assumption is, in your view, the exercise of your
     4   appropriate measure of damages in this case or not,         4   expert skills and ability?
     5   ma'am?                                                      5   A.      Yes, it can be, in some categories of
     6   A.      I did not reach an opinion of one final             6   assumptions that directly support a quantification
     7   number of damage. I talked about in my report the           7   in terms of evaluating evidence and understanding
     8   impact of errors made by the other experts and the          8   whether that evidence directly supports that
     9   amount. Quantified the amount of those, in some             9   quantification.
    10   cases, errors; other cases, questioned the                 10   Q.      But you agree with me that ultimately,
    11   assumptions.                                               11   whatever assumption you endorse and whatever
    12   Q.      Well, what you talked about in your report         12   assumption someone else might endorse at the end of
    13   was, "I'm showing the sensitivity of the                   13   the day will turn on the facts that are presented to
    14   calculations to different inputs," not, "And               14   the jury and the judge, correct?
    15   their" -- "but" -- "and my assumption is better than       15   A.      Yes, that's correct.
    16   their assumption." So I'm a little confused now.           16   Q.      And so just because you think your
    17   A.      Well, there is some of that, but there is          17   assumption is more reasonable doesn't mean you're
    18   also other calculations that show the impact of what       18   trying to take that issue out of the province of the
    19   appear to be errors, so I would need to separate           19   jury's hands?
    20   those in the discussion. I do agree that some are          20   A.      That's correct.
    21   sensitivity analyses; other, quantification of             21   Q.      And at the end of the day, the
    22   errors.                                                    22   reasonableness of an assumption is -- it turns on a
    23   Q.      And the sensitivity error -- the                   23   determination of fact?
    24   sensitivity aspect is the second thing we talked           24   A.      Yes.
    25   about, showing the impact of different assumptions,        25   Q.      Again, within the province of the jury and
                                                          Page 26                                                     Page 28

     1   correct?                                                    1   not one for an expert to opine on, correct?
     2          MS. SCHEFFEY: Object to form.                        2           MS. SCHEFFEY: Object to form.
     3          THE WITNESS: Yes.                                    3           THE WITNESS: The expert will opine on it,
     4          MR. CHAREST: What's your objection?                  4   but it's ultimately within the province of the jury.
     5          MS. SCHEFFEY: Object to form. I thought              5           MR. CHAREST: Q. Fair enough. I
     6   it misstates prior testimony.                               6   appreciate a distinction. I think you and I are
     7          MR. CHAREST: Q. And so while you don't               7   both saying the -- doing the same thing, so I'll try
     8   have an opinion about the appropriate measure of            8   and articulate it again. Okay?
     9   damages in this case, you do have opinions -- I             9   A.       Sure.
    10   guess quantifiable opinions is the better way to           10   Q.       So while you may have opinions on what
    11   think about it -- about reductions that would be           11   facts exist or don't exist, ultimately the jury and
    12   appropriate for what you perceive to be math errors;       12   the judge are the people that will decide those
    13   is that right?                                             13   things, correct?
    14   A.       Correct.                                          14   A.       Yes, that's correct.
    15   Q.       And outside of the math error                     15   Q.       And the facts as you know them, 100% of
    16   categorization, the math that you show is intended         16   them came through the counsel for GEO, right?
    17   to show the effect of one assumption versus another,       17           MS. SCHEFFEY: Object to form.
    18   but not to say that that assumption is correct or          18           THE WITNESS: Well, 100% is a pretty tall
    19   this assumption is correct, right?                         19   number. There may be some background information
    20   A.       Well, in some categories of the                   20   about GEO that came elsewhere.
    21   assumptions -- I'm sure we'll walk through them -- I       21           MR. CHAREST: Q. Okay.
    22   do assert a more logical assumption. So I'm saying         22   A.       But in terms of the detailed calculations,
    23   in some categories that it is my opinion that an           23   yes, the information is provided through the
    24   alternate assumption is more reasonable, whereas           24   litigation process.
    25   what you're describing is merely indifference              25   Q.       Okay. And when you say "the litigation
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     1   process," we're talking about conversations with the     1          MS. SCHEFFEY: Object to form.
     2   lawyers that hired you and their provision of work       2          THE WITNESS: Yes. I would say that's
     3   and materials and documents to give you information,     3   correct.
     4   correct?                                                 4          MR. CHAREST: What's your objection?
     5   A.       Yes, that's correct.                            5          MS. SCHEFFEY: Object to form.
     6   Q.       All right. Did you or your -- any of your       6          MR. CHAREST: Yeah. What's the form
     7   associates or anyone at your firm conduct any            7   objection?
     8   independent research with respect to any facts that      8          MS. SCHEFFEY: Leading. If you want to
     9   you can think of in this case?                           9   know what a certain term is, you can ask that. It's
    10   A.       Well, as I previously mentioned, we            10   not an adverse or a complicated question. You can
    11   familiar -- we became familiar with GEO by just         11   simply ask what it means by the term. Leading.
    12   doing general research, and nothing else                12          MR. CHAREST: Leading. Okay.
    13   specifically comes to mind in terms of outside of       13   Q.      How many times have you been deposed,
    14   materials provided.                                     14   Ms. Morones?
    15   Q.       Can you describe in any kind of detail the     15   A.      I'm not hearing you very well. I'm not
    16   general research?                                       16   sure why, but...
    17   A.       I'm not sure I understand your question.       17   Q.      I talk too fast. I'll try and go slower.
    18   You want me to describe it now, or are you asking if    18   A.      Okay. You're a little muddled, so --
    19   I described it in the report?                           19   right.
    20   Q.       Well, I didn't see it in the report, so        20   Q.      How many times have you been deposed?
    21   yes, I'd like you to describe it now, please.           21   A.      I would estimate around 30.
    22   A.       I just couldn't remember if we cited           22   Q.      Do you typically work for plaintiff
    23   any -- any -- you know, sometimes we'll cite the        23   lawyers or defense lawyers?
    24   company website. I just couldn't remember if we did     24   A.      I don't typically work for one or the
    25   in this case. I know that I've reviewed the company     25   other, as far as I know.
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     1   website several times, looking -- just looking at        1   Q.      What was the -- the case against
     2   general descriptions of the facility, familiarizing      2   Starbucks, were you on the plaintiff's side or the
     3   myself with the company, what it does.                   3   defendant's side?
     4   Q.      You cite the annual report a few times.          4   A.      I was on the defense side.
     5   Did you get that independently, or did you get that      5   Q.      So you were representing Starbucks?
     6   through the lawyers?                                     6   A.      Yes.
     7   A.      I don't recall.                                  7   Q.      Or working for Starbucks?
     8   Q.      You do cite on footnote 11 the website,          8   A.      Yes.
     9   "Facility Detail." Did you get that information          9   Q.      In your CV, which is attached to your --
    10   independent, or did you get shown the -- by the         10   as Exhibit A to your report, you list about a page
    11   lawyers where to find that information?                 11   worth of cases. Can you flip to that, please? It's
    12   A.      I don't recall. We very -- we most likely       12   Attachment A.
    13   have obtained it independently.                         13          MS. SCHEFFEY: Do you have a PDF page?
    14   Q.      Aside from -- well, let me ask this: Did        14   Are you on page --
    15   you find anything on -- in the independent research     15          MR. CHAREST: Find it.
    16   that gave you information on which you relied to        16          MS. SCHEFFEY: Looks like it's --
    17   challenge any assumption made by either of the          17          THE WITNESS: Sorry. I blew past it.
    18   experts to which you offered a rebuttal opinion?        18          MS. SCHEFFEY: I think it's 26, page 26 on
    19   A.      Not outside of the GEO litigation               19   the Exhibit Share.
    20   materials, no, nothing comes to mind.                   20          THE WITNESS: Are you referring to --
    21   Q.      Right. And so just -- you used a phrase         21   could you ask you the question again? My CV page or
    22   "GEO litigation materials." And to be really clear,     22   my list of cases in the report?
    23   what we're talking about there is information and       23          MR. CHAREST: Q. Yeah, I kind of was
    24   documents provided to you by GEO counsel for the        24   treating them as one, but yeah, the list of cases,
    25   purposes of your report, correct?                       25   which comes after the page with your picture on it.
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     1   Do you want to put it up so we just can look to see     1   A.       I don't have an opinion on the legal
     2   what we're talking about here?                          2   claims. It's not my -- it's not my role to form an
     3   A.      Are you asking me to do that? I don't           3   opinion about them.
     4   know how to --                                          4   Q.       Do you think it's good to threaten people
     5   Q.      No, I'm asking if you would like that. Is       5   with detention solitary confinement if they refuse
     6   that easier for you or not?                             6   to work when they're not required to?
     7   A.      I have it up. I found it.                       7          MS. SCHEFFEY: Object to form.
     8   Q.      All right. So let's go down the list.           8          THE WITNESS: I don't know.
     9   The Starbucks case, you were on the defense side,       9          MR. CHAREST: Q. You don't know?
    10   right?                                                 10   A.       No, I don't know. I don't know anything
    11   A.      Yes.                                           11   about the morality of -- I just haven't given it
    12   Q.      How about the next one, Vesta?                 12   thought -- of a detention center operation.
    13   A.      Vesta. The plaintiff.                          13   Q.       You strike me as a very smart person.
    14   Q.      And Columbia Sportswear?                       14   Just sitting here today, you don't have any views on
    15   A.      Plaintiff.                                     15   that at all?
    16   Q.      Reser Fine Foods?                              16   A.       I haven't formed any views. It's --
    17   A.      It was on behalf of the defendant, Bob         17   Q.       Do you need some time?
    18   Evans Farms.                                           18   A.       No. I don't -- I don't feel that I have
    19   Q.      Are these just a selection of your overall     19   enough information to be able to form a -- if you're
    20   body of work?                                          20   asking for a personal opinion, I don't believe I
    21   A.      Yes. The CV with my picture is a, as it        21   have enough information to form a personal opinion.
    22   says, selected case history, whereas the attachment    22   Q.       So no personal opinion about whether or
    23   to the report is the federal disclosure requirement    23   not -- well, you understand -- let's back up a
    24   of testimony and depositions within the past four      24   second. You understand that the detainees that live
    25   years. So some of the cases on my CV did not result    25   in Adelanto are being civilly detained, not
                                                      Page 34                                                       Page 36

     1   in testimony, they resulted in settlement, but       1      criminally? You understand that, right?
     2   they're on my CV because they're interesting cases.  2      A.      Yes, I understand that, although I do
     3   Q.      That's fine. Let's not waste too much        3      understand -- I understand that that's what is at
     4   time with that.                                      4      issue in this case. I believe I read that Adelanto
     5          Let's look at your report, if you would,      5      might have another -- some of these facilities -- I
     6   please. Actually, before we do that, I want to ask   6      got to remember if Adelanto has other -- other
     7   you whether you have any opinions whatsoever on the 7       detainees, but I understand that that's what is at
     8   merits of the case. Are you with me?                 8      issue in this case.
     9   A.      Do you mean the legal claims?                9      Q.      What's at issue in this case? When you
    10   Q.      Yeah, that's -- I'm just shifting. I'm      10      say "this," what's the "this" that you're talking
    11   trying to articulate the topic. Okay?               11      about?
    12   A.      I do not have opinions on the legal         12      A.      Civil detainees.
    13   claims.                                             13      Q.      Well, do you think that's disputed,
    14   Q.      Well, let me ask you a question, and you    14      whether or not these people are civil detainees as
    15   can answer it, rather than doing it that way. Okay? 15      opposed to criminal?
    16          Do you have an opinion as to whether or      16      A.      I'm not aware of any dispute about that.
    17   not GEO should be able to pay a dollar a day to     17      Q.      You understand, based on your review of
    18   people that are forced to work?                     18      the record, that the folks that we're talking about
    19   A.      I don't have an opinion.                    19      are civil detainees, meaning they have not done
    20   Q.      Do you think GEO should be forced to pay    20      anything criminal, correct?
    21   people that it forces to work for nothing?          21      A.      That's my understanding, yes.
    22   A.      I don't have an opinion. I don't know.      22      Q.      You understand also that GEO is paid by
    23   Q.      You don't have an opinion as to whether or  23      the U.S. Government to take care of these people,
    24   not making people who are being civilly detained    24      correct?
    25   work on fear of punishment is right or wrong?       25      A.      That's my understanding, yes.
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     1   Q.      To provide shelter and food and                  1   a logical conclusion. I'm not trying to be
     2   recreational services during the time of their           2   argumentative. I just haven't familiarized myself
     3   detention. That's GEO's job that it gets paid by         3   with all of what they're obligated to provide.
     4   the government to do, correct?                           4   Q.       You cited the services contract in your
     5          MS. SCHEFFEY: Object to form, foundation.         5   report, and one of the services that's addressed
     6          THE WITNESS: I understand that GEO gets           6   there is kitchen workers, right?
     7   paid to take care of them while they are detained.       7   A.       Yes.
     8          MR. CHAREST: Q. Right. And "get taken             8   Q.       Yeah. And the kitchen workers are there
     9   care of" means specifically provide them room and        9   to provide food for people in the cell -- in the
    10   shel- -- board and shelter and food and access to       10   detention center, correct?
    11   entertainment, or at least recreational activities,     11   A.       Yes.
    12   correct?                                                12   Q.       Right. And so we can agree on this much
    13          MS. SCHEFFEY: Object to form.                    13   at least: No. 1, GEO has a contract with the United
    14          THE WITNESS: I have not studied the              14   States Government to run Adelanto?
    15   extent of what they're obligated to provide. What       15   A.       Yes.
    16   you're saying sounds reasonable. I just don't know      16   Q.       GEO gets paid for that contract by the
    17   about if they're obligated to provide the               17   United States Government for the services it
    18   recreation. You're probably right. I just don't         18   provides, correct?
    19   know.                                                   19   A.       Yes.
    20          MR. CHAREST: Q. Leave that aside. GEO's          20   Q.       Among the services GEO is obligated to
    21   obligation under the contracts it has with the          21   provide are food for the detainees?
    22   United States Government is to provide clean,           22          MS. SCHEFFEY: Object to form.
    23   livable shelter to these -- to the detainees,           23          THE WITNESS: I assume so.
    24   correct?                                                24          MR. CHAREST: Q. Among other services
    25          MS. SCHEFFEY: Object to form.                    25   GEO's obligated to provide are shelter, meaning a
                                                       Page 38                                                      Page 40

     1          THE WITNESS: I'm -- I don't even know. I          1   room and a place for the folks to live, correct?
     2   don't know -- it sounds reasonable, but I just don't     2   A.      I assume so.
     3   know for sure.                                           3   Q.      Yeah. And you know that GEO's getting
     4          MR. CHAREST: Q. You reviewed the                  4   paid for the services it provides, correct?
     5   contracts where it talked about workers and their        5   A.      Yes.
     6   jobs in the facility, correct?                           6   Q.      You understand as a forensic accountant
     7   A.       Yes.                                            7   and an obviously very smart person, that GEO just
     8   Q.       And some of those workers are janitors,         8   doesn't build a facility and hope it works out. It
     9   correct?                                                 9   has to hire people to do these things, correct?
    10   A.       Yes.                                           10   A.      Yes, absolutely, GEO has to have
    11   Q.       The janitors are used to clean the             11   employees.
    12   facility, correct?                                      12   Q.      Right. And the choices to GEO are either
    13   A.       Yes.                                           13   hire non-detainees or hire -- or use detainee labor.
    14   Q.       All right. Similarly, you saw                  14   You understand those are both available, apparently,
    15   recreational services being -- as job listings,         15   to GEO, correct?
    16   correct?                                                16          MS. SCHEFFEY: Object to form.
    17   A.       There were job listings that included          17          THE WITNESS: I -- I'm sorry that I'm
    18   recreation, so I understand there is recreation. I      18   pausing. I'm just trying to remember the words that
    19   just don't know the scope of what GEO is obligated      19   you used. "The choices available to them." I don't
    20   to provide.                                             20   know. They may have other choices. They may --
    21   Q.       Leave aside recreation. How about food?        21   they may be able to use contract labor.
    22   Is GEO obligated to provide food to the people that     22          MR. CHAREST: Q. Sure.
    23   it has in the detainee centers?                         23   A.      I know that they -- I mean -- I'm sorry.
    24   A.       I would assume so, but as I said, I'm just     24   It sounds reasonable. Those are two of their
    25   not familiar with the scope of what -- I mean, it's     25   choices. They may have other choices that I haven't
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     1   considered.                                             1   costs.
     2   Q.       I think your choice is another great one.      2   Q.      Did you ever see any contract or document
     3   They can -- GEO can use contract labor to provide       3   to support that, or did you just accept that
     4   the services that are necessary to run the facility.    4   statement for -- as true?
     5   You agree with that, right?                             5   A.      I don't recall.
     6   A.       They could do that, yes.                       6   Q.      And your answer to my question turns on
     7   Q.       As given -- do you understand that the         7   your reliance on that information, correct?
     8   nature of the contract between GEO and the United       8   A.      On that assumption, yes. My answer to
     9   States Government is that GEO gets paid a fixed         9   your question was your scenario might be reasonable
    10   amount per bed, regardless of its cost?                10   if there is no way for GEO's revenues to change.
    11   A.       It -- not entirely. I understand that         11   Q.      Right. And you say, "But I think they can
    12   that is true, but that in addition, for this           12   change their revenue" -- "GEO can change its revenue
    13   Voluntary Work Program at issue in this case, that     13   because of what a lawyer in the Washington case told
    14   that additional amount is paid separately.             14   me," right?
    15   Q.       "The additional amount," the dollar a day,    15   A.      That's correct.
    16   we're talking about?                                   16   Q.      Yeah. But you don't, sitting here today,
    17   A.       Yes.                                          17   have any independent knowledge about the
    18   Q.       Yeah. Okay. For the work that is              18   truthfulness or not of what that lawyer apparently
    19   provided through detainee labor, you as a person       19   told you, do you?
    20   that is well versed in economics -- I'll start         20   A.      I can't recall.
    21   again. It's okay.                                      21   Q.      No, see -- no, no. That's not how it
    22          You, Ms. Morones, as a person who's well        22   goes. Sitting here today, do you have any
    23   versed in economic theory and business valuation and   23   independent knowledge of the truthfulness or not of
    24   the cost of labor, would understand that if the        24   what that lawyer apparently told you?
    25   bottom line of revenue to GEO doesn't change, it's     25          MS. SCHEFFEY: Object to form.
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     1   cheaper for it and it makes more profit to use          1          THE WITNESS: I don't -- I don't -- I'm
     2   detainee labor over either direct laborers or           2   not sure I understand the distinction, but I don't
     3   contract labor, correct?                                3   recall the source of that assumption, other than a
     4           MS. SCHEFFEY: Object to form.                   4   conversation.
     5           THE WITNESS: If the revenues could not          5          MR. CHAREST: Q. Right. So aside from
     6   change contractually under any circumstances, that      6   the conversation, you don't have any basis to know
     7   assumption may be correct, but it's my understanding    7   what that lawyer told you is true, correct?
     8   that if the -- if GEO had to use employees, that        8   A.      Sitting here today, no.
     9   they would be able to modify their contract.            9   Q.      And so if you are right, then GEO could
    10           MR. CHAREST: Q. What's your basis for          10   pay the detainees California minimum wage and still
    11   that understanding?                                    11   maintain its profit line because it would just then
    12   A.       Discussion with counsel.                      12   renegotiate with the government, right?
    13   Q.       Who?                                          13          MS. SCHEFFEY: Object to form.
    14   A.       I don't recall.                               14          THE WITNESS: I don't know whether they
    15   Q.       Which counsel told you that, ma'am?           15   could do that or not based on their contract. It's
    16   A.       I don't recall.                               16   a legal question. But just from a financial
    17   Q.       When did they tell you?                       17   perspective, in terms of maintaining their profit
    18   A.       Early on in my engagement with the            18   margin, that's my understanding, but I don't -- I
    19   Washington case.                                       19   don't know whether or not they can pay California
    20   Q.       So one of the lawyers in defense of the       20   minimum wage to the detainees.
    21   Washington case told you that GEO could get            21          MR. CHAREST: Q. Do you know of any --
    22   increased pay if its labor cost went up; is that       22   anything that prevents GEO from doing so?
    23   right?                                                 23          MS. SCHEFFEY: Object to form.
    24   A.       Essentially, yes, that GEO would              24          THE WITNESS: I understand that they have
    25   renegotiate their contract to be able to cover its     25   a contract with ICE to operate the Voluntary Work
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     1   Program according to the -- according to the            1   requires GEO to operate the Voluntary Work Program,
     2   contract. So I don't know -- to me it's a legal         2   and I don't know what would be possible within that
     3   question. I don't know what they would be able to       3   contract.
     4   do within their contract with ICE.                      4          MR. CHAREST: Q. Okay. So you don't know
     5          MR. CHAREST: What was your objection,            5   whether or not GEO has any prohibition on paying
     6   Adrienne?                                               6   detainee laborers more than a dollar a day?
     7          MS. SCHEFFEY: It was that I thought your         7          MS. SCHEFFEY: Object to form.
     8   question was vague, and it calls for a legal            8          THE WITNESS: I don't know.
     9   opinion.                                                9          MR. CHAREST: What's your objection?
    10          MR. CHAREST: Q. So your testimony today         10          MS. SCHEFFEY: I couldn't hear the first
    11   is you think that the contract that GEO has with ICE   11   half of your sentence, so I'm going with vague.
    12   prevents GEO from paying detainees more than a         12   "You don't know whether GEO has..."
    13   dollar a day; is that right?                           13          MR. CHAREST: Q. Did you understand my
    14          MS. SCHEFFEY: Object to form.                   14   question, Ms. Morones? I mean, you answered it,
    15          THE WITNESS: That's not my testimony. I         15   right?
    16   don't know what GEO would be able to do within the     16   A.      Yes.
    17   requirements of the contract, but I'm aware that       17   Q.      Thank you.
    18   there is a contract that requires GEO to operate the   18          Okay. Do you agree with me, from an
    19   Voluntary Work Program. I'm not going to draw a        19   economic perspective, that the more labor GEO can
    20   legal conclusion. I don't -- it's just not my --       20   push off onto the detainees, the more it profits
    21          MR. CHAREST: Q. Right. I'm not asking           21   under the arrangement it has with ICE?
    22   you to draw a legal conclusion. I'm trying to          22          MS. SCHEFFEY: Object to form.
    23   understand what you understand the situation to be     23          THE WITNESS: I would agree with you if
    24   based on what you're being told by the lawyers. And    24   GEO is not able to increase its revenues based on
    25   the two things I've learned so far are these. And      25   increased labor costs.
                                                      Page 46                                                        Page 48

     1   correct me if I'm wrong: No. 1, you say GEO can       1             MR. CHAREST: Q. Right. Well, let's
     2   renegotiate its contract with ICE if it has labor     2     unpack that answer just a little bit. Assuming the
     3   costs, right?                                         3     contract as it exists today remains unchanged -- are
     4           MS. SCHEFFEY: Object to form.                 4     you with me?
     5           THE WITNESS: That's my understanding,         5     A.       Yes.
     6   yes.                                                  6     Q.       All right. The more labor GEO can obtain
     7           MR. CHAREST: Q. Based on what a lawyer        7     from the detainees, the more it profits, correct?
     8   told you, and nothing else, right?                    8     A.       I don't know. I -- because I don't recall
     9   A.       I don't recall what the other support was.   9     all of the contract, so I -- I don't know. I would
    10   Q.       If there was any other support either,      10     still say, if GEO's revenues cannot change, then
    11   right?                                               11     your hypothetical is correct.
    12   A.       That's correct.                             12     Q.       My hypothetical is, the more GEO uses
    13   Q.       Right. So not what it was, but if it even   13     detainee labor, the more it profits, right?
    14   exists, correct?                                     14             MS. SCHEFFEY: Object to form.
    15   A.       Correct.                                    15             THE WITNESS: Correct, assuming GEO cannot
    16   Q.       Right. And the No. 2 thing was that you     16     increase its revenues.
    17   think there's a contract with ICE that prohibits     17             MR. CHAREST: Q. Or just does not.
    18   somehow GEO from paying the detainees more than a 18        Cannot/does not, right?
    19   dollar a day, based on what a lawyer told you,       19     A.       Either one does --
    20   right?                                               20     Q.       So another way to say that is, assuming
    21           MS. SCHEFFEY: Object to --                   21     facts as they are now, the contract as it exists
    22           THE WITNESS: I believe you're                22     now, the more GEO uses detainee labor, the more
    23   mischaracterizing my question. I didn't say that     23     profits, correct?
    24   it -- that my understanding is that it prohibits it. 24             MS. SCHEFFEY: Object to form.
    25   I said that I understand there's a contract that     25             THE WITNESS: I am -- I still -- I don't
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      1   know what all is in the contract. I don't know             1   what I meant by what I said.
      2   if -- if --                                                2           MR. CHAREST: Q. Sure. But what you're
      3           MR. CHAREST: Q. Ma'am, you've said if              3   saying now is different than what you said before,
      4   GEO can renegotiate its contract, then maybe not,          4   right?
      5   but the hypothetical is, the contract has not been         5   A.       Literally, it is.
      6   renegotiated. The contract is what it is. Are you          6   Q.       That's literally the answer.
      7   with me?                                                   7   A.       But I'm not -- but I'm not -- but I'm not
      8   A.        I hear your question, but I don't know all       8   changing the essence of what I meant. The essence
      9   of what's in the contract to know whether within the       9   is, I have the understanding that GEO could increase
     10   bounds of the contract there is a mechanism for GEO       10   their rev- -- their pricing or revenues with ICE to
     11   to increase its revenues.                                 11   accommodate increased labor costs. Whether it's a
     12   Q.        Well, what the lawyer told you is that GEO      12   renegotiated contract, however that happens, those
     13   could renegotiate its contract, right? That's what        13   were the words I used based on my own understanding,
     14   you told me under oath, right?                            14   my non-legal understanding.
     15   A.        That was my understanding of what that          15   Q.       Okay. So as things stand today, with the
     16   meant. It could have meant GEO has the ability            16   revenues being what they are, the more GEO can use
     17   within the contract to increase its revenues.             17   detainee labor at Adelanto, the more GEO profits at
     18   Q.        Well, let's -- let's stick to what you've       18   Adelanto, correct?
     19   been told by the lawyers and not what you think           19           MS. SCHEFFEY: Object to form.
     20   maybe hopefully happens elsewhere. Are you with me?       20           THE WITNESS: With revenues staying as
     21   So far what you've testified under oath is that GEO       21   they are, yes, that would be correct.
     22   could renegotiate the contract if necessary to -- in      22           MR. CHAREST: Q. Thank you.
     23   the face of the increased labor costs, right?             23           What's your objection?
     24           MS. SCHEFFEY: Object to form.                     24           MS. SCHEFFEY: Asked and answered.
     25           THE WITNESS: That may be -- I'm sorry.            25           MR. CHAREST: Q. Do you have any moral
                                                          Page 50                                                         Page 52

     1    Go ahead.                                                  1   view on whether it's appropriate for GEO to have
     2           MS. SCHEFFEY: I was just objecting to               2   been paid by the United States Government to provide
     3    form and moving to strike the colloquy before the          3   food and service -- food and shelter for the
     4    question.                                                  4   detainees and then turn around and use the detainee
     5           THE WITNESS: That is what I -- what I               5   labor as the workforce behind its contract to the
     6    said, but the conversation happened so long ago, I         6   increase of its profits?
     7    don't remember the literal words that they could           7          MS. SCHEFFEY: Object to form, foundation.
     8    renegotiate their contract.                                8          THE WITNESS: I don't.
     9           My purpose in making that statement is the          9          MR. CHAREST: Q. Not at all?
    10    understanding that GEO has the ability to increase        10   A.       No.
    11    its revenues if their labor costs increase. Whether       11   Q.       No reaction to that at all?
    12    it's within the current contract or a different           12   A.       No.
    13    contract, I don't know. So when I said that, I            13          MS. SCHEFFEY: Dan, we've been going for a
    14    didn't mean to be literally that's exactly what they      14   bit over an hour. At some point I'll just need a
    15    said.                                                     15   restroom break.
    16           MR. CHAREST: Q. So are you changing your           16          MR. CHAREST: I was about to shift gears,
    17    answer when you're -- when I'm asking you what the        17   so we can do it now.
    18    lawyer told you now?                                      18          MS. SCHEFFEY: I saw a pause so I thought
    19    A.       I'm not changing it. I'm elaborating on          19   I'd interject it. Thank you.
    20    what I meant.                                             20          MR. CHAREST: We can go off the record,
    21    Q.       Okay. So that's changing it, right? I            21   please.
    22    mean, you're not speaking what you first said?            22          THE VIDEOGRAPHER: One moment. We're
    23           MS. SCHEFFEY: Object to form.                      23   going off the record. The time is 10:14 a.m.
    24           THE WITNESS: I -- I don't know how to              24          (Recess taken from 10:14 a.m. to
    25    answer your question. I'm just really telling you         25          10:23 a.m.)
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      1           THE VIDEOGRAPHER: We're back on the               1   Q.      Yeah. You describe the detainees as
      2   record. The time is 10:23 a.m.                            2   "incarcerated individuals." More accurate to say
      3           MR. CHAREST: Q. All right. Ms. Morones,           3   they are civil detainees, correct?
      4   can you refer to your report, please. I want to run       4          MS. SCHEFFEY: Object to form.
      5   through a couple parts of it, just to identify the        5          THE WITNESS: It is accurate that they are
      6   basis and discuss the underlying facts. In                6   civil detainees, is my understanding.
      7   particular, page 3, please. We're going to start          7          MR. CHAREST: Q. They're not criminals.
      8   with your discussion of GEO.                              8   They're not convicted of anything. In fact, they're
      9           MS. SCHEFFEY: Paragraph 11, just to --            9   waiting adjudication on their immigrant status,
     10           MR. CHAREST: Yes.                                10   correct?
     11           MS. SCHEFFEY: Thanks.                            11   A.      That's correct.
     12           MR. CHAREST: Q. You have a section               12   Q.      And the services you describe are 24-hour
     13   called, in this "B" under the outline, that's called     13   care and supervision, right?
     14   "The GEO Group," and you talk about The GEO Group,       14   A.      Yes.
     15   the Adelanto ICE Processing Center, the Voluntary        15   Q.      Including medical, transportation, food
     16   Work Program, and the sanitation policy. Do you see      16   service, laundry service, and various programming
     17   those parts there, ma'am?                                17   activities. That was the entertainment we had a
     18   A.       Yes.                                            18   hard time remembering before, right?
     19   Q.       Now, you state a series of things in there      19          MS. SCHEFFEY: Object to form.
     20   as fact, but I want to know whether you know, in         20          THE WITNESS: I -- I'm not sure what you
     21   fact, that the things you're saying are true or not.     21   meant by that, but yes, this is what -- you've cited
     22   A.       Independent from the sources, I don't.          22   my report correctly.
     23   Q.       Okay. So let's tease that out a little          23          MR. CHAREST: Q. Okay. Those are the
     24   bit. On paragraph 12 -- we talked about this a           24   services that GEO is obligated to perform in
     25   little bit -- "GEO performs services to provide          25   exchange for the money it receives from the United
                                                         Page 54                                                      Page 56

     1    housing and care of the incarcerated individuals."        1   States Government, right?
     2    So you knew what we were talking about before,            2          MS. SCHEFFEY: Object to form.
     3    right? To be true, right?                                 3          THE WITNESS: As I said before, I'm not
     4    A.      Yes.                                              4   familiar with what they are obligated to perform.
     5    Q.      And GEO gets paid for those services by           5   My sentence cites what they say they do.
     6    the United States Government, right?                      6          MR. CHAREST: Q. Okay. And when you say
     7    A.      Yes.                                              7   "what they do," you mean to say the sentence cites
     8    Q.      And the housing and care are the                  8   what GEO says GEO does, correct?
     9    obligations GEO undertakes in exchange for that pay       9   A.      Correct.
    10    from the United States Government, right?                10   Q.      And do you know whether GEO employs for
    11    A.      Are you asking -- would you repeat the           11   food service, for example, any employees outside of
    12    question?                                                12   detainee labor?
    13    Q.      Housing and care that you reference in           13          MS. SCHEFFEY: Object to form.
    14    your sentence are the services GEO performs in           14          THE WITNESS: I believe for food service,
    15    exchange for the pay it receives from the United         15   yes, there are employees outside of detainee labor.
    16    States Government?                                       16          MR. CHAREST: Q. Do you know what
    17          MS. SCHEFFEY: Object to form.                      17   population of the workforce non-detainee labor makes
    18          THE WITNESS: Yes, I understand that GEO            18   up in the food service portion of the work?
    19    provides services in exchange for compensation.          19   A.      I don't.
    20          MR. CHAREST: Q. From the United States             20   Q.      Would you be surprised to know it was
    21    Government, our tax dollars?                             21   very, very little?
    22    A.      Yes, from the United States Government.          22   A.      I don't have a -- I just don't recall.
    23    Q.      Our tax dollars?                                 23   Q.      How about the laundry service, ma'am? Do
    24    A.      I'm sure our tax dollars contribute to the       24   you know whether that is entirely made up of
    25    budget of the United States Government.                  25   detainee labor?
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      1   A.       I don't recall. I know that there are              1   unvoluntary (sic) nature of it, because that's an
      2   employee supervisors. I don't recall the ratio.             2   unnecessarily confusing construct for our purposes.
      3   Q.       Okay. You understand, though, the work,            3   Are you with me?
      4   cleaning the medical facilities, doing the grunt            4   A.       Yes.
      5   work for the food service, doing the grunt work for         5   Q.       Do you know whether or not people,
      6   the laundry service, and also maintaining the               6   detainees, perform work services within Adelanto
      7   facility in terms of cleanliness, is done through,          7   under GEO's supervision and request outside of the
      8   by and large, if not exclusively, detainee labor,           8   Voluntary Work Program?
      9   right?                                                      9   A.       Yes.
     10          MS. SCHEFFEY: Object to form.                       10   Q.       Okay. What people do those types of
     11          THE WITNESS: I -- I would assume so, but            11   things? What are we talking about?
     12   I don't know.                                              12   A.       I understand that detainees are required
     13          MR. CHAREST: Q. And you think it's                  13   to clean their personal space, living space, as well
     14   correct, right? Not just you're willing to accept.         14   as personal or some common area space within
     15   You think that's -- what I said is correct?                15   their -- within their pods.
     16   A.       I understand that there is a significant          16   Q.       Okay. So that's the personal living area
     17   number of detainees who are involved in the                17   space. We'll talk about that in a second. Let's
     18   Voluntary Work Program by design, and it wouldn't          18   put a pin in that. Is there anything else aside
     19   surprise me that those detainees are doing the more        19   from what you just described where you understand
     20   simple tasks that are -- that need to be done within       20   that detainees perform labor at Adelanto outside of
     21   these categories of care provided or activities that       21   the Voluntary Work Program?
     22   happen within these detention centers.                     22          MS. SCHEFFEY: Object to form.
     23   Q.       Right. So you referenced the Voluntary            23          THE WITNESS: I am not specifically
     24   Work Program. Do you understand that detainees also        24   familiar with any other categories of work,
     25   are asked to work outside of the Voluntary Work            25   although, as I said, I remember reading a reference
                                                           Page 58                                                         Page 60

     1    Program?                                                    1   to an allegation that there were some tasks that
     2           MS. SCHEFFEY: Object to form, foundation.            2   were performed that were not recorded in the sign-in
     3           THE WITNESS: I understand that they were             3   sheets. I don't have a specific recall of the basis
     4    asked to keep their personal space clean.                   4   for that.
     5           MR. CHAREST: Q. Anything else?                       5          MR. CHAREST: Q. Well, you know for a
     6    A.      I remember seeing reference to some amount          6   fact that the Court has certified a class involving
     7    of time, some amount of probationary time relating          7   people that worked in the Voluntary Work Program,
     8    to the Voluntary Work Program.                              8   people that worked in what's called the Unvoluntary
     9    Q.      I don't know what you mean by that,                 9   Work Program, and people that were working pursuant
    10    "probationary time."                                       10   to what we call the HUSP, the Housing Unit
    11    A.      I just remember reading a reference that           11   Sanitation Policy, correct?
    12    there were occasions where detainees worked on a           12          MS. SCHEFFEY: Object to form.
    13    probationary basis.                                        13          THE WITNESS: I am not familiar with
    14    Q.      What do you mean by "worked in a                   14   exactly which classes are certified. That's a legal
    15    probationary basis"?                                       15   part of the case. But I'm familiar with those
    16    A.      I don't know. It was just, in reviewing            16   categories of -- work categories.
    17    documents, I remember seeing the allegation. I             17          MR. CHAREST: Q. It's in your report.
    18    think it was an allegation made by the plaintiffs,         18   It's paragraph 9, page 3. I'm really literally
    19    so I don't remember the source of that information.        19   reading from it. Does that help refresh your
    20    Q.      Okay. So you don't know, sitting here              20   recollection?
    21    today, whether or not detainees do, quote, unquote,        21   A.       Yeah. Well, yes, those are my
    22    "voluntary work" outside of the Voluntary Work             22   understanding of the two classes. You described
    23    Program, right?                                            23   them differently. So -- a little bit differently.
    24    A.      In terms of voluntary work, I don't.               24   You described three classes. And with respect to
    25    Q.      So let's leave aside the voluntary or              25   our calculations at issue here, I've been instructed
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      1   that there are two classes with these different            1   Q.      Okay. And if I use the term "HUSP," do
      2   dates involved. So I wasn't familiar with your             2   you understand that I'm referring to the Housing
      3   characterization of them.                                  3   Unit Sanitation Policy?
      4   Q.      Okay. I was reading it from your page,             4   A.      Yes, I do now.
      5   but okay. Do you agree with me that the Court              5   Q.      Thank you very much. You said a few times
      6   certified a class that addresses folks that                6   that you understand the work associated with the
      7   participated in the Voluntary Work Program, folks          7   Housing Unit Sanitation Policy, the HUSP, to be the
      8   that were working without compensation under the           8   obligation/the requirement that detainees keep their
      9   uncompensated work program, and folks that worked          9   personal space and parts of the pod in common areas
     10   without compensation under the Adelanto Housing Unit      10   clean, without compensation, correct?
     11   Sanitation Policy, correct?                               11   A.      Correct.
     12   A.      As I said before, I'm not familiar with           12   Q.      And you addressed it in paragraph 17. You
     13   the description you're citing, but I accept it. I         13   say, "In accordance with the PBNDS, Adelanto's
     14   don't have a reason to dispute the certification of       14   Facility Policy and Procedure -- Procedures Manuals
     15   the classes.                                              15   notes that detainees are not required to work,
     16   Q.      Okay. Do you know what work is going on           16   except to," quote, "'maintain their immediate living
     17   in connection with the uncompensated work program?        17   areas in a neat and orderly manner,'" end quote.
     18   A.      I do not.                                         18   And you cite the manual for that perspective.
     19   Q.      And do your opinions reach at all the             19          And then you go on to say, "According to
     20   quantifications of unpaid wages in connection with        20   the PBNDS," quote, "'all detainees are responsible
     21   the uncompensated work program?                           21   for their personal housekeeping,'" end quote, and
     22   A.      I don't believe so.                               22   you cite the PBNDS for that. Have I read your
     23   Q.      Do you know what work was going on in             23   report correctly, ma'am?
     24   connection with the Adelanto Housing Unit Sanitation      24   A.      Yes.
     25   Policy?                                                   25   Q.      Now, the PBNDS says more than what you
                                                          Page 62                                                         Page 64

     1    A.      I have read some descriptions, some                1   quoted about what limitations are imposed on
     2    general descriptions of keeping personal spaces            2   detainee work, doesn't it, ma'am?
     3    orderly and shared spaces -- general cleaning of           3   A.       I don't recall.
     4    shared spaces.                                             4   Q.       Okay. You understand that the immediate
     5    Q.      Okay. And do your opinions reach at all            5   living areas is including not just the dorm rooms
     6    the quantification of unpaid wages associated with         6   where the folks live, but also the common areas,
     7    the Housing Unit Sanitation Policy?                        7   the -- where they spend time during the day,
     8    A.      No.                                                8   correct?
     9    Q.      So your opinions reach only the                    9   A.       Yes --
    10    quantification of damages associated with the             10           MS. SCHEFFEY: Object to form and
    11    Voluntary Work Program, correct?                          11   foundation.
    12    A.      Yes, as addressed by the plaintiff                12           THE WITNESS: I didn't complete my answer.
    13    experts. So just responding to the plaintiff              13   It was, yes, that's my understanding.
    14    experts' quantifications.                                 14           MR. CHAREST: Q. And were you the one
    15    Q.      Now, you've said a couple times you               15   that was told -- I mean, did someone tell you that
    16    understand that -- well, let me -- can I start            16   that interpretation complies with the PBNDS, or is
    17    again? Do you mind?                                       17   that a conclusion you drew on your own?
    18    A.      Sure.                                             18   A.       I don't recall having a discussion about
    19    Q.      We, in the case, have been using a term           19   what complies with the PBNDS. Because there are no
    20    "HUSP" -- H-U-S-P, all caps, for the reporter -- to       20   quantification of that issue in this case, I don't
    21    denote, or connote, I guess, the Housing Unit             21   recall having any discussion about it.
    22    Sanitation Policy. Are you familiar with that             22   Q.       So if you didn't have a discussion, then
    23    acronym?                                                  23   it follows by reason that you made the determination
    24    A.      I am not, but I'm familiar with the               24   on your own; is that right?
    25    concept.                                                  25   A.       No. Your question is what complies, and I
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     1    don't recall having a discussion about what complies      1   manual's compliance with a standard in my report.
     2    in context of the personal housing requirement.           2   Q.        So specifically, when you said in
     3    Q.       So I think we may be talking past each           3   paragraph 17 that the manual was in accordance with
     4    other, so let's just try and clean it up. You say         4   the PBNDS, that was poor language?
     5    that the sanitation policy, which you describe by         5   A.        I did not intend it to suggest that it is
     6    reference to the manual that you quote in paragraph       6   in compliance with PBNDS.
     7    17, is in accordance with the PBNDS, right?               7   Q.        Okay. And you cite the PBNDS, footnote
     8    A.       I say that in accordance with the policy,        8   18, in the Voluntary Work Program, Section 5.8,
     9    detainees are not required to work except to              9   correct?
    10    maintain their immediate living areas in a neat and      10   A.        Correct.
    11    orderly manner. I have not said anything about what      11   Q.        Trying to find -- where are we? A
    12    the Adelanto facility actual practices are and           12   document that's massive that you cited, I'm trying
    13    whether or not they comply with the policy.              13   to pull it up to put it into the record here, but
    14    Q.       Well, you say that the manual is in             14   just it's slowing down my Internet too much. Here
    15    accordance with the PBNDS. That's the import of          15   we go. So that is it.
    16    what your first sentence in paragraph 17 is,             16           I'm going to introduce as the next
    17    correct?                                                 17   exhibit, which I guess is 206 -- is that right,
    18    A.       So your question is, does my statement          18   Natalie? Yes. Don't worry about it. I got it.
    19    indicate that the manual is in accordance with           19           (Whereupon Exhibit 206 was marked for
    20    PBNDS.                                                   20           identification.)
    21    Q.       Well, do the words "in accordance with the      21           MR. CHAREST: Q. Introducing Exhibit 206,
    22    PBNDS" mean that this is in accordance with the          22   which I will warn you is a massive document. It is
    23    PBNDS? That's my question.                               23   the PBNDS document that you cited in your report.
    24    A.       That's my understanding.                        24   This is -- if you're able to open it up, please do
    25    Q.       All right. So then your understanding is        25   so and go to the page that you cited, which is
                                                         Page 66                                                     Page 68

      1   that the manual is in accordance with the PBNDS,          1   GEO-Novoa_000154162. Okay?
      2   right? That's what your statement is. I mean, I'm         2   And while that's loading, I want to ask you some
      3   not trying --                                             3   more questions about this paragraph 17. Are you
      4   A.      I'm sorry, I'm just trying to think about         4   saying you never had any conversation with counsel
      5   your question. Many of your questions are, to me,         5   about whether or not the HUSP qual- -- is in accord
      6   legal questions, so I'm trying to be careful. Just        6   with or not in accord with the PBNDS?
      7   trying to be careful that I don't misstate                7   A.       I don't recall any.
      8   something.                                                8   Q.       So -- sorry. Go ahead.
      9   Q.      Let me rephrase it, rather than have you          9   A.       It's just since it's not quantified in
     10   struggle with what you don't understand. You wrote       10   this -- by the plaintiff's experts, I don't recall
     11   the words "in accordance with the PBNDS" and             11   discussing it or raising it.
     12   referred to a manual from Adelanto, right?               12   Q.       But you said it -- you said what you said
     13   A.      Yes.                                             13   in your report, but you're just saying that was just
     14   Q.      Did you mean to say that that manual is in       14   you sort of trying to give a framework and not
     15   accordance with the PBNDS when you said those words?     15   making any opinions about whether one thing applies
     16   A.      I didn't specifically mean to say that.          16   with the other, correct?
     17   Q.      Okay. So you don't have any opinion about        17   A.       Correct.
     18   whether or not the manual accords with the PBNDS or      18           MS. SCHEFFEY: Object to form.
     19   not, correct?                                            19           MR. CHAREST: Has anyone seen the exhibit
     20   A.      I don't.                                         20   yet?
     21   Q.      And any statement to the contrary to             21           MS. SCHEFFEY: No. I think I've like
     22   suggest that maybe you do think that one is in           22   frozen my browser, but I'm working on it.
     23   accordance with the other is incorrect and a             23           MR. CHAREST: Me too.
     24   misunderstanding, based on your report, correct?         24           MS. SCHEFFEY: I hit refresh, which I
     25   A.      That's correct. I would not interpret a          25   actually think was a mistake.
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     1           THE WITNESS: Yeah, my browser is doing an 1             Q.      And you go on to say that other "expected
     2    infinite buffering circle.                           2         outcomes of the Voluntary Work Program include
     3           MR. CHAREST: Q. Okay. Let's just move         3         reducing the negative impact of confinement through
     4    on. We can come back and mess with that. We can      4         decreased idleness, improved morale, and fewer
     5    have some fun later on that. I'll just put a little  5         disciplinary incidents and an enhancement of
     6    flag there, and we'll save that for later.           6         essential operations and services through detainee
     7           Can you flip back in your report to           7         productivity," correct?
     8    paragraph 13, where you talk about the Voluntary     8         A.      Correct.
     9    Work Program. Are you with me?                       9         Q.      Again, quoting the PBNDS, right?
    10    A.      Not yet. I apologize. Got to get back       10         A.      Yes.
    11    into my report. And just to let you know, 206       11         Q.      One of the other results of Voluntary Work
    12    didn't come up after it -- so...                    12         Program is a dirt cheap labor force, right?
    13    Q.      Okay.                                       13         A.      Well, they're paid a dollar a day, and so
    14    A.      Deal with that. So paragraph -- repeat      14         it would -- that's a complex statement. It would
    15    the paragraph, please.                              15         depend on whether or not GEO can get compensation
    16    Q.      Fifteen.                                    16         for higher cost labor, but at its essence, they are
    17    A.      Okay.                                       17         paid a dollar a day.
    18    Q.      Let me know when you're there.              18         Q.      Doesn't matter what GEO can get paid for
    19    A.      I'm there.                                  19         it. My question is literally the cost of the labor
    20    Q.      Okay. You say in this paragraph, "GEO       20         force under the Voluntary Work Program is
    21    manages a Voluntary Work Program at the Adelanto 21            extraordinarily low by comparison to any other
    22    Facility in accordance with the PBNDS." So there's 22          source of labor, correct?
    23    that phrase again that I was asking about. Is that  23         A.      Correct.
    24    serially, you're not making any opinion about       24                MS. SCHEFFEY: Object to form.
    25    whether or not the Voluntary Work Program at        25                MR. CHAREST: What's your objection?
                                                          Page 70                                                        Page 72

      1   Adelanto, in fact, is in accordance with or is not         1          MS. SCHEFFEY: Because the documents are
      2   in accordance with the PBNDS?                              2   not in front of her, I don't know what the
      3   A.       That's correct. I don't have an opinion           3   comparison is to. I don't see the phrase
      4   that it is or it isn't.                                    4   "extraordinarily low" in her report. He says he's
      5   Q.       That was -- my frustration was not at you.        5   reading from her report. I don't see the comparison
      6   It was at the Veritext thing here. Not that -- not         6   he's asking about.
      7   at the Veritext folks. I just tried to upload the          7          MR. CHAREST: Q. Okay. Have you reviewed
      8   same document again. I think I bundled the                 8   the actual PBNDS to make any evaluation about
      9   numbering, but we'll figure it out.                        9   whether or not the Voluntary Work Program complies
     10           Okay. So the answer was no, you don't             10   or does not comply with its -- with its terms?
     11   have any opinion about whether or not the Voluntary       11   A.      I have not. That would be outside the
     12   Work Program at Adelanto complies with or does not        12   scope of my expertise.
     13   comply with the Performance-Based National Detention      13   Q.      And have you reviewed the PBNDS to
     14   Standards, correct?                                       14   determine whether or not the sanitation policy, the
     15   A.       Correct.                                         15   HUSP at Adelanto, complies or does not comply with
     16   Q.       And did you have any discussion with             16   the PBNDS?
     17   counsel about whether or not the Voluntary Work           17   A.      I have not.
     18   Program complied with those standards?                    18   Q.      And that's outside your expertise as well,
     19   A.       I did not.                                       19   correct?
     20   Q.       You mention in paragraph 16 that the --          20   A.      Correct.
     21   that ICE says the Voluntary Work Program, quote,          21          MR. CHAREST: Okay. Has anyone -- can we
     22   "provides detainees opportunities to work and earn        22   go off the record, please, for this document issue,
     23   money while confined," end quote. And you cite the        23   please?
     24   PBNDS for that proposition, correct?                      24          THE VIDEOGRAPHER: Yes. One moment.
     25   A.       Correct.                                         25   We're going off the record at 10:52 a.m.
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      1           (Discussion off the record.)                       1          THE WITNESS: I would assume so.
      2           THE VIDEOGRAPHER: Okay. We're back on              2          MR. CHAREST: Q. And the other things
      3   the record. The time is 10:57 a.m.                         3   that are addressed are their beds, right? And their
      4           MR. CHAREST: Q. All right. Sorry about             4   own personal papers, right?
      5   the technical issues. Ms. Morones, are you looking         5   A.      Well, it doesn't say "personal." It says
      6   at Exhibit 206 with -- and at GEO-Novoa_00015462?          6   "stacking loose papers."
      7   A.       Yes, I am.                                        7   Q.      Sure. But it doesn't say "pods" anywhere,
      8   Q.       Great. And that's the source that you             8   does it?
      9   cited and quoted part of in your report on paragraph       9   A.      The word "pods" is not in this section.
     10   17, correct?                                              10   Q.      It doesn't say "shared living space," does
     11   A.       I believe so. The report's down, but I'm         11   it?
     12   assuming it is.                                           12   A.      It does not.
     13   Q.       I'm going to try and share with y'all this       13   Q.      And it doesn't say "common areas," does
     14   image. Let me know if that's working, please.             14   it?
     15           THE VIDEOGRAPHER: Okay. Counsel, I have           15   A.      It does not.
     16   a question for you. So now the witness and the            16   Q.      Okay. But, again, the determination of
     17   document are being recorded. Do you just want the         17   whether or not the PBNDS, which we're looking at,
     18   witness still recorded, just like at a regular            18   complies with Adelanto's manual and/or its policies
     19   deposition, or do you want them side by side while        19   and/or its actual practices is not within the scope
     20   this is recording?                                        20   of your opinions or expertise, correct?
     21           MR. CHAREST: Both is fine. Thank you.             21   A.      That's correct, but I think you meant to
     22           THE VIDEOGRAPHER: Okay.                           22   say the opposite, that the manual complies with
     23           MR. CHAREST: Q. All right. Ms. Morones,           23   this, but either way, it's correct it's not within
     24   can you see the page that you're -- you cited in          24   the scope of my assignment.
     25   your report when you're talking about the PBNDS?          25   Q.      Did I get the question backwards? I'm
                                                          Page 74                                                      Page 76

     1    A.      Yes.                                               1   sorry. I'm going to try again.
     2    Q.      All right. I've highlighted Section 508            2   A.       You said that I don't have an opinion that
     3    (sic), part C here of the "Personal Housekeeping           3   this complies with the manual.
     4    Required." Is that the -- that's the provision you         4   Q.       Ah. You're exactly right.
     5    cited in your report, correct?                             5   A.       But either way, I don't have an opinion.
     6    A.      I believe so.                                      6   Q.       Whether or not the manual -- the actual
     7    Q.      And you quoted from the introductory               7   practices or the policies at Adelanto comply or
     8    sentence to that, where specifically "detainees are        8   don't comply with the PBNDS is not within the scope
     9    responsible for personal housekeeping," right?             9   of your expertise, and also not the subject of any
    10    A.      Yes.                                              10   opinion you know you have, correct?
    11    Q.      You did not quote the remainder that              11   A.       Correct.
    12    describes the four things that that makes up, right?      12   Q.       I'm going to turn to the -- I'm going to
    13    A.      Correct.                                          13   go through your report in sort of reverse fashion,
    14    Q.      Do you see where it says anything about           14   where I'm going to talk about the Childers aspects
    15    keeping the common areas and the pods clean as an         15   first, and then we'll return to the Bland critiques
    16    obligation under the personal housekeeping brand?         16   second. Are you with me in terms of concept there?
    17    A.      I -- I don't see those specific words. I          17   A.       Yes.
    18    don't know what "immediate living area" means,            18   Q.       You start talking about Mr. Childers
    19    though.                                                   19   report on page 16 of your report. And so I think
    20    Q.      "Immediate" and "living area" is what             20   you have both available to you. And again, if you
    21    you're looking at here, right?                            21   need to refer to either one to answer a question,
    22    A.      Yes.                                              22   I'd encourage you to do so. All right?
    23    Q.      All right. So "immediate" has a sense of          23   A.       Okay.
    24    proximity, right? Immediacy, correct?                     24   Q.       And I misspoke. You actually started
    25           MS. SCHEFFEY: Object to form.                      25   talking about Mr. Childers at the bottom of page 14,
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     1   but the text begins on page 15 of your report,          1           MR. CHAREST: Q. Right. And therefore,
     2   right?                                                  2   it is a conservative measure, using that assumption,
     3   A.       Correct.                                       3   right?
     4   Q.       Okay. In paragraphs 44, you list six           4   A.       Well, it's only meant to address the
     5   assumptions, as you describe them, that Mr. Childers    5   Voluntary Work Program.
     6   made, right?                                            6   Q.       Well, let's say it this way: It's
     7   A.       Correct.                                       7   conservative as to the whole of the claims to just
     8   Q.       Now, as to the first one, fundamentally,       8   use dollars per day to reflect days of work, right?
     9   it's the base -- the premise that, given that GEO       9   A.       I don't even -- I don't mean to be
    10   pays a dollar a day, each dollar paid reflects a       10   difficult, but I just don't know anything about the
    11   dollar of someone working -- a day of someone          11   validity of those other claims to say, "This is a
    12   working, correct?                                      12   conservative approach," because it -- because this,
    13   A.       Correct.                                      13   to me, stands alone inside of this claim related to
    14   Q.       Do you dispute that assumption or the         14   the Voluntary Work Program.
    15   validity of it?                                        15   Q.       That's your -- that's your perspective on
    16   A.       I don't.                                      16   it. Okay. I see. All right.
    17   Q.       All right. So you think that's a valid        17           Well, okay. But we both agree that, as
    18   assumption to make?                                    18   applied to the Voluntary Work Program, you would
    19   A.       Yes.                                          19   think this is a valid assumption?
    20   Q.       And you have no criticism of Mr. Childers     20   A.       Yes.
    21   for using that assumption, correct?                    21   Q.       Okay. Goes on -- you go on to note that
    22   A.       I did not mention any criticism about         22   Mr. Childers relies in the Bland report for the
    23   that, correct.                                         23   number of hours -- number of hours worked, in the
    24   Q.       But you mention -- but sitting here today,    24   second assumption, right?
    25   under your testimony, you have no criticism of that?   25   A.       Correct.
                                                      Page 78                                                      Page 80

     1   A.        I don't.                                      1   Q.       And aside from whatever critiques you have
     2   Q.        And if anything, it underreports the          2   of Mr. Bland's work -- and we'll talk about those in
     3   issues in the case because the case involves not        3   detail later -- there's nothing independent that you
     4   only people that are paid in the Voluntary Work         4   would criticize Mr. Childers for relying on
     5   Program, but people that are not paid in the            5   Mr. Bland's data, correct?
     6   unvolunteer -- Unvoluntary Work Program, and also       6   A.       I -- no, because he didn't do anything
     7   the HUSP, right?                                        7   else besides rely -- he relied, so our criticisms
     8           MS. SCHEFFEY: Object to form.                   8   already addressed by this point apply. There's
     9           THE WITNESS: This calculation relates --        9   nothing additional in terms of time worked that
    10   as I understand it, relates to time reported only in   10   went --
    11   the Voluntary Work Program, or relates to not only     11   Q.       My question is this. I'm sorry, I thought
    12   time, but relates to sign-in or participation in the   12   you were done. I'm sorry. Go ahead.
    13   Voluntary Work Program only.                           13   A.       There are no additional criticisms related
    14           MR. CHAREST: Q. But in terms of                14   to amount of time worked.
    15   assumptions and quality of assumptions, my question    15   Q.       Okay. So you don't criticize him for
    16   is a little bit different than that. Assuming $1       16   relying on the Bland data. You do criticize the
    17   per -- means one day of work necessarily counts less   17   Bland data in ways that we'll discuss later; is that
    18   days of work because of work that is done that is      18   fair?
    19   uncompensated, correct?                                19   A.       Correct.
    20           MS. SCHEFFEY: Object to form.                  20   Q.       You say, "Dr. Childers assumes that
    21           THE WITNESS: Does not count activities --      21   employees or subcontractors would have required the
    22   the other activities alleged, whether it's formally    22   same amount of time as detainees performing tasks
    23   going -- assumed to be work that's compensable, I      23   under the VWP." Is that a -- do you believe that
    24   don't know, but it does not count those other          24   that assumption is invalid or valid?
    25   activities.                                            25   A.       I didn't reach an opinion about it. I
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     1   just stated that that was a key assumption.              1   specified rates in their contracts.
     2   Q.       But one you do not challenge?                   2   Q.      Okay. And that statement you're just
     3   A.       Correct.                                        3   making about specified rates in the contracts and
     4   Q.       And have not attempted to quantify the          4   required rates in the contracts is based on your
     5   impact of that assumption in any way?                    5   reference to the wage determination schedules in the
     6   A.       Correct.                                        6   GEO contract that you reviewed, correct?
     7   Q.       And do you find that it's an unreasonable       7   A.      Correct.
     8   assumption?                                              8   Q.      And it's your understanding, is it not,
     9   A.       As I said, I don't -- I don't have an           9   that those wages are mandated in the contract such
    10   opinion about it. I haven't analyzed it in enough       10   that GEO cannot pay above that amount. Is that your
    11   depth to express an opinion about it.                   11   understanding?
    12   Q.       Well, this is our chance to understand         12          MS. SCHEFFEY: Object to form.
    13   your rationale. Are you doing work on that now, or      13          THE WITNESS: I did not assume whether GEO
    14   do you plan to do work on it in the future?             14   could pay above or below. I assumed that those
    15   A.       I do not.                                      15   would be the appropriate wages.
    16   Q.       And you have not?                              16          MR. CHAREST: Q. So when you said
    17   A.       I have not analyzed this assumption or --      17   "contract requires," that's not what you meant, what
    18   and I don't intend to express an opinion about it.      18   you just answered me earlier?
    19   Q.       And moreover -- well, if you don't intend      19   A.      Could you repeat the question?
    20   to address an opinion, then that's -- that is what      20   Q.      I'll take another pass at the issue so we
    21   it is.                                                  21   don't have to talk past each other. You ready?
    22          The next assumption you identify, the            22   A.      Yes.
    23   fourth one, is that Dr. Childers categorized            23   Q.      Is it your understanding that the wage
    24   workers -- work hours, rather, into four categories,    24   determination schedules mandate the amount of pay
    25   being janitor, food prep, laundry, and barber. Does     25   GEO can pay its employees?
                                                       Page 82                                                        Page 84

     1   that accurately describe your articulation of the        1   A.      Yes.
     2   assumption?                                              2   Q.      What is the basis of that understanding?
     3   A.       Yes.                                            3   A.      Just seeing the wages determination
     4   Q.       Do you have any critique of that                4   schedules in the contracts and making the assumption
     5   assumption?                                              5   that those would be the appropriate rates to apply
     6   A.       No. It's just for understanding purposes,       6   in any scenario of analysis that, if GEO paid other
     7   to explain what he did.                                  7   than minimum wage, what would they -- what would
     8   Q.       But you're not sitting here saying that         8   they pay. They would pay their contractual rates.
     9   that is an improper organization of the work hours,      9   Q.      So if you as a service provider have a
    10   is it?                                                  10   contract with a party that wants services, and that
    11   A.       No, I'm not.                                   11   contract dictates $6 an hour, does that mean you can
    12   Q.       The next assumption you point out is that      12   only pay $6 an hour to the people that you hire to
    13   "Dr. Childers uses wages and benefits data from the     13   do the work?
    14   Bureau of Labor and Statistics (sic) to determine       14          MS. SCHEFFEY: Object to form.
    15   the but-for cost of hiring employees," right?           15          THE WITNESS: I don't know. It would
    16   A.       Correct.                                       16   depend on the contract. I don't know.
    17   Q.       It's the fifth assumption in your list of      17          MR. CHAREST: Q. This time -- so let me
    18   six. Do you have any criticisms of the use of           18   be more clear. Let me be less vague about my
    19   Bureau of Labor and Statistics data for the purposes    19   question to you. You said in your report, I
    20   that Mr. Childers used them?                            20   thought, that the contract required a certain amount
    21   A.       Yes. As explained later in the report, I       21   to be paid, but what you just said in your answer is
    22   believe he should have considered GEO's                 22   that you thought it was a reasonable measure of the
    23   contractually required hourly rates as opposed to       23   amount to be paid. Which one is your actual
    24   BLS statistics. I don't know how the BLS statistics     24   understanding?
    25   would come to pass in his scenario when GEO has         25          MS. SCHEFFEY: Object to form.
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     1           THE WITNESS: I -- both. I understand           1        the litigation counsel?
     2    that these are contractually required rates, and      2        A.       It would have been litigation counsel.
     3    because of that, they're reasonable for an expert to  3        Q.       So someone at the Akerman law firm?
     4    assume when making this calculation.                  4        A.       Yes.
     5           MR. CHAREST: Q. Okay. So let's start           5        Q.       Was it a man or a woman?
     6    with the first step there. You understand as a        6        A.       I don't recall.
     7    matter of fact that the wage determination schedules  7        Q.       Was there more than one lawyer on the
     8    require GEO to pay the amounts set out in the         8        phone at this time?
     9    schedule, correct?                                    9        A.       There may have been. There were typically
    10    A.      Correct.                                     10        two or three, sometimes more attorneys on the phone
    11    Q.      What is the basis for that understanding?    11        when we would have a discussion.
    12    A.      My own review of the contract and seeing     12        Q.       Who was your primary source of contact at
    13    the schedules.                                       13        the Akerman firm?
    14    Q.      So flip, if you would, to par- -- footnote   14        A.       It would often be Adrienne. For logistics
    15    58, which is on page 18 of 22 of your report. Let    15        issues, it would often be Alicia.
    16    me know when you're there, please.                   16        Q.       And then for the receipt of information,
    17    A.      Okay.                                        17        who would it be?
    18    Q.      Footnote 58 is appended to the last          18        A.       In terms of data transmission? I don't --
    19    sentence in paragraph 56, in which -- in which you   19        I don't know. I'd have to look back at my e-mails
    20    said, "I understand that GEO Group's" -- "GEO Group 20         and see who would typically transmit data to us.
    21    employees' wages and benefits are based upon Wage 21           Q.       And the contract, then, that this lawyer
    22    Determination schedules issued by the Department of 22         told you about, did the lawyer suggest to you that
    23    Labor in accordance with ICE agreements." And you 23           the wage determination schedules were binding or
    24    have the footnote 58. And in footnote 58 you say,    24        limiting on what GEO could pay its contractors, or
    25    "My understanding of the GEO Group compensation 25             its employees, rather?
                                                          Page 86                                                       Page 88

      1   practices is based on my August 27th, 2020                 1          MS. SCHEFFEY: Object to form, and asked
      2   conversation with GEO Group's counsel and a review         2   and answered.
      3   of the ICE contract amendment at                           3          THE WITNESS: I don't recall a discussion
      4   GEO-Novoa_00018147." Have I accurately described           4   about what's binding. I'm assuming, because it's
      5   the contents of your report, ma'am?                        5   included in the contract, that those rates would be
      6   A.      Yes.                                               6   the most appropriate rates to use for a calculation
      7   Q.      Okay. What lawyer told you anything about          7   of what employees would be paid by GEO.
      8   GEO compensation practices on August 27th, 2020?           8          MR. CHAREST: Q. You understand that the
      9   A.      I don't recall which lawyer. There were            9   contract that you're talking about is a contract
     10   often in our conversations multiple lawyers on the        10   between ICE ultimately and GEO in a roundabout way,
     11   phone.                                                    11   right?
     12   Q.      What did that lawyer tell you about the           12   A.      I understand that, yes.
     13   compensation practices of the GEO Group that you          13   Q.      And its amount -- it's an amount that GEO
     14   relied on and wrote as noted in par- -- in footnote       14   is going to get reimbursed, not necessarily an
     15   58?                                                       15   amount that GEO is going to pay. You understand
     16   A.      That GEO's contracts have wage                    16   that?
     17   determination schedules.                                  17          MS. SCHEFFEY: Object to form, foundation.
     18   Q.      Did the lawyer tell you that the wage             18          THE WITNESS: I understand that the rates
     19   determination schedule -- wage determination              19   that GEO is paid in the contract is what they are
     20   schedules are mandatory on GEO vis-a-vis the              20   going to be paid, not -- not representing their
     21   employees?                                                21   cost.
     22   A.      I don't recall a discussion about them            22          MR. CHAREST: Q. Right. And so the rates
     23   being mandatory.                                          23   that you're looking to as -- in the contract are
     24   Q.      Do you remember whether the lawyer that           24   revenue to GEO, not necessarily reflective of cost
     25   you were talking to was in-house at GEO or one of         25   to GEO, correct?
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     1    A.      In terms of the per-bed-per-day rates,             1   for different positions.
     2    yes.                                                       2          MR. CHAREST: Q. And you were told that
     3    Q.      Not just the rates for per bed per day,            3   by lawyers at GEO -- for GEO?
     4    but the wage rates that are identified in those            4          MS. SCHEFFEY: Object to form, asked and
     5    contracts?                                                 5   answered.
     6           MS. SCHEFFEY: Object to form.                       6          THE WITNESS: Yes.
     7           THE WITNESS: I don't have an                        7          MR. CHAREST: Q. And you did not bother
     8    understanding that those represent strictly revenue.       8   to ask, "Is this, in fact, what they pay their
     9    My assumption is that those are the wage rates that        9   employees?"
    10    GEO should pay based on the contract.                     10   A.      I did not ask that.
    11           MR. CHAREST: Q. So that was your                   11   Q.      Even though you were on the phone with
    12    assumption. Did you ask the validity of that              12   them talking about this, and they were saying, "Use
    13    assumption to the lawyers?                                13   this as a proxy," you didn't say, "Well, what do
    14    A.      I didn't see any reason to question that          14   they actually pay," right?
    15    assumption, so no, I didn't ask.                          15   A.      I did not ask.
    16    Q.      You're on the phone with the lawyers who          16   Q.      Even --
    17    handed you this contract and said, "Hey, look at the      17          MS. SCHEFFEY: At that point, it's been
    18    rates here," and you assumed you could use it to be       18   asked and answered about ten times now. I'm giving
    19    a source for what GEO pays, and you didn't bother to      19   you a little more rope, but we're near the end of
    20    ask like the six-letter question, "Is this what GEO       20   it.
    21    pays its employees?"                                      21          MR. CHAREST: You're not giving me
    22           MS. SCHEFFEY: Object to form and                   22   anything.
    23    argumentative.                                            23   Q.      Ma'am, is it your normal practice, when
    24           THE WITNESS: I did not ask. I received             24   trying to figure out what GEO paid or what any
    25    an assumption and instruction about what the              25   client pays, to not ask what that client pays?
                                                          Page 90                                                     Page 92

      1   contract provides, and I assumed that these are the        1   A.      I received this as a legal instruction,
      2   rates that GEO should pay -- would pay.                    2   and when I receive a legal instruction, it is not my
      3          MR. CHAREST: Q. No. Did you receive an              3   place to challenge the legal instruction.
      4   instruction? What was the instruction?                     4   Q.      So then now we've gone a step further than
      5          MS. SCHEFFEY: I instruct you not to                 5   what you first said. You first said it was an
      6   answer.                                                    6   assumption that you found to be reasonable, and now
      7          MR. CHAREST: Whoa, careful.                         7   you're telling me you were instructed to use these
      8          MS. SCHEFFEY: I said that there's a                 8   numbers as a representation of what GEO pays its
      9   foundation, if you can find out if it was in this          9   employees. Which one is it, ma'am?
     10   conversation.                                             10   A.      It's -- it's both. The attorneys informed
     11          MR. CHAREST: Q. What instruction are you           11   me that the contract includes a wage determination
     12   talking about, ma'am?                                     12   schedule which represents what GEO should pay its
     13   A.      The contract between GEO and ICE includes         13   employees. I looked at the wage determination
     14   wage determination schedules that would represent         14   schedule and assumed that it would be the reasonable
     15   what GEO would pay for these various -- for various       15   basis to use in making any calculation of what
     16   job categories.                                           16   employees would be paid for the various positions.
     17   Q.      So you were told by lawyers that the              17   Q.      Instead of asking for what GEO actually
     18   schedules reflect what GEO would pay, even though         18   paid, right?
     19   that's not the subject matter of the contract,            19   A.      That's what I did; that's correct.
     20   right?                                                    20   Q.      Right. So when trying to figure out the
     21          MS. SCHEFFEY: Object to form, foundation.          21   answer to what is X, the one thing you did not do is
     22          THE WITNESS: I don't know what you mean            22   ask, "What is X," right?
     23   by "not the subject matter of the contract," but          23          MS. SCHEFFEY: Object to form.
     24   that's what I understood the wage determination           24          THE WITNESS: I disagree with you. The
     25   schedules to be, what GEO would pay their employees       25   question isn't what does GEO actually pay. The
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     1   question is what are they contractually obligated to     1   what they would pay.
     2   pay.                                                     2   Q.      And that, you believe, applies to the
     3          MR. CHAREST: Q. Why is that the                   3   entire class period, right?
     4   question?                                                4   A.      Well, I understand the rates change
     5   A.      I was instructed that, and so I assumed          5   different times, but...
     6   that that was a reasonable basis for the                 6   Q.      Yeah. And...?
     7   calculation, as apparently did your -- as apparently     7   A.      So to the extent they change, then
     8   did your expert as well.                                 8   different rates would be applicable when the rate --
     9   Q.      Now, you're saying GEO's contractually           9   wage determination schedules change.
    10   obligated to pay that amount, which is I think          10   Q.      Were you given those new, updated, higher
    11   different than what you said before. Was that the       11   rates by your counsel?
    12   instruction you received?                               12   A.      I believe so, but if you're trying to
    13          MS. SCHEFFEY: Object to form, asked and          13   indicate there are more rates, I don't know. I
    14   answered.                                               14   believe I have them all.
    15          THE WITNESS: No one said specifically            15   Q.      Well, let's be really clear. You
    16   they're contractually obligated to pay these            16   criticize Mr. Childers for not using these wage rate
    17   amounts.                                                17   determinations. You cited to one from 2014 as what
    18          MR. CHAREST: Q. Except for --                    18   he should have used, and you know there's amendments
    19   A.      It was much more simple than that.              19   later that increase the rates? Is that right?
    20   Q.      You just said that in your answer. So is        20          MS. SCHEFFEY: Object to form. And I
    21   that not --                                             21   think we need to stick to her report, because I
    22   A.      But that is my understanding. I don't           22   think you're misstating it. It's about the third
    23   have literal memory of conversations. My                23   time now.
    24   understanding is, based on the conversation, as         24          THE WITNESS: It can be, depending on what
    25   these wages are provided in the contract, that these    25   the category of employee is. There are some of
                                                       Page 94                                                        Page 96

     1   are contractually obligated amounts. That's my           1   these schedules that have some positions in some,
     2   understanding.                                           2   but not others, so you would need to direct me to
     3           I'm not a lawyer. I could be wrong. I            3   whatever it is that you think is not right.
     4   could be wrong in a legal understanding, but that's      4          MR. CHAREST: Q. We can talk about that
     5   the basis of why I believed it was a -- the most         5   later. I'm trying to figure out what you used.
     6   reasonable source of wage rates to use in any            6   Here's my -- here's my conundrum: You have GEO
     7   calculation, other than minimum wage, of what GEO        7   there at your beck and call to answer any questions
     8   would pay.                                               8   you can ask, right?
     9   Q.        Because the lawyers told you to use it as      9          MS. SCHEFFEY: Object to form.
    10   a proxy for what was actually paid, and you assumed     10          THE WITNESS: I'm able to ask questions to
    11   it was required that GEO must only pay that, right?     11   GEO's counsel.
    12           MS. SCHEFFEY: Object to form, misstates         12          MR. CHAREST: Q. Right. And if the
    13   prior testimony.                                        13   question is "What's a reasonable number about what
    14           MR. CHAREST: "Misstates testimony" is           14   people" -- "what GEO pays people to do these
    15   what she's saying.                                      15   services" --
    16   Q.        Go ahead.                                     16   A.       I'm sorry. There's -- so you -- there's a
    17   A.        I didn't make an assumption that it is        17   protest going by my office, so we'll just -- I don't
    18   what -- I don't remember exactly what you said --       18   know how loud it's going to get.
    19   that it is only what they would pay, but it -- my       19   Q.       Do you want to take a break, or are you
    20   assumption was it is the most reasonable set of         20   okay?
    21   hourly rates to use for a calculation of what they      21   A.       I don't know. Might want to take a -- go
    22   would pay. I don't know if they can -- if they can      22   off the record for a second and maybe just see.
    23   pay something else, they may be able to pay             23          MR. CHAREST: Let's go off the record.
    24   something else. My assumption is it is the most         24   That's fine.
    25   reasonable basis for using rates in a calculation of    25          MS. SCHEFFEY: Take a five-minute.
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     1          THE VIDEOGRAPHER: We're going off the            1           MR. CHAREST: Q. Right. But the
     2   record. The time is 11:29.                              2   employment market as it exists in the city of
     3          (Recess taken from 11:29 a.m. to                 3   Adelanto, what it might cost GEO to pay
     4          11:34 a.m.)                                      4   non-detainees to do the work it uses detainees for,
     5          THE VIDEOGRAPHER: We're back on the              5   that's the thing we're trying to figure out, right?
     6   record. The time is 11:34 a.m.                          6           MS. SCHEFFEY: Object to form.
     7          MR. CHAREST: Q. All right. Ms. Morones,          7           THE WITNESS: That's -- yes, that's
     8   we were talking about your criticism of                 8   reasonable.
     9   Mr. Childers' use of Bureau of Labor Statistics data    9           MR. CHAREST: What's your objection.
    10   and your preference, apparently, for the wage          10           MS. SCHEFFEY: Is it misstates both the
    11   determination schedules as a way to measure what it    11   testimony in the report and your expert's opinions,
    12   would cost GEO to hire non-detainee labor. Do you      12   which is not just to substitute out other employees,
    13   remember that?                                         13   but potentially pay the detainees those rates.
    14   A.      Yes.                                           14           MR. CHAREST: Q. Given that -- do you
    15   Q.      Let's start -- let's do what I think might     15   agree with me that the market, like the market value
    16   be the easy thing first. Do you disagree with the      16   of something, is the best indicator of what the
    17   Bureau of Labor Statistics?                            17   market value for that thing is?
    18   A.      I don't know how to answer that question.      18   A.       Well, your statement just all by itself,
    19   I mean, I understand what it is, so I'm not sure       19   it's -- yeah, I mean, you're using one thing to
    20   what you mean by "disagree."                           20   define the same thing. So you said, "The market
    21   Q.      Do you under -- do you disagree that it's      21   value is the best indication of market value."
    22   a valid source? Do you think the data are wrong?       22   So...
    23   Do you think that the analysis that the Bureau does    23   Q.       Right. Tautology. But it is a tautology,
    24   is incorrect?                                          24   and it's true. If you're trying to figure out
    25   A.      I don't have a basis to say it's               25   market value, the best place to do -- to look is the
                                                      Page 98                                                     Page 100

     1   incorrect.                                              1   market and see what the market value is, right?
     2   Q.      So -- okay. Well, you're an expert. And         2   A.       Yes.
     3   having no basis to say it's incorrect, you have no      3   Q.       In this situation, we know that there is a
     4   challenge to the validity of the data that are          4   labor market in Adelanto for some activity that
     5   contained in the report that Mr. Childers used,         5   exists, right? Like what GEO actually pays its
     6   right?                                                  6   actual employees is a thing that is true. That
     7          MS. SCHEFFEY: Object to form.                    7   exists, that number, right?
     8          THE WITNESS: Right.                              8   A.       Yes, it does.
     9          MR. CHAREST: What's your objection?              9   Q.       Right. But instead of asking your client,
    10          MS. SCHEFFEY: Object to form. Compound.         10   GEO, what that number was, you accepted the
    11   It was two questions.                                  11   representation from the lawyers and referred to this
    12          MR. CHAREST: Q. You think there's a             12   2014 schedule as the best assumption, right?
    13   better source than what he used, is your fundamental   13   A.       Yes, I accepted the assumption that this
    14   observation, correct?                                  14   is what GEO would pay.
    15   A.      A -- I would say a more relevant source.       15   Q.       Would pay, does pay, should pay, must pay;
    16   Q.      Okay. And the source of the thing we're        16   which one is it?
    17   trying to measure, which is the cost in the market,    17   A.       I don't have to make a -- I don't have to
    18   the real-world market, to staff these positions with   18   distinguish between all of those in critiquing your
    19   non-detainee labor, correct?                           19   expert. It's my assumption that it is the most
    20   A.      I would say the cost to GEO, their cost of     20   reasonable source of rates for what GEO would pay,
    21   staffing these positions.                              21   in a hypothetical that didn't happen.
    22   Q.      With non-detainee labor in the real world,     22   Q.       Not what it actually pays its employees,
    23   in the market.                                         23   but what it is scheduled to -- what it uses as a
    24          MS. SCHEFFEY: Object to form.                   24   schedule for its contract with ICE?
    25          THE WITNESS: Just employees, yes.               25   A.       Yes.
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     1   Q.      And you think that's a better source of         1   A.      Yes.
     2   data than the -- what GEO actually pays its             2   Q.      And that's the premise for your assumption
     3   employees in the actual market?                         3   or your critique of Mr. Childers?
     4          MS. SCHEFFEY: Object to form.                    4   A.      Yes.
     5          THE WITNESS: I didn't make a -- didn't           5   Q.      And then you quantify the impact of the
     6   decide between those two sources. I accepted this       6   different -- of using different assumptions in
     7   source as the most reasonable source for rates.         7   paragraph 58, right?
     8          MR. CHAREST: Q. You accepted it. My              8   A.      Yes.
     9   question is did you, in the exercise of your            9   Q.      Okay. So looking at paragraph 58.
    10   expertise, which is evaluating the quality of          10   A.      Okay.
    11   assumptions and the support for them, agree that the   11   Q.      You should see it on the screen. I said
    12   better source of information would be the actual       12   58, but I guess I meant 50 -- I'm on the wrong page.
    13   market transaction data, what GEO actually pays its    13   Sorry. Here we go. 58. Are you with me now? Or
    14   employees?                                             14   am I with you? Do you see paragraph 58 up on the
    15   A.      Could you -- could you repeat the              15   screen?
    16   question -- the first part of the question? I'm        16   A.      Yes.
    17   sorry.                                                 17   Q.      Okay. And you say, "Using the revised
    18   Q.      It's okay.                                     18   rates per the Wage Determination schedules, and the
    19          Can you read it back for me, please?            19   revised 2011 hours," which we'll talk about in a
    20          (Record read.)                                  20   second, "as described above, yields a damage
    21          THE WITNESS: I -- the information about         21   calculation approximately $2.951 million lower than
    22   what GEO actually pays its employees would be a        22   Dr. Childers," right?
    23   credible source of assumptions. I don't know           23   A.      Yes.
    24   whether -- I haven't formed an opinion about whether   24   Q.      Which wages -- well, let me ask it
    25   it would be a better source in this situation. I       25   differently. Did you use the wages that are
                                                     Page 102                                                     Page 104

     1   don't know if GEO is compliant with the wage            1   reflected in the ICE contract that you referred to
     2   determination schedule.                                 2   in footnote 58 as the source data for the wage
     3          There might be issues about what GEO             3   determination schedules that are reflected in the
     4   actually pays that I'm not aware of. I have assumed     4   calculations in paragraph 58?
     5   that the wage determination schedule is the most        5   A.      I believe there are multiple sources, so I
     6   reasonable assumption or is a more -- certainly more    6   would have to trace them through the schedules,
     7   reasonable assumption than the BLS data. Your           7   Series 6 schedules.
     8   expert did not use actual rates paid by GEO. Your       8   Q.      Okay. Tell me where to look for that,
     9   expert used BLS data. And so in my critique of the      9   please.
    10   BLS data, I'm assuming the wage determination          10          MS. SCHEFFEY: I am hopefully not going to
    11   schedule is a more reasonable assumption because I     11   disconnect, but I'm exiting full screen so I can
    12   understand that's what GEO is obligated to pay.        12   scroll to the document.
    13          MR. CHAREST: Q. All of that discussion          13          MR. CHAREST: Q. I think I found it.
    14   led -- ended with because you understand that's what   14   You're talking about Schedule 6B, correct?
    15   GEO is obligated to pay. What is the basis for your    15   A.      Correct. 6A, 6B. Yes.
    16   understanding that GEO is obligated to pay that        16   Q.      So you're saying these numbers that are
    17   amount?                                                17   reflected in Schedules 6A and 6B come from rate
    18   A.      A discussion with GEO's counsel that the       18   determination schedules over time? Is that your
    19   contract includes a wage determination schedule,       19   understanding?
    20   looking at that schedule, seeing that it sets out      20   A.      I -- I said that I would need to trace
    21   rates for all the different categories of employees,   21   through -- that they may come from rates over time,
    22   and my own -- my own interpretation understanding      22   but I would need to trace through the schedules.
    23   that those would be required by the contract.          23   Q.      Okay. So tell me. Trace away.
    24   Q.      So you interpreted the contract to             24   A.      Top of the schedule says, "The source of
    25   determine that GEO was required to pay it?             25   the hourly rates shown below are wage determination
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     1    schedules for each contract period as shown on the          1   about 600 times that schedule is what it pays.
     2    following three" -- the listed three documents. And         2   A.       I've never testified that it -- that it is
     3    then the footnotes mention which positions from the         3   what it actually pays. It's my understanding that
     4    documents are used for each wage rate.                      4   it's what it would pay based on its contract.
     5    Q.      Okay. And so if, in fact -- if your                 5   Q.       And if that -- so then -- okay. Let's use
     6    assumption is correct, then during the period of            6   that as the proxy. You understand that, based on
     7    June 20 -- let's see here -- August 7th, 2014               7   your view of the contract, GEO is supposed to pay
     8    through June 24, 2019, a janitor would get paid $11         8   $11 an hour for janitor services, right?
     9    an hour, correct, ma'am?                                    9   A.       Based on my calculation, extrapolating
    10    A.      I'm reading the footnotes and thinking.            10   from a later period, that's my calculation of what
    11    For that period, I used information from the most          11   the wage determination schedule rate would be for
    12    recent period. The average rate for                        12   that period.
    13    janitor/maid/houseman for the most recent period,          13   Q.       And have you ever seen -- well, first off,
    14    because no relevant position was included in that          14   have you ever seen any documents supporting that
    15    period, August 14th through June 2019.                     15   assumption? Like maybe you just said, "Hey, how
    16    Q.      Say that again. I'm not understanding.             16   about you show me someone's pay scale of what's
    17    A.      Footnote 1 says, "For the janitor role, I          17   actually being paid to see if my assumption is
    18    used the average rate for the positions janitor and        18   correct." Did you ever ask for that or see that
    19    maid or houseman for the most recent period. No            19   kind of thing?
    20    relevant position was included in the earlier              20   A.       I have seen some -- some documents that
    21    contract periods. As such, I used the changes              21   reflect hourly rates, but I did not reconcile them
    22    between periods for the cook rate, which was               22   directly to these rates.
    23    included in all three wage determination schedules,        23   Q.       Why not?
    24    to calculate rates for the earlier period."                24   A.       I don't know. I just didn't.
    25    Q.      I don't understand when you say "there's           25
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      1   no" -- how can you use janitor as an average for            1          (Whereupon Exhibit 207 was marked for
      2   determining janitor when you say janitor doesn't            2          identification.)
      3   exist? You said, "For the janitor role, I used the          3          MR. CHAREST: Q. I've popped up Exhibit
      4   average rate of the position of janitor, maid, and          4   No. 207. Let me know when you have it.
      5   house maid" -- "houseman," right?                           5          MS. SCHEFFEY: Form objection.
      6   A.       From the most recent period.                       6          THE WITNESS: Okay.
      7   Q.       Okay.                                              7          MR. CHAREST: Q. All right. 207 is a
      8   A.       Yes.                                               8   document marked GEO-Novoa_00062408 through 416.
      9   Q.       If I'm reading this foot -- schedule 6B            9   Have I accurately described the document, ma'am?
     10   correctly, you say the janitor position is $11 an          10   A.       Yes.
     11   hour based on the wage determination scale --              11   Q.       All right. And you see in the date of the
     12   schedule, correct?                                         12   document is June 16, 2018?
     13   A.       It's a calculated rate based on the latest        13   A.       Yes.
     14   wage determination schedules.                              14   Q.       And it's an offer letter to someone who's
     15   Q.       And in your understanding, based on your          15   been -- whose name and information has been
     16   conversation with counsel and your interpretation of       16   redacted. The job title is janitor, and the hourly
     17   these documents on your own, apparently, is that GEO       17   rate is $11, correct?
     18   is obligated to pay and, in fact, does pay only            18   A.       Yes.
     19   what's on the schedule, right?                             19   Q.       That is completely consistent with what
     20   A.       I don't have an understanding of if they          20   you have in your report, right?
     21   pay only what's on the schedule.                           21   A.       Let's go back to the time periods in the
     22   Q.       Oh. So this schedule is not what it pays,         22   report. It's $11. The dollar amount is the same.
     23   or is it?                                                  23   I'm not recalling specifically the time periods.
     24           MS. SCHEFFEY: Object to form.                      24   Q.       The report is -- if you want to see that,
     25           MR. CHAREST: Q. Because I think you said           25   we can look at both at once.
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     1   A.       I don't know --                                1   paying and what GEO's actually paying, and you did
     2   Q.       I think I can, actually.                       2   not reconcile that difference, right?
     3   A.       -- if I can look at them both at once.         3          MS. SCHEFFEY: Object to form.
     4   Q.       Amazing. All right. Here we go. So on          4          THE WITNESS: I did not reconcile any
     5   the left of the screen, you're seeing your report       5   actual information to the assumed wage determination
     6   Schedule 6B, right?                                     6   rates.
     7   A.       Yes.                                           7          MR. CHAREST: Q. Well, that's -- why?
     8   Q.       And during at least two time periods, you      8   A.       Is that the question?
     9   have $11 as the wage rate for janitors, right?          9   Q.       It is a question.
    10   A.       Correct.                                      10   A.       I'm sorry. Didn't sound -- I don't know.
    11   Q.       Do that better here. Hold on. That's not      11   I just didn't. I assumed the wage determination
    12   what I want to do either. That's all right.            12   schedule was contractual and that it was a
    13           And then on what is 207, the first page        13   reasonable basis to assume --
    14   shows also an $11 rate for janitors, which is          14   Q.       Turns out that assumption was not
    15   consistent with what you understand the world to be,   15   accurate, based on GEO's own records, right?
    16   right?                                                 16          MS. SCHEFFEY: Object to form.
    17   A.       It's consistent with the rates assumed on     17          THE WITNESS: I don't know. Based on this
    18   Schedule 6B.                                           18   one document that you showed me, there is at least
    19   Q.       Okay. Well, let's dig down and see what       19   one hourly rate that was offered that was higher
    20   else it shows. What rate is being paid to this         20   than what I've assumed in the wage determination
    21   janitor in June of 2019, June 12, 2019?                21   schedule. I don't know the degree to which other
    22           MS. SCHEFFEY: Object to form.                  22   rates paid would be higher.
    23           THE WITNESS: 14.04.                            23          MR. CHAREST: Q. I didn't mean to stop at
    24           MR. CHAREST: Q. And how does that              24   that one. I just thought that the point was pretty
    25   compare to the rates that your report says GEO is      25   clear. But the next one, the next offer letter, has
                                                     Page 110                                                        Page 112

     1   paying janitors in the same time period?                1   the same amount, right? 14.04, which is higher than
     2   A.       I'm assuming 12.92.                            2   the contract rate that you relied on?
     3   Q.       No, you're not, ma'am. You're still in         3   A.       Yes.
     4   the $11 an hour period here.                            4   Q.       Yeah. Did -- do you know whether or not
     5   A.       All right. Let me look back at the date.       5   this document was provided to you?
     6   It says, "Start date December" -- I just looked at      6   A.       I believe so.
     7   the start date. 2019.                                   7   Q.       So it wasn't GEO not giving it to you. It
     8   Q.       Well --                                        8   was you not using the information that was given to
     9   A.       But it -- if you assume June 12th, 2019,       9   you that led you to the mistake that you made; is
    10   it's $11. If you assume the start date of              10   that right?
    11   December 2019, I'm assuming 12.92.                     11   A.       I don't see it as a mistake. It's a --
    12   Q.       And both $11 and 12.92 are less than what,    12   it's an assumption about what is a reasonable source
    13   in fact, this person is getting paid, according to     13   of hourly rates to assume. If -- if GEO has rates
    14   GEO's records, right?                                  14   that are contractually provided in their contract,
    15   A.       Yes.                                          15   it's reasonable for me to assume that they would
    16   Q.       Yeah. Did GEO's lawyers give you this         16   compensate at those rates. So I don't see it as a
    17   document?                                              17   mistake.
    18   A.       They may have. As I said, I --                18   Q.       Well, it's reasonable to assume unless, in
    19   Q.       Did you ignore it, then?                      19   fact, it doesn't and you know it, right? Then the
    20   A.       Excuse me?                                    20   assumption's not reasonable, is it?
    21   Q.       Did you ignore it, then?                      21   A.       I don't know. I would have to think more
    22   A.       As I said, I did not reconcile these          22   about the purpose of the -- I don't know.
    23   two -- the assumed wage determination rates.           23   Q.       You don't know. You don't know that when
    24   Q.       So the data that you have shows expressly     24   you make an assumption that is disproven by data
    25   inconsistent information about what you think GEO's    25   from your own client, it's unreasonable to follow
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     1   that assumption? You don't know?                      1     to criticize the expert on Mr. Childers, right? It
     2   A.      I don't know whether it's more reasonable     2     has the data. It didn't give it to you, correct?
     3   to assume contractually provided rates or             3             MS. SCHEFFEY: Object to form.
     4   information about actual rates in the scenario -- in  4             THE WITNESS: Correct.
     5   the damage claim scenario of unjust enrichment.       5             MR. CHAREST: What's your form objection?
     6   Q.      When we're trying to measure what the         6             MS. SCHEFFEY: You had two different
     7   market would actually require, right?                 7     questions in there. One is whether GEO had the
     8   A.      Yes.                                          8     data. One is whether they're asking you to
     9   Q.      Okay. I think that's enough on that for       9     criticize it. Compound. There's at least two
    10   now. We actually got on this topic by talking about 10      questions.
    11   the assumptions, the fifth one being Mr. Childers'   11             MR. CHAREST: Cool. Let's do that, then.
    12   use of the Bureau of Labor Statistics, right?        12     This will be fun.
    13   A.      Yes.                                         13     Q.       You were hired to criticize Dr. Childers'
    14   Q.      And your criticism was he should have used 14       report, right?
    15   the wage determination schedules, which we've talked 15     A.       I was hired to review it and express my
    16   about ad nauseam now, correct?                       16     opinion about the level of support.
    17   A.      Yes.                                         17     Q.       You were hired by GEO?
    18   Q.      You still happy with that criticism?         18     A.       Yes.
    19   A.      I don't know. I mean, I don't have a         19     Q.       GEO has the data that would allow you to
    20   basis to -- I don't know.                            20     make an actual criticism about actual wages actually
    21   Q.      Because you don't know, in fact, what GEO 21        paid, right?
    22   paid in relation to what that schedule that you were 22     A.       GEO has data on actual wages.
    23   given to by the lawyers, right?                      23     Q.       And GEO didn't give you that data, right?
    24   A.      You've shown me two rates that at that       24     A.       That's correct, not in a complete form.
    25   time were higher than what I calculated. I don't     25     Q.       Not in a complete form? Not in any form,
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     1   know across the board to what extent actual rates       1   other than the stray pieces of paper here and there,
     2   differ from the wage determination schedules.           2   right?
     3   Q.       Do you know who does know?                     3   A.      Yes, there were a few documents that
     4   A.       I'm not sure what you mean by -- excuse        4   showed hourly rates, such as the ones you showed me.
     5   me?                                                     5   Q.      Do you think if GEO had data that actually
     6   Q.       GEO has that data, right?                      6   supported its theory, it would give it to you?
     7   A.       I assume that GEO would have data about        7   A.      I don't -- I don't have a basis to know.
     8   their compensation.                                     8   Q.      Well, I mean, you're a human being. You
     9   Q.       Right. But they didn't give that to you,       9   understand that people do things to try and achieve
    10   did they?                                              10   whatever they're trying to get done, right? I
    11   A.       No.                                           11   mean -- that's a bad question.
    12   Q.       Right. They gave you the schedule, which      12          If GEO has the data, which you know they
    13   has been disproven, right?                             13   do, and the data supported the thing that they're
    14          MS. SCHEFFEY: Object to form.                   14   trying to get you to assume, don't you think GEO
    15          THE WITNESS: You've shown me two                15   would give you the data?
    16   documents that show higher rates than I've assumed     16          MS. SCHEFFEY: Object to form.
    17   from the schedule. I don't know what extent their      17          THE WITNESS: I don't have an opinion.
    18   actual rates are different.                            18   I've been doing litigation a long time, and I get or
    19          MR. CHAREST: Q. And the only one that           19   I don't get things for reasons that I don't
    20   has the information is GEO, and GEO didn't give it     20   understand. I can't place motive on a party.
    21   to you, right?                                         21          MR. CHAREST: Q. Or refuse to anyway.
    22   A.       I did not receive actual -- other than a      22   That's fine. But in your experience --
    23   few documents like that you've just shown me, I did    23   A.      I'm not sure what you -- would you expand
    24   not receive comprehensive set of actual rates.         24   on what you just said?
    25   Q.       Even though GEO's the client that's trying    25   Q.      Sure. You refuse to place motive on a
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      1   party. That's fine.                                         1   Q.        Okay. Well, let's be real clear. You
      2   A.       Well, I don't know how I could place a             2   don't decide what the lawyers give you. The lawyers
      3   motive on a party. It's just not --                         3   decide what the lawyers give you, right?
      4   Q.       Sure. In your experience in litigation,            4   A.        I can ask for things, but ultimately
      5   have you ever been not given something that would be        5   they -- I can't control them. They give me what
      6   dispositive against the position you're taking?             6   they have, what is available to them, if they
      7   A.       Could you repeat that and use more simple          7   understand that it's responsive. I don't have any
      8   language, non-legal -- non-legal language?                  8   of my own ability to obtain data from the client.
      9   Q.       In your experience in litigation, have you         9   Q.        And in this situation, you're giving
     10   ever not been given something from the client that,        10   something -- you were given something to use as a
     11   if it had been given, it would have disproven their        11   proxy as a critique for someone else using a
     12   position?                                                  12   different thing as a proxy when, in fact, the thing
     13   A.       Well, nothing comes to mind that fits that        13   that you were given is disproven by the -- by GEO's
     14   exactly. I certainly have been asked questions in          14   own data; is that right?
     15   deposition or trial that I was unaware of, you know,       15            MS. SCHEFFEY: Object to form.
     16   facts that I was unaware of. I don't recall whether        16            THE WITNESS: I don't know. I don't know
     17   or not any of those disproved a position, as you've        17   if it's disproven based on the two sheets that you
     18   described.                                                 18   gave me. I don't know the extent to which those
     19   Q.       But you under- -- you've been doing the           19   rates are used or to the extent to which rates are
     20   game long enough where you know that the lawyers           20   actually different from the contracted --
     21   give you what they give you, and sometimes they give       21            MR. CHAREST: Q. Well, if you assume that
     22   you everything, and sometimes they don't, right?           22   GEO's records are accurate, then those rates are
     23           MS. SCHEFFEY: Object to form.                      23   higher than what you say should be assumed, right?
     24           THE WITNESS: It's certainly true that              24            MS. SCHEFFEY: Object to form.
     25   they don't give me everything. It's not appropriate        25            THE WITNESS: Those rates were higher than
                                                          Page 118                                                        Page 120

     1    for me to have everything in a case. It's too much          1   I assumed in determining the wage determination
     2    information.                                                2   schedules.
     3            MR. CHAREST: Q. How about everything                3          MR. CHAREST: Q. Okay. So on to the
     4    that matters to what you're talking about, like, for        4   sixth assumption here, which is on page 16 of 22 of
     5    example, market data about cost of employees?               5   your report. You say that Mr. Childers used the
     6    A.       I don't understand your question. Could            6   California minimum wage rates increased for workers'
     7    ask it maybe in a more complete way?                        7   compensation, unemployment insurance, and
     8    Q.       Well, you said, "It's not appropriate for          8   medical/Social Security withholding to calculate the
     9    me to have everything." And I said, "How about              9   but-for cost of using subcontracted employees. Is
    10    things that are relevant to what you're talking            10   there -- do you think that's an invalid assumption
    11    about, like, for example, market data about the cost       11   on his part?
    12    of employees?"                                             12   A.      Let me get to that space.
    13    A.       I would expect the attorneys to give me           13   Q.      Sure.
    14    what they have that's relevant.                            14   A.      That page.
    15    Q.       So the absence of having market data about        15          (Pause.)
    16    the cost of employees means either GEO doesn't have        16          THE WITNESS: I -- other than his
    17    it, which is implausible, or GEO doesn't want you to       17   application of math, I don't have a criticism of
    18    see it, right?                                             18   that approach.
    19            MS. SCHEFFEY: Object to form.                      19          MR. CHAREST: Q. Did you attend the
    20            THE WITNESS: I can't agree to that, that           20   Childers deposition and/or read any transcript of
    21    there's a motive that they don't want me to see it.        21   it?
    22            MR. CHAREST: Q. Well, if they wanted you           22   A.      I have not. I did not, and I have not.
    23    to see it, you'd have it, right?                           23   Q.      So let's leave aside the application of
    24    A.       I don't know. That's -- I said I can't            24   math. As a construct, you agree that using the
    25    place a motive.                                            25   minimum wage rates increased for workers'
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     1   compensation, unemployment insurance, and Social         1          MS. SCHEFFEY: Object to form and
     2   Security withholding is an appropriate approach, if      2   foundation, since his transcript isn't available.
     3   done correctly, right?                                   3          MR. CHAREST: Q. And I guess you also
     4   A.      I don't see anything wrong with it as an         4   don't know because you didn't attend his deposition
     5   approach for calculating a contract rate.                5   and listen in, right?
     6   Q.      And similarly, would you agree that when         6   A.      That's correct.
     7   you're calculating the contract rate that GEO would      7   Q.      Okay. So we've just looked at the six
     8   have to pay, that the contractor should -- you           8   assumptions, and I've got checkmarks next to five of
     9   should also account for the contractor's profit          9   them, meaning that you agree with the assumption.
    10   and/or overhead?                                        10   And I'm just going to run through them to make sure
    11   A.      I didn't -- in terms of this -- his             11   that we're on the same page. You agree with the
    12   calculation, I didn't make that determination, and I    12   dollar a day, right?
    13   think contract rates are negotiated. They can           13   A.      I agree that that's a representation of
    14   sometimes include that. I think it depends on -- I      14   participation in a work program.
    15   mean, it's just a contracted rate.                      15   Q.      And on No. 2, while you don't agree with
    16   Q.      Right. But most -- there's vendors that         16   the calculation, you agree that it's okay to rely
    17   provide services, don't do it for $0, that do it for    17   on -- or one expert to rely on another, but you have
    18   a profit, and they don't do it in a vacuum. They do     18   to take into account whatever criticisms you have of
    19   it through some sort of infrastructure, right?          19   the underlying expert, right?
    20   A.      I think -- I think there are all types of       20   A.      That's correct.
    21   contractors. Some do that. Some who are smart do        21   Q.      And you have -- you agree that the --
    22   that and are well organized. There are many who         22   well, you don't have any criticism of the work
    23   don't, who charge some basic level just as a job        23   efficiency, assumption No. 3, right?
    24   replacement.                                            24   A.      That's correct.
    25   Q.      Okay. But it's not an unreasonable              25   Q.      And you don't have any criticism of the
                                                      Page 122                                                     Page 124

     1   assumption to include a profit margin and/or             1   categorization, the assumption No. 4, right?
     2   overhead costs when you're trying to determine the       2   A.      Correct.
     3   but-for cost of using subcontract employees,             3   Q.      We've talked a while about No. 5, the
     4   correct, as a construct?                                 4   Bureau of Labor Statistics versus the wage
     5   A.       As a construct, it's not unreasonable.          5   determination rates. So those have a checkmark next
     6   I -- he hasn't done it, so I haven't -- I haven't        6   to it. Okay.
     7   evaluated what those assumptions might be.               7          And then No. 6, you agree that those are
     8   Q.       So you say he hasn't done it. I think --        8   valid considerations to use when you determine a
     9   we can talk about it later, but I think it's fair to     9   but-for cost of the subcontractor, right?
    10   say that you don't know whether or not he's done it     10   A.      Yes.
    11   because, in fact, he has done it, and he talks about    11   Q.      And you also agree that, as a matter of
    12   it in his deposition, but it's okay. You're not --      12   construct, it's also appropriate, when you talk
    13   A.       I --                                           13   about a subcontractor, to think about the cost of
    14           MS. SCHEFFEY: Move to strike testimony of       14   overhead and the profit margin, right?
    15   counsel.                                                15   A.      Yes, some do include those considerations
    16           THE WITNESS: He didn't do what he said he       16   in their rate.
    17   was doing, so if he said that he meant to do            17   Q.      Right. When you as an expert try and
    18   something else, I'm not aware of it yet.                18   evaluate what the cost of a contractor would be,
    19           MR. CHAREST: Q. That's fair. You have           19   that's one of the elements that you think would be
    20   not read his deposition, so you don't know that he      20   reasonable to contemplate, right?
    21   did that step too, right?                               21   A.      Yes. It's reasonable to contemplate the
    22   A.       I have not read his deposition.                22   individual's costs and -- yes, it's reasonable to
    23           MS. SCHEFFEY: Object to form and                23   contemplate their costs, which is what a profit
    24   foundation.                                             24   margin tries to do.
    25           MR. CHAREST: Say again.                         25   Q.      Fair. Okay. And overhead, too. You left
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     1   that out, but that was part of my question.               1   subtract time for a meal. So if -- using --
     2   A.      Well, I would include that in it's                2   completely using the hours from Bland's report, then
     3   reasonable to contemplate their costs.                    3   it would not have subtracted for a meal.
     4   Q.      Okay. Then you've answered "yes" to both          4   Q.      Do you know if any of the detainees that
     5   of my points, which is fine. Right?                       5   are doing this work, in fact, get meals or breaks?
     6          MS. SCHEFFEY: Is that -- object to form.           6   A.      I -- I don't know actually. I would
     7          THE WITNESS: Yes.                                  7   assume that they have to.
     8          MR. CHAREST: Q. All right. Then you                8   Q.      But you don't know one way or the other?
     9   say, the next paragraph after running through those       9   A.      I don't recall. I might have cited that
    10   six, "but I note that there are mathematical errors      10   information in my report, but I don't recall,
    11   and assumptions that are inaccurate," right?             11   sitting here.
    12   A.      Yes.                                             12   Q.      Did you ever ask anyone at GEO whether or
    13   Q.      So we must be talking about assumptions          13   not folks get breaks for meals?
    14   No. 2 and 5, and I guess 6 because of the                14   A.      I did not ask anyone at GEO.
    15   mathematical point, right?                               15   Q.      Can you think of any better source of data
    16   A.      Yes.                                             16   than GEO to tell you at least its view of whether or
    17   Q.      Okay. So the support for hours. You say          17   not folks get meals and breaks?
    18   Dr. Childers relied on Exhibit 3B of the Bland           18   A.      GEO would be the source of information
    19   report, and Exhibit 3B has flaws, which we'll talk       19   about whether detainees get breaks.
    20   about later, and therefore, his reliance on that set     20   Q.      You just decided to assume that there must
    21   of data are -- is inappropriate for the same reasons     21   be breaks, and Dr. Childers is wrong for not taking
    22   as you criticized Dr. Bland for the 3B?                  22   into account breaks, without asking anyone?
    23   A.      Yes.                                             23   A.      No, that's not correct. I'm just not
    24   Q.      Okay. The next paragraph down, you say,          24   remembering the source of information. Let me look
    25   "Dr. Childers uses kitchen hours from 3B and does        25   at my report.
                                                       Page 126                                                    Page 128

     1   not consider a meal break, and therefore overstates   1              (Pause.)
     2   the number of hours." Did I generally describe the    2              THE WITNESS: So footnote 48 cites a
     3   criticism there?                                      3       document that is the source for the assumption that
     4   A.      Yes.                                          4       kitchen workers are entitled to a break.
     5   Q.      Does Dr. Childers evaluate the cost on a      5              MR. CHAREST: Q. Footnote 48. Where did
     6   per-hour basis or on a per-day basis?                 6       you get footnote 48 from?
     7   A.      I don't know that it makes a difference.      7       A.      It was within the documents produced to us
     8   Q.      And when you're doing things on a per-day     8       in the case.
     9   basis, you think that the meal hours are not          9       Q.      Did you find it yourself as a source for
    10   subsumed in that analysis?                           10       the break information, or did a lawyer point it out
    11   A.      I'm not -- I'm not -- I don't know. I'm      11       to you?
    12   not following your question, so maybe you could      12       A.      I don't know. My staff associate, Brent
    13   expand.                                              13       Boutwell, who assisted on this case, obtained that
    14   Q.      I'm sorry, I didn't mean to cut you off.     14       document, found that document, and pointed it out to
    15   A.      Yeah. Maybe you could expand on it           15       me. So I don't know.
    16   because I'm not following on what difference it      16       Q.      Do you remember what those documents
    17   would make to assume the per-hour basis or a per-day 17       actually say?
    18   basis.                                               18       A.      I don't.
    19   Q.      Well, if Dr. -- if Dr. Childers says, "Oh,   19       Q.      Well, you know what: Offhand, I don't
    20   we need to replace ten days of labor," how do you    20       either, but we're going to find out. Without regard
    21   know that he's not -- how that day of labor does or  21       to what the documents actually say or don't say, do
    22   does not account for a meal break?                   22       you -- you don't know, in fact, what happens in
    23   A.      Because the hours that -- the five hours     23       Adelanto with respect to people actually working and
    24   assumed by Mr. Bland assume the entire schedule -- a 24       actually getting breaks and lunch and food?
    25   median of the entire schedules, which didn't         25       A.      I don't have personal knowledge, no.
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      1   Q.        Okay. And I guess that criticism is only         1   forced labor and unpaid detainees, right?
      2   as applied to breaks if they're applicable to              2   A.      Yes.
      3   kitchen staff only, right?                                 3   Q.      And that is the case in Washington state.
      4   A.        Yes.                                             4   I think it's called Nwauzor; is that right?
      5   Q.        Do you know what percentage the kitchen          5   A.      That's correct.
      6   staff makes up of the whole entire workforce?              6          MR. CHAREST: Nwauzor. I'm going to have
      7   A.        Sitting here, I don't. I've seen                 7   to give you the spelling later. I think it's
      8   different -- I could probably find that answer in my       8   N-W- --
      9   schedules, but if you want to point it out, that           9          MS. SCHEFFEY: I can give it.
     10   would be great. The janitors are the most -- the          10   N-W-A-U-Z-O-R.
     11   most prevalent. However, the kitchen staff have           11          MR. CHAREST: Thank you.
     12   longer hours. So it depends on whether you're             12   Q.      You're an expert in that case, right?
     13   talking about number of details or total hours.           13   A.      Correct.
     14   Q.        Okay. But if the -- in terms of workers,        14   Q.      All right. So let's be real. This is an
     15   it's far less. In terms of hours, it's still not          15   important thing with respect to like what the expert
     16   more than like 20% or 15%, depending on which source      16   knows and the basis of its opinions. So be really
     17   you're looking at; is that about right?                   17   careful about what you say and what I'm asking you.
     18           MS. SCHEFFEY: Object to form.                     18   Are you clear? I need really precise answers here.
     19           THE WITNESS: I don't know based on hours.         19          Are you saying you know what the shift
     20   I would have to find a different schedule. But            20   lengths are of the different workers based on your
     21   certainly the janitors are the most significant           21   own experience working in the Nwauzor case?
     22   number of details.                                        22   A.      Does your question mean I know what shift
     23           MR. CHAREST: Q. Do you know if the                23   lengths are in this case, based on my experience in
     24   janitors get breaks?                                      24   the Nwauzor case?
     25   A.        I don't. Because they're assumed --             25   Q.      At Adelanto.
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     1    length of detail is so short, I wouldn't expect a          1   A.      No.
     2    break within that.                                         2   Q.      Do you have any information whatsoever
     3    Q.      "Length of detail," what do you mean by            3   about shift lengths at Adelanto?
     4    that?                                                      4   A.      Yes.
     5    A.      The amount -- the assumed amount of time           5   Q.      What information do you have about shift
     6    spent on a particular category of job.                     6   lengths at Adelanto?
     7    Q.      "Assumed amount of time." What's your              7   A.      I have what Mr. Bland cited in his report,
     8    basis for any statement about the length of time           8   as well as other information or considerations I
     9    anyone spends in any job?                                  9   cited in my critique, such as -- such as the
    10           MS. SCHEFFEY: Object to form.                      10   existence of meal breaks with the kitchen workers.
    11           THE WITNESS: My basis is reviewing the             11   Q.      Okay. I'm not talking about breaks. I'm
    12    Bland report and evaluating the information cited.        12   talking about shift lengths. And I'm not talking
    13           MR. CHAREST: Q. So your testimony about            13   about Northwest Detention Center. I'm talking about
    14    the shift length is based on the Bland report; is         14   Adelanto. Do you understand those limitations?
    15    that right?                                               15   A.      Yes.
    16    A.      I might have. I also have experience in           16   Q.      Okay. What information do you have about
    17    other GEO cases evaluating some of the same issues,       17   shift lengths at Adelanto?
    18    and I'm aware generally that the custodial position,      18   A.      Other than what I just said, I don't have
    19    janitor position, has the assume -- shortest assumed      19   any additional information.
    20    shift length in all of these analyses, whereas the        20   Q.      All right. The two things you said are,
    21    kitchen position has typically the longest -- the         21   No. 1, the Bland report, and No. 2, the kitchen
    22    longer shifts.                                            22   break information, right?
    23    Q.      Okay. Let's unpack that a little bit.             23   A.      And there is additional information cited
    24    You are an expert in another case, in at least one        24   in our critique. So -- so I would want to look at
    25    other case that I'm aware of involving GEO and            25   the specifics of those to see -- to refresh my
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     1   memory about any additional information cited in my      1   Q.       What did you do to determine whether the
     2   critiques.                                               2   assumption -- whether it's reasonable to assume that
     3   Q.      Okay. So there's three things, then.             3   the information contained in the Nickerson report
     4   One, Bland report; two, kitchen breaks; three, other     4   relates at all to Adelanto?
     5   stuff in my report. Right?                               5   A.       I didn't do anything specifically in
     6   A.      Yes.                                             6   addition to my general knowledge of the Washington
     7   Q.      Okay. What, if anything, does the Bland          7   case and reviewing the materials in that case.
     8   report have to do with Adelanto?                         8   Q.       My question is, how do you know -- how, if
     9   A.      What does the Bland report have to do with       9   at all, does the information in the Nickerson report
    10   Adelanto? It's your expert's opinion about damages      10   pertain to the facts as they exist in Adelanto?
    11   related to your claims.                                 11   A.       The Nickerson report asserts a shift --
    12   Q.      Okay. Let's -- I'm going to take a pause        12   average shift length for another GEO facility that
    13   and clear that up. You're saying my claims, my          13   operates a Voluntary Work Program with many of the
    14   expert. What are you talking about?                     14   same activities, and I cite it simply as a
    15   A.      I don't know if I'm not understanding your      15   reasonableness cross-check in this case.
    16   question. Mr. Bland is the plaintiff's expert.          16   Q.       What do you mean by "a reasonableness
    17   Q.      In which case?                                  17   cross-check"?
    18   A.      This Novoa case.                                18   A.       Just another indication of another data
    19   Q.      Who told you that?                              19   point based on, as I said, a concept of a yardstick,
    20   A.      Says it in his report.                          20   that it's a similar -- not the same, but similar
    21   Q.      Okay. I'm sorry. I was thinking about           21   activity. And when looking at whether or not the
    22   Nickerson. I'm so sorry.                                22   conclusion reached is reasonable, one can look at
    23   A.      I'm sorry. I feel like I'm going crazy.         23   another -- at another similar activity as a
    24   Q.      That's my fault. That's entirely my             24   reasonableness check.
    25   fault. I apologize.                                     25   Q.       Are the two facilities the same size?
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     1          So the things that are in the Bland report        1   A.       They are not.
     2   are information you have about shift lengths, right?     2   Q.       Are they the same construction type?
     3   A.      Yes.                                             3   A.       I don't know.
     4   Q.      The information about kitchen breaks are         4   Q.       Do they have the same layout?
     5   information you have about shift lengths, right?         5   A.       I don't know.
     6   A.      Yes.                                             6   Q.       Are they the same square footage?
     7   Q.      Then you say "other stuff cited in my            7   A.       No.
     8   report," right?                                          8   Q.       Do they involve the same number of workers
     9   A.      Yes.                                             9   cleaning up the areas?
    10   Q.      Is any of the "other stuff that's cited in      10   A.       No.
    11   my report" the Nickerson report? Is that included?      11   Q.       Do they have more pods or less pods?
    12   A.      Yes, I've cited the Nickerson report.           12   A.       I don't know, but I know that Adelanto is
    13   Q.      What, if anything -- that's what I thought      13   larger.
    14   you were talking about. That's why I was confused.      14   Q.       Do any of those things that I just asked
    15   I'm sorry. What, if anything, does the Nickerson        15   you that you don't know matter in comparing whether
    16   report say about shift lengths at Adelanto?             16   looking at the activities in Northwest Detention
    17   A.      It doesn't say anything about shift             17   Center pertain to the activities at Adelanto?
    18   lengths at Adelanto.                                    18   A.       Not necessarily because yardsticks don't
    19   Q.      In what way is the Nickerson report at all      19   have to be perfectly matched. They don't have to be
    20   relevant to shift lengths at Adelanto?                  20   identical. They are meant to be a reasonableness
    21   A.      It's an indication of shift lengths at          21   check, not meant to be a replacement.
    22   another GEO facility.                                   22   Q.       If a yardstick is 38 inches long, is it
    23   Q.      And...?                                         23   still a yardstick?
    24   A.      Benchmarks -- yardsticks can be relevant        24   A.       I -- if it -- I don't know how to answer
    25   in analyzing reasonableness of an assumption.           25   that. If it still shows you how big a yard is, it
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     1   could be.                                                1   of do I have a rational answer here, what kind of
     2   Q.       If you give me a four-foot-long yardstick       2   cross-check could I use, if I have -- and I've done
     3   with 36 differentiating marks in it and say "Oh,         3   this a lot in my career -- if I have another
     4   it's a yardstick," is it any good to me? I mean,         4   division within the same company that's doing the
     5   the point being -- and I think you understand what       5   same program, might be configured a little bit
     6   I'm saying -- there's an issue when you're comparing     6   differently, but it's essentially the same company,
     7   two different things. You want to make sure you're       7   doing the same program, many of the same activities,
     8   comparing apples to apples, right? You agree with        8   I'm going to look at the output of that to compare
     9   that?                                                    9   it to this to see if I -- if I might be in the right
    10   A.       Well, in concept, but in reality, in the       10   ballpark. It's just another data point to consider.
    11   practice of using yardsticks, we understand that        11   They don't have to be identical.
    12   they're not perfectly comparable. The market does       12   Q.       How many -- how many -- before we -- how
    13   that on a daily basis, the stock market. When it's      13   many chow halls do they have at Adelanto?
    14   using other companies to price a company, they're       14   A.       I don't know.
    15   not identical comparables, but they're still useful     15   Q.       How many at Northwest Detention Center?
    16   to inform what would be reasonable by looking           16   A.       I don't know.
    17   outside of just the information, the limited            17   Q.       How many kitchen staff are employed on any
    18   information here, looking at what exists somewhere      18   given day at Adelanto versus Northwest Detention
    19   in a -- in a comparable operation. "Comparable"         19   Center?
    20   doesn't mean identical.                                 20   A.       I don't know.
    21   Q.       Sure, but they should be also comparable,      21   Q.       How about laundry staff?
    22   right? And like for -- let me think of it -- let me     22   A.       I don't know, sitting here. I'm sure
    23   ask this: Would it be -- would a facility of the        23   that's in the data. I've seen a lot of listings of
    24   same exact size be more comparable or less              24   staff, but sitting here, I don't know. I know that
    25   comparable than a facility of a different size?         25   Adelanto is larger. There are more -- more
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     1   A.       It would be more comparable.                    1   detainees.
     2   Q.       And would a facility with the same              2   Q.       Do you know what the Nickerson says about
     3   configuration or a different configuration be more       3   the average shift length for janitors or custodial
     4   or less comparable?                                      4   services?
     5   A.       It would be more comparable.                    5   A.       I can't recall specifically what his
     6   Q.       And would a facility with the same number       6   comment was about that.
     7   of detainee employees be more or less comparable?        7   Q.       It's half an hour per shift length, okay,
     8   A.       It would be more comparable. You're             8   on average.
     9   getting closer to identical.                             9           MS. SCHEFFEY: Object to form, foundation.
    10   Q.       The closer you can get to identical, the       10           MR. CHAREST: Q. You want to look?
    11   better, right?                                          11   Before we get to the Nickerson report, when you --
    12   A.       Yes.                                           12   you were an expert in the State of Washington case,
    13   Q.       Because we like to use 36-inch yardsticks      13   right?
    14   to measure 36 inches, don't we?                         14   A.       Yes.
    15   A.       You can use a measuring tape to measure        15   Q.       You have full access to everything that
    16   36 inches.                                              16   Mr. Nickerson has, right? When he makes a report,
    17   Q.       Yeah. If the inches are actually an inch       17   you get all the underlying data, right?
    18   long, that's right. Right?                              18           MS. SCHEFFEY: Object to form.
    19   A.       Yes.                                           19           THE WITNESS: That's the practice. That's
    20   Q.       But if they're not and they're different,      20   the hope. That's the expectation, yes.
    21   then measuring one or the other doesn't tell you        21           MR. CHAREST: Q. Yeah. And if you didn't
    22   anything, does it?                                      22   have it, you would be entitled to ask your lawyers
    23   A.       In terms of measuring inches, but in --        23   to get it. Your lawyers would be entitled to get
    24   that's correct, but in an analysis that is looking      24   that, right?
    25   for a yardstick in some kind of analytical process      25   A.       Yes, I assume so.
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     1   Q.       Were you able to provide us with the data 1        Q.       Your lawyers didn't tell you anything
     2   that underlies the Nickerson report?                2       about the issue around the Nickerson report?
     3   A.       I don't know.                              3       A.       No.
     4   Q.       You don't know? Do you think it's fair     4              MS. SCHEFFEY: I'm going to instruct her
     5   for us to have -- look at the Nickerson report      5       not to answer any more questions about what her
     6   without having the underlying data?                 6       lawyers told her about the Nickerson report.
     7   A.       I don't know. It's a production question. 7               MR. CHAREST: Q. Did the lawyers ask you
     8   I don't understand that -- procedures for it.       8       for the underlying data for the Nickerson report?
     9   Q.       Well, you understand as an expert --       9       A.       No.
    10   you've been around the block 100 times on -- in 10          Q.       They didn't ask you if you could provide
    11   litigation -- that you're entitled to get the      11       it?
    12   information that underlies an expert report. You 12                THE WITNESS: Am I supposed to answer
    13   understand that as a framework, right?             13       questions about discussion with counsel? I don't
    14   A.       Understand that for this case, yes. I     14       know what to do.
    15   don't know how it extends to another case.         15              MS. SCHEFFEY: Do not answer questions
    16   Q.       Well, not just this case, but any case.   16       about discussion with counsel about the Nickerson
    17   Like any case you have been in, if an expert cites 17       report.
    18   something, you're entitled to get the underlying 18                MR. CHAREST: My question still stands.
    19   materials, right?                                  19       If the instruction -- are you --
    20           MS. SCHEFFEY: Form.                        20              MS. SCHEFFEY: I'm instructing her not to
    21           THE WITNESS: I assume so, within this 21            answer about questions with counsel, yeah,
    22   case. Like I said, I don't know how it relates if 22        conversations with counsel. Privileged information.
    23   it's a different case that's being discussed.      23              MR. CHAREST: Q. Are you going to answer
    24           MR. CHAREST: Q. Well, in your              24       my question or not, Ms. Morones?
    25   experience --                                      25       A.       I'm not, because I understand I'm
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     1   A.       I don't know.                                  1   instructed not to answer.
     2   Q.       -- in all the litigation you've been           2   Q.      Do you have the underlying material from
     3   involved in, have you ever received an expert report    3   the Nickerson report? Do you have access to it?
     4   from someone that cites information that you were       4   A.      Yes.
     5   not allowed to get from the other side?                 5   Q.      And you could provide it if someone asked
     6   A.       I -- not on a direct -- that's an expert       6   you to, right?
     7   report for this case. I've definitely received          7          MS. SCHEFFEY: Object to form.
     8   information from other cases that I couldn't get        8          THE WITNESS: If I understood it was
     9   full access to, and I don't know why. It's not          9   compelled, required to be provided, yes.
    10   my -- I don't understand what happens between legal    10          MR. CHAREST: Q. I mean, you physically
    11   counsel to know why or -- why I did or didn't get      11   possess it or can access it? You physically could
    12   something related to another case.                     12   produce it if requested, right?
    13   Q.       Right. But you've seen everything that        13   A.      Yes.
    14   Dr. -- Mr. Nickerson or Dr. Nickerson relied on in     14   Q.      You're just saying you've never been
    15   his report, right?                                     15   requested, right?
    16   A.       Yes.                                          16          MS. SCHEFFEY: Object to form, and I'm
    17   Q.       Yeah. But you know that we have not. You      17   going to ask you not to talk about anything we said
    18   understand that?                                       18   or the underlying protective orders in other cases.
    19   A.       You're telling me that. I had no -- I         19          THE WITNESS: I understand I'm instructed
    20   have no visibility about what you're involved with     20   not to answer.
    21   and which cases that you're working on. You're -- I    21          MR. CHAREST: Q. And you're going to
    22   just -- you're telling me that.                        22   follow that instruction?
    23   Q.       And your lawyers didn't tell you anything     23   A.      Yes.
    24   about that?                                            24   Q.      Was the Nickerson report that you cited
    25   A.       Excuse me?                                    25   ever amended?
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     1    A.       I understand that there was a update -- a         1            MS. SCHEFFEY: Yeah, I just want to check.
     2    date update, a date range update.                          2            THE WITNESS: Yeah, a break would be
     3    Q.       I'm sorry. Was that a "yes" or "no"? Was          3   great.
     4    it amended or not?                                         4           MR. CHAREST: Off the record.
     5    A.       Yes.                                              5           MS. SCHEFFEY: How long -- I don't know,
     6    Q.       You didn't cite the amended report. You           6   Dan, if you have a few more questions. I just see
     7    cited the pre-amended report in your report to us,         7   that it's 12:45 there. I don't want us to get too
     8    correct?                                                   8   far past.
     9    A.       That's correct. I don't believe that              9           MR. CHAREST: Let's go off the record
    10    issue was changed in the date update.                     10   first.
    11    Q.       That issue was shift length at the               11           MS. SCHEFFEY: Okay. Thanks.
    12    Northwest Detention Center?                               12           THE VIDEOGRAPHER: We're going off the
    13    A.       Correct.                                         13   record. The time is 12:46 p.m.
    14    Q.       You don't remember there being an                14           (Recess taken from 12:46 p.m. to
    15    extensive discussion in the amendment about other         15           1:16 p.m.)
    16    data that was -- that came up around shift length?        16           THE VIDEOGRAPHER: We're back on the
    17    A.       I don't.                                         17   record. The time is 1:16 p.m.
    18    Q.       You don't?                                       18           MR. CHAREST: Q. Welcome back,
    19    A.       I don't.                                         19   Ms. Morones. Turn, if you would, please, to page 16
    20    Q.       Do you know if that (inaudible) --               20   of 22 of your report. Specifically the number --
    21           I asked Ms. Morones if she knows whether           21   the No. 2, which I think is addressed in paragraphs
    22    or not the amendment has been provided.                   22   48, 49, and 50 and 51.
    23    A.       I believe I have an amendment, but it -- I       23   A.       Okay.
    24    don't recall it -- it was very short. I don't             24   Q.       You have "Inaccurate 2011 Hours." The
    25    recall it including what you're describing.               25   discussion begins with, it looks like, a review of
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      1   Q.      You have an amendment. My question is, do          1   the hours that Childers used for his report, right?
      2   you know whether the amendment has been provided to        2   And you note some anomalies with respect to 2011 and
      3   the counsel in the Novoa case?                             3   2019. And that's paragraph 48. Is that fair?
      4   A.      As I said, I don't know anything about             4   A.      Yes.
      5   what's happening with you all.                             5   Q.      Okay. And looks like in paragraph 49 --
      6   Q.      Okay. So I was asking you the basis for            6   I'm not clear, but it looks like to me you're saying
      7   your understanding of shift length. You identified         7   you did the calculation and agree with
      8   information in the Bland report, you identified the        8   Dr. Childers's work with respect to 2019; is that
      9   document about the kitchen break, and you said,            9   right?
     10   "other stuff in my report." Is there anything other       10   A.      Yes.
     11   than the Nickerson report that you can think of that      11   Q.      And then going on to paragraph 50, you
     12   qualifies in that third category, "the other stuff        12   note there was an extrapolation error for the 2011
     13   in my report"?                                            13   time, right?
     14   A.      I would want to look through my report to         14   A.      Yes, that's what it appears to be.
     15   answer that question.                                     15   Q.      And there were four months of data, but
     16   Q.      Okay. Oh, you're not going to do it?              16   should be eight months of time, and he counted it as
     17   Just that's what you want -- would like to do?            17   12 months of time, adding then an additional four
     18   A.      If you would like me to do it, I will. I          18   months of data into the time calculation; is that
     19   would just say I don't recall specifically. I would       19   right?
     20   have to look through the report.                          20   A.      That's what it appears.
     21   Q.      Okay.                                             21   Q.      Right. And so the correction would be to
     22          MS. SCHEFFEY: Are we going on a lunch              22   use those four months of data for just the eight
     23   break?                                                    23   months of time, right?
     24          MR. CHAREST: I'll just do whatever the             24   A.      Yes.
     25   witness wants.                                            25   Q.      And that would be appropriate if
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     1   Mr. Childers did that for 2011, right?                   1   I did -- yeah, maybe you could ask it again or
     2   A.       Yes.                                            2   differently.
     3   Q.       Did you measure -- it says in paragraph 51      3   Q.       Sure. You say, "Dr. Childers computes the
     4   that you did the extrapolation. Did you measure the      4   lowest legal cost contractor expenses using
     5   quantum of dollars that that change in and of itself     5   California minimum wage with 10% added for workers'
     6   resulted in?                                             6   comp, unemployment insurance, and medical/Social
     7   A.       I may have. It's not -- I didn't put it         7   Security withholding. And then he adjusted" --
     8   in the report. My staff may have. I don't recall.        8   "adjusts those minimum wage rates, uses the adjusted
     9   Q.       Would it surprise you to know that the          9   minimum wage rates times the multiple total hours to
    10   difference is roughly $180,000?                         10   arrive at a number."
    11   A.       I don't recall. I do recall, though, that      11          Now, in terms of, you know, things to
    12   the 2011 hours are small relative to later years, so    12   focus on and assumptions to make, you don't
    13   it doesn't surprise me that -- that doesn't surprise    13   criticize anything about those assumptions, right?
    14   me.                                                     14   A.       Correct.
    15   Q.       Okay. But you point it out, but you don't      15   Q.       And we talked about a little bit other
    16   calculate in and of itself, but you just note that      16   assumptions that are reasonable to make are overhead
    17   there is that deficiency, that issue, right?            17   and profit for the vendor, right?
    18   A.       Yes. Yes.                                      18   A.       They're reasonable to consider. I haven't
    19   Q.       And that's one of the math issues that you     19   evaluated what they would be, but they're reasonable
    20   have identified in your work here?                      20   to consider.
    21   A.       Yes.                                           21   Q.       Okay. And then it looks like you try to
    22   Q.       And with respect to Mr. Childers, at least     22   recreate the -- the math that Dr. Childers
    23   the first one you've identified, right, in terms of     23   described, and arrive in paragraph 55 at a different
    24   math issue?                                             24   number, right?
    25   A.       Yes.                                           25   A.       Yes.
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     1   Q.       And then you use -- you say, the bottom of      1   Q.       And your conclusion on that is that based
     2   51, "This revised estimate of 2011 hours in your         2   on your analysis, Dr. Childers may have made a
     3   analyses that follow," meaning all of the analyses       3   mathematical error or he has made an undisclosed
     4   that follow embed the change in 2011 hours in            4   assumption, correct?
     5   whatever conclusions you draw from it, right?            5   A.       Yes.
     6   A.       Yes.                                            6   Q.       All right. And we talked about it a
     7   Q.       Why did you conduct analyses that bundled       7   little bit. You did not attend the Dr. Childers
     8   two different purported errors together when you're      8   deposition, and so don't know what additional
     9   trying to figure out the quantum of any particular       9   assumptions he made in his calculation, right?
    10   error?                                                  10   A.       That's right.
    11   A.       I didn't want to leave an error in a           11   Q.       But the impact -- when you say below
    12   revised -- a math error in a revised analysis.          12   "impact of revised minimum wage and benefit rates,"
    13   Q.       Okay.                                          13   which is the table below paragraph 55, that number
    14   A.       I could have separated it out, but I'm         14   doesn't just show the delta that you calculated
    15   flagging the issue, so I chose not to separate it       15   because of the additional assumptions, does it?
    16   out in making the recalculations of the other           16           MS. SCHEFFEY: Object to form.
    17   categories.                                             17           THE WITNESS: It -- well, as we previously
    18   Q.       Okay. Moving on to -- the first of the         18   discussed, it would have corrected for the 2011
    19   next categories of critiques is the inaccurate          19   period also.
    20   subcontract -- sorry -- the inaccurate subcontractor    20           MR. CHAREST: Q. Right. So just to be
    21   scenario calculation. And if I -- again, my             21   really clear, the table that follows paragraph 55
    22   interpretation of your report is that you basically     22   shows two of your criticisms, not one, right?
    23   restate what Mr. -- Dr. Childers did, and agree with    23   A.       Yes.
    24   it in paragraph 52. Is that right?                      24   Q.       And so you can't look at that and
    25   A.       I don't really understand your question.       25   determine, "Oh, well, we know that he's off by
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     1   $3.1 million because of this one issue." It's two        1   inaccurate hours, yes, that's correct.
     2   issues bundled together, right?                          2          MR. CHAREST: Q. Now -- and we are. I
     3   A.      Yes.                                             3   mean, if I want to just isolate that one issue,
     4   Q.      All right. The next one down is the              4   paragraph 58 table does not show me that, correct?
     5   inaccurate employee scenario wage benefits, with         5   A.       Just that one issue, using his inaccurate
     6   your title. We talked about the wage determination       6   hours, that's correct.
     7   schedules and whether or not those are really good       7   Q.       You say it's hard to look at one thing
     8   or not. Fundamentally, this whole section is the         8   without the other one, and all that sort of thing,
     9   math that flows from the use of those wage               9   but if an expert wanted to, an expert could first
    10   determination schedules as compared to the math that    10   normalize the hour issue and then compare the second
    11   flows from the Bureau of Labor and Statistics,          11   thing, right?
    12   correct?                                                12   A.       Yes.
    13   A.      Yes.                                            13   Q.       But you didn't do that here?
    14   Q.      But the table that reflects that work,          14   A.       No.
    15   which is below paragraph 58, does not reflect just      15   Q.       Okay. You say "no," but yes, you did not
    16   that issue, does it?                                    16   do that here, correct?
    17   A.      It reflects the 2011 correction also.           17   A.       That's correct.
    18   Q.      Right. So again, the table below                18   Q.       All right. So then you say the conclusion
    19   paragraph 58 reflects two of your criticisms, not       19   you draw from these two tables is that "The analysis
    20   just one, correct?                                      20   above shows that Dr." -- "Mr. Childers' opinions are
    21   A.      Yes.                                            21   based on mathematical errors and are shown
    22   Q.      And if you're trying to figure out the          22   assumptions that are inaccurate." Again, this is
    23   quantum of impact from the use of the Bureau of         23   sort of like a broad statement, without any
    24   Labor and Statistics data versus the wage               24   specifics, but you still agree with me as to the --
    25   determination schedules, you can't look at the          25   our discussion about the six assumptions you
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     1   calculations under paragraph 58 and have a clear         1   identified. Your testimony hasn't changed as to any
     2   answer or an accurate answer, can you?                   2   of those six, right?
     3          MS. SCHEFFEY: Object to form.                     3   A.       No.
     4          THE WITNESS: I don't agree with that              4   Q.       And the only mathematical error that we've
     5   because you would never start with his 26 million        5   identified is the extrapolation issue for 2011,
     6   735 as a comparison on that topic because it             6   correct?
     7   includes the wrong number of hours. So this is the       7   A.       And potentially the contractor scenario
     8   difficulty of when you're trying to isolate the          8   because he didn't calculate what he said he
     9   impact of any one issue, that it's rare that any one     9   calculated. So as I said, it's either a
    10   issue operates completely independent. Any issue        10   mathematical error or an undisclosed assumption, but
    11   depends also on other issues.                           11   it doesn't calculate out as precisely how he
    12          So the way you just said that question I         12   described it.
    13   don't completely agree with because I wouldn't want     13   Q.       Those are the only two things that could
    14   to extrapolate the difference over the wrong number     14   possibly be mathematical errors, and you don't --
    15   of hours.                                               15   you didn't attend the Childers deposition, so you
    16          MR. CHAREST: Q. Well, one way to do              16   don't know that the second thing, in fact, is an
    17   it -- well, first off, let's be real clear about        17   assumption, right?
    18   what my question is and what the answer is there.       18   A.       I did not attend the deposition. I don't
    19   If I want to know the impact of simply changing the     19   know what he said.
    20   wage determination schedule data for the Bureau of      20   Q.       And -- okay. And the first part of what I
    21   Labor and Statistics data, I cannot look at             21   said is true as well, right?
    22   paragraph 58 for that answer, correct?                  22          MS. SCHEFFEY: Object to form.
    23          MS. SCHEFFEY: Object to form.                    23          THE WITNESS: Could you repeat the first
    24          THE WITNESS: If you're talking about             24   part? Sorry. When it's disconnected from another
    25   simply changing it within his model using the           25   discussion, I don't have it in my head anymore.
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      1          MR. CHAREST: Q. The only two possible               1   to the best of your understanding, as you and I are
      2   mathematical errors you identified in Childers are         2   here today in this deposition and you're prepared to
      3   the extrapolation error and the thing that you             3   testify about your opinions, you don't know how, if
      4   describe as a potential mathematical error in              4   at all, that observation that he made or your
      5   paragraph 55, correct?                                     5   criticism of it that you've made impacts the damage
      6   A.       Those are the only two I identified.              6   analysis at all, correct?
      7   Q.       And you've quantified neither of those in         7   A.       I don't because he didn't elaborate on
      8   isolation, correct?                                        8   what that comparison meant to his assumption of
      9   A.       Yes, correct.                                     9   adopting the Bland numbers. He just drew the
     10   Q.       Were there any other critiques you had of        10   comparison, so I don't.
     11   the Childers report, to your mind, that were not in       11   Q.       Okay. And you just call into question the
     12   the report that you -- that we just discussed?            12   logical connection between his observation and his
     13   A.       Yes. I thought his calculation of hours          13   conclusion, right?
     14   or his conclusion of hours required to clean,             14   A.       His observation and then the assumption
     15   comparing that to the total number of hours in the        15   that he later used in terms of number of hours.
     16   Voluntary Work Program, was an illogical comparison       16   Q.       And does that assumption not affect the
     17   because his quantification of hours required to           17   damage calculation at all?
     18   clean represented cleaning, and then comparing that       18   A.       Well, his assumption of what he used
     19   to the Voluntary Work Program with a variety of           19   affects the damage calculation, but I don't know how
     20   tasks, I wasn't really sure what he meant by that or      20   his quantification of number of people required to
     21   why he did that. I didn't write it in the report          21   clean the facility connects to his use of the Bland
     22   because he didn't directly rely -- he didn't use          22   hours. I don't understand that.
     23   those hours that he calculated in any of his              23   Q.       Okay. We talked about the -- was it the
     24   calculations, so I didn't raise the issue, but I          24   APPA custodial service, the staffing guidelines,
     25   didn't understand why he made the comparison the way      25   right?
                                                         Page 158                                                     Page 160

     1    he did.                                                    1   A.       I believe so.
     2    Q.      Does that issue that you just identified           2   Q.       Yeah. And do you have any basis to
     3    impact at all the damage number or any critique            3   dispute his application of those data to the Bland
     4    about the damage number, to the best of your               4   data?
     5    understanding?                                             5   A.       I don't.
     6    A.      It doesn't impact the numbers directly as          6   Q.       Okay. We're going to go now to the --
     7    I under- -- as -- following his math, it's not             7   your observations with respect to Mr. Bland. You
     8    included in his math. If he thinks -- if he is             8   ready? And that starts in your report at page 6 of
     9    using that as a yardstick, to use the word                 9   22. Okay?
    10    "yardstick," I didn't understand it because he was        10   A.       Sure.
    11    talking about cleaning, square foot to clean, and         11          MS. SCHEFFEY: Give me one second. I'm
    12    then he compared that to all of the hours in the          12   getting there. I just need one second. I'm there.
    13    Voluntary Work Program that includes other                13          MR. CHAREST: Q. Okay. I think I did
    14    activities. So -- and didn't comment on that. So I        14   this last time. It actually starts on page 5 of 22.
    15    don't know -- he didn't say -- he didn't elaborate        15   I apologize. Let me know when you're at 5 of 22.
    16    on what he was thinking, and I didn't attend his          16          MS. SCHEFFEY: I'm there now.
    17    deposition, so I don't know what he was thinking in       17          MR. CHAREST: Q. Ms. Morones, are you
    18    terms of that comparison.                                 18   there?
    19    Q.      But you didn't raise that issue in your           19   A.       Yes.
    20    report, right?                                            20   Q.       Thank you. Paragraph 19 sets out a series
    21    A.      I did not, but you asked the question if          21   of assumptions, as you put it, that Mr. Bland used
    22    there's anything not in the report --                     22   for his report, correct?
    23    Q.      I certainly --                                    23   A.       Correct.
    24    A.      -- so I answered it.                              24   Q.       The first one is the dollar paid services
    25    Q.      That's correct. And just so I understand,         25   for a day's work under the VWP, right?
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     1   A.      Yes.                                            1   job types. Do you have a disagreement with the
     2   Q.      And just like you did with Dr. or               2   assumptions that Mr. Bland made around job type
     3   Mr. Childers, whichever it is, you agree that that's    3   mixtures?
     4   a valid assumption, correct?                            4   A.       Yes. As more fully explained, I believe
     5   A.      Yes.                                            5   he should have obtained a larger set of data. I
     6   Q.      Put a checkmark next to that. The next          6   don't disagree with the use of the sign-in sheets to
     7   one is, "Mr. Bland relies on a variety of sources,      7   identify the mixture. I just believe that the
     8   including daily activity schedules, to determine        8   amount of time -- known amount of time was
     9   shift lengths and job types." And "Mr. Bland            9   insufficient to extrapolate over such a long period.
    10   identifies four primary job types: Custodial           10   Q.       That strikes me as a criticism of the
    11   Services, Kitchen Services, Laundry and Recreation."   11   underlying data, but I want to cut right to the end
    12          And then you go on to say that, for job         12   of this and ask you the question. Do you disagree
    13   types that don't correspond to the original four,      13   with the conclusion, the assumption itself of the
    14   Mr. Bland applies a weighted average shift length.     14   mix of job types?
    15          So let's break that down a little bit to        15   A.       Could you clarify your question? Do you
    16   see what part, because I think there's a few things    16   mean do I have an alternate opinion of mixture?
    17   stuffed into that number too. Okay?                    17   Q.       Well, I mean, the actual question is, he
    18   A.      Okay.                                          18   identified a mix of job types that he used in his
    19   Q.      The first thing: Do you have any               19   calculation. Do you think his mix is incorrect?
    20   disagreement with Mr. Bland's categorization of job    20   A.       I don't know if it's incorrect. I believe
    21   types: Custodial services, kitchen services,           21   it is inadequately supported, so it could be
    22   laundry, and recreation?                               22   incorrect.
    23   A.      No.                                            23   Q.       Well, you're not an expert on accuracy of
    24   Q.      Okay. So that's okay.                          24   evidence, are you, ma'am?
    25          Do you have any disagreement with               25   A.       I would assume the Court would make
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     1   Mr. Bland's use of a weighted average to deal with      1   that -- a Court would make that decision or a jury
     2   job types outside of the four main                      2   would make that decision, but I can express an
     3   characterizations?                                      3   opinion on whether or not I think he has used too
     4   A.      No.                                             4   little data to reach that conclusion.
     5   Q.      Okay. There's that one. The other part          5   Q.       Well, we can all have an opinion on
     6   in there is the shift lengths, the determination of     6   whatever. That's not the point. It's an expertise
     7   shift length by job type. Do you disagree with          7   that allows you to testify about an opinion. Okay?
     8   Mr. Bland's assumptions relating to shift length by     8   So do you have an expertise in determining what is
     9   job type?                                               9   and what is not enough evidence to support a
    10   A.      I -- yes. I have explained more fully          10   conclusion?
    11   that I believe the -- that the way he has              11   A.       I do. I practice in forensic accounting
    12   interpreted the evidence is questionable. And so       12   and in evaluating information, gathering information
    13   yes.                                                   13   adequate to support a conclusion. While there are
    14   Q.      Okay.                                          14   no bright-line definitions of how much is enough,
    15   A.      And the evidence is less extensive than --     15   that I'm aware of, even though this is something I
    16   is not very extensive and subject to significant       16   do every day, I do believe it's within my expertise
    17   swings in outcomes if alternate assumptions are        17   to express an opinion about something being
    18   made.                                                  18   insufficient or too narrow or too little, given the
    19   Q.      Okay. Any other high-level disagreements?      19   long period of time at issue here.
    20   We'll talk about it in more detail. This is not the    20   Q.       Like, for example, a statistical analysis
    21   only chance.                                           21   having a sample set that's too small, that could be
    22   A.      No.                                            22   given through the application of statistics, right?
    23   Q.      Going on, then, to the third assumption:       23   A.       That -- yes, that could be done.
    24   Mr. Bland relies on detainee sign-in sheets for a      24   Q.       That's akin to what your complaint is
    25   certain period of 11 weeks to estimate mixtures of     25   about this, correct?
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     1   A.      Yes.                                              1   A.      There are no bright lines to it, but it is
     2   Q.      The difference is, statistics has rules           2   something that I have to consider, evaluate, strive
     3   that can be measured and verified and applied,            3   to improve throughout the course of my work. And
     4   whereas this one, you're just telling us "It's not        4   so --
     5   enough to my eye," right?                                 5   Q.      I don't disagree that, as an expert, a
     6          MS. SCHEFFEY: Object to form, foundation.          6   professional expert in cases, you understand the
     7          THE WITNESS: It's correct that I'm not             7   need to provide reliable methodologies and
     8   referring to any specific rules. I am -- it is my         8   practices. Okay? And I don't dispute the notion
     9   opinion it is a very narrow set of data that could        9   that you are aware of what those standards are. But
    10   leave it subject to substantial fluctuations using       10   my question is entirely different. Do you have any
    11   different sets of data.                                  11   basis to say that the assumption that Mr. Bland used
    12          MR. CHAREST: Q. Well, all that last               12   are actually wrong with respect to mixture of job
    13   thing you said is just that math is math, and it --      13   type?
    14   math works, right? If you multiply A times B, one        14   A.      I do not.
    15   situation, you get an answer. And if B gets bigger,      15   Q.      Thank you. The next one, the fourth one,
    16   then in that situation, you get a bigger end result,     16   which is the last of your list of assumptions you've
    17   right?                                                   17   identified, you say, "Mr. Bland uses the detainee
    18   A.      I'm not sure what you mean by "math is           18   payments, job type mixtures and assumed shift
    19   math, and math works," but --                            19   lengths to estimate the total number of hours worked
    20   Q.      We'll figure that out later. It's okay.          20   by detainees for each month." Does that accurately
    21   A.      Right.                                           21   reflect your observation of that assumption?
    22   Q.      It's okay. We're definitely going to talk        22   A.      Yes.
    23   about it, so it's okay. But back to my fundamental       23   Q.      Yeah. And leave aside the inputs. As a
    24   question. With respect to the assumption, leaving        24   construct, you agree with that approach, correct?
    25   aside the basis for it, with respect to the              25   A.      Yes.
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     1   assumption that Mr. Bland uses with respect to the        1   Q.      And so the detainee payments, that's using
     2   mixture of job types, do you have any critique of         2   dollars to measure the days. You agree with that
     3   the numbers he used?                                      3   part. So construct and data you agree with,
     4   A.       Other than it's based on too little data,        4   correct?
     5   no.                                                       5   A.      I'm sorry. Repeat the last -- repeat the
     6   Q.       Okay. Again, I'm not asking you about the        6   last part of the question. I just didn't hear it
     7   reason why he got to where he got. If he had just         7   all the way.
     8   written down numbers on a piece of paper and used         8   Q.      The construct end data, you agree with
     9   them, could you say that they are right, wrong,           9   that part?
    10   accurate, or inaccurate?                                 10   A.      "Construct end data," I just don't
    11   A.       I don't have an opinion of a different          11   understand what you mean.
    12   number, so no.                                           12   Q.      Well, when I'm talking about "construct,"
    13   Q.       Those are two different things. And I'm         13   I'm talking about like, well, I'm going to figure
    14   happy to talk about the first thing in a second, but     14   out where this A is, and I'm going to apply -- and
    15   I want to be really clear. You do not dispute the        15   I'm going to multiply by whatever this B is, and I'm
    16   result of his work. You dispute the process by           16   going to multiply it by whatever this C is. That's
    17   which he arrived at the result, correct?                 17   the construct. That's the formula --
    18   A.       One leads to the other, so I do dispute         18   A.      Okay.
    19   the result of his work as being unreliable because       19   Q.      -- and the data going into what is the A,
    20   it's based on too little data.                           20   B, or C. Are you with me?
    21   Q.       So you're an expert on reliability, then?       21   A.      Yes.
    22   That's a question.                                       22   Q.      So with respect to the detainee payment
    23   A.       Reliability is something I have to              23   element of the calculation, you agree with both the
    24   consider and apply in the course of my work.             24   basis for the assumption, the assumption, and the
    25   Q.       Well, in fairness --                            25   output of the data, correct?
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     1   A.       Just in terms of a formula and a                  1   off and gets me in the back of throat sometimes.
     2   calculation, yes.                                          2          All right. The actual substantive
     3   Q.       Well, not just in terms of formula and            3   response is here B in paragraph 20, you say, like
     4   calculation, but as an appropriate step on how to          4   you did with Dr. Childers, that several assumptions
     5   measure the total hours worked by the detainee             5   are not adequately supported, and minor changes to
     6   population, right?                                         6   his assumptions have a significant impact on
     7   A.       Yes.                                              7   conclusions. Those are the two kind of overarching
     8   Q.       Now, on the job type mixtures, you agree          8   themes, correct?
     9   that it is a proper element in the formula, correct?       9   A.      Yes.
    10           MS. SCHEFFEY: Object to form.                     10   Q.      I note that you didn't say anything about
    11           MR. CHAREST: Q. You still have to                 11   mathematical errors, so can I draw from that that
    12   answer.                                                   12   you did not find any mathematical errors in the
    13   A.       Oh, you didn't finish the question.              13   Bland report?
    14   Q.       I did.                                           14   A.      Well, it depends on what you -- how you
    15   A.       Did you?                                         15   want to characterize failing to subtract actual
    16   Q.       Yeah.                                            16   wages, but other than that, I don't recall just
    17   A.       The job type mixture. Yes, it's a                17   calculation errors.
    18   necessary part of the formula.                            18   Q.      You've seen the amended report from
    19   Q.       Okay. And a correct element in the               19   doc- -- of Mr. Bland, right?
    20   formula too, right?                                       20   A.      Yes.
    21   A.       Yes, you need to know the weighting of           21   Q.      Where he addresses that the -- the problem
    22   jobs, yes.                                                22   with his spreadsheet?
    23   Q.       And while you might disagree with the            23   A.      Yes.
    24   basis by which he arrived at his conclusion, you          24   Q.      And so that issue that you identify about
    25   have no basis to say his conclusion is incorrect,         25   failing to subtract, that's been addressed, right?
                                                        Page 170                                                    Page 172

     1   right?                                                     1   A.       Yes.
     2   A.       Yes.                                              2   Q.       So in light of everything you know, can
     3   Q.       And then that leaves us with the last             3   you identify any mathematical errors in the Bland
     4   part, the assumed shift length, which I expect we'll       4   amended report?
     5   be discussing in detail. But as a matter of                5   A.       We did not, although my associate who
     6   construct, you believe that it should be part of the       6   reviewed the calculations informed me that there are
     7   equation, right?                                           7   two that he still can't entirely tie out, but we
     8   A.       Yes.                                              8   don't have a specific criticism about the reason or
     9   Q.       And your point there is you don't think he        9   that issue.
    10   has enough information to draw the conclusion he's        10   Q.       Okay. So then the two things that you did
    11   used, A; and B, you have data from another facility       11   identify was the bases for assumptions, and what I
    12   which is different than his conclusion, and               12   think you describe as sensitivity to changed inputs;
    13   therefore, name it as a problem, B; is that right?        13   is that fair?
    14   A.       Yes. And C, his interpretation of what he        14   A.       Yes, that's fair, but in addition,
    15   does have is -- I question some of the                    15   misinterpreting some of the underlying data in the
    16   interpretation, such as using entire schedule             16   category of the recreation position. So I would say
    17   lengths to assume the length of a detail.                 17   it's beyond just the two that you said.
    18   Q.       Okay. So that's -- anything else?                18          MR. CHAREST: Okay. Can we go off the
    19   A.       Not that comes to mind.                          19   record for just a second, please?
    20   Q.       All right. So the A, B, C there are other        20          MS. SCHEFFEY: Sure.
    21   facility; B, not enough data; C, wrong conclusions        21          THE VIDEOGRAPHER: One moment. We're
    22   from the data, right?                                     22   going off the record. The time is 1:53.
    23   A.       Yes.                                             23          (Recess taken from 1:53 p.m to 1:56 p.m.)
    24   Q.       Okay. Now we go to the actual -- excuse          24          THE VIDEOGRAPHER: We're back on the
    25   me. I ate an orange for lunch, and the skin comes         25   record at 1:56 p.m.
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     1           MR. CHAREST: Thank you.                           1   Q.       Okay. Which number, please -- I'm going
     2    Q.      My understanding, Ms. Morones, is that the       2   to -- if you would turn to page 14 of 19 of the
     3    issue that was identified in paragraph -- and            3   Bland report. If you like, I can put it up on the
     4    calculated in paragraph 22 of the report has been        4   screen.
     5    addressed in the amended Bland report. Do you            5           MS. SCHEFFEY: Which page?
     6    agree?                                                   6           MR. CHAREST: I'm sorry, I didn't hear
     7    A.      Yes.                                             7   that.
     8    Q.      Okay. And so the criticism that's                8           MS. SCHEFFEY: Which page? I'm trying to
     9    launched in paragraph 23 no longer applies to the        9   pull it up so I'm in the same spot as you.
    10    live report, correct?                                   10           MR. CHAREST: 14 of 19.
    11    A.      Correct.                                        11           MS. SCHEFFEY: Thank you.
    12    Q.      And then I think you said you couldn't get      12           MR. CHAREST: And I'll just go ahead and
    13    two of the calculations to tie up, but apparently       13   share the screen, so y'all can see what we're
    14    you do within -- you were able to replicate within      14   talking about here.
    15    1% of the number that was arrived at; is that right?    15   Q.       All right. Ms. Morones, we're looking at
    16           MS. SCHEFFEY: Object to form.                    16   the top half of page 14 of 19, Table 3, which is
    17           THE WITNESS: Brent didn't say this time          17   underneath at the end of paragraph 31. Which number
    18    around how close it was, but he didn't raise it as a    18   is incorrect?
    19    concern that we needed to bring up, so I don't          19   A.       I dispute the kitchen services median of
    20    believe it's very much.                                 20   five based on the absence of the meal break that we
    21           MR. CHAREST: Q. Whoever that person you          21   discussed previously, as well as the recreation
    22    just named was, that's your research assistant          22   number of 2.5, based on the interpretation -- his
    23    that's helping with the calculations?                   23   interpretation of what that -- what that position is
    24    A.      Brent Boutwell, yes.                            24   that I believe the job description indicates it is a
    25    Q.      Then the only of the -- if I'm not              25   custodial position, whereas I understand he's
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      1   mistaken -- well, let me -- let me ask the question      1   assuming some other -- I'm sure his word is in there
      2   more directly. With respect to the assumptions that      2   somewhere -- some type of activity supervisor.
      3   Mr. Bland used with respect to shift lengths --          3   Q.       So what is the median kitchen service
      4   leave aside again the basis for them -- do you           4   hours, in your estimation?
      5   dispute the validity of the assumptions he made?         5   A.       I have calculate -- well, using his median
      6   A.      Do you mean -- could you be more precise         6   of five and subtracting the 25-minute meal break,
      7   what you mean by "validity"? Do you mean the number      7   it's 4.6-something, approximately four and a half.
      8   of hours per --                                          8   Q.       Said 4.6-something?
      9   Q.      Yeah, let me do it in a better question,         9   A.       Sure, yeah, 4.6.
     10   because validity throws something in there that I       10   Q.       Okay. And then is your testimony that
     11   think that you might object to. Mr. Bland               11   recreation should be -- well, in terms of shift
     12   identified average shift lengths for each job type      12   length -- sorry about that. Do you have any changes
     13   in his report ultimately, correct?                      13   to this table for the recreation row?
     14   A.      Yes.                                            14   A.       Yes. I would change recreation to the
     15   Q.      And they're set out in, I think,                15   custodial number of 1.5.
     16   paragraph -- Table 3 in his report, and the             16   Q.       Across the board?
     17   discussion in around that, correct?                     17   A.       Yes.
     18   A.      That sounds right.                              18   Q.       So as is reflected on the screen now, you
     19   Q.      Do you dispute that those numbers are           19   think those numbers are correct?
     20   correct?                                                20   A.       Yes.
     21   A.      Yes.                                            21           MR. CHAREST: Going to take a screenshot
     22   Q.      Okay. On what basis do you dispute that         22   of that, and we'll enter into it as an exhibit here
     23   the numbers are correct?                                23   as soon as I figure out how to do that. Oh, my
     24   A.      In some cases, interpreting the evidence        24   goodness.
     25   that he relies on differently than he does.             25           MS. SCHEFFEY: You might want to stop
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      1   screen sharing.                                             1   the shift length by job type table that we were
      2          MR. CHAREST: How to figure out how to get            2   talking about, correct?
      3   there. This is the problem with having gadgets.             3   A.       Yes.
      4   Q.      We'll get that up as soon as we can, and            4   Q.       And those are the numbers you believe are
      5   we'll just have you confirm that what I show you as         5   correct, right?
      6   an exhibit is what we just talked about. Okay?              6   A.       Those are the minimum adjustments that I
      7          Now, in the discussion about the shift               7   would make to those categories. I haven't validated
      8   lengths in your report, you say, "Like Adelanto, the        8   all of the underlying data to know that -- that
      9   Northwest Detention Center houses detainees for ICE         9   laundry is 2.5, custodial services is 1.5. So I
     10   and operates VWP in accordance with the PBNDS."            10   would say that those numbers reflect the minimum
     11   That's in paragraph 29. Are you with me?                   11   adjustments that should be made to that -- to those
     12   A.      Yes.                                               12   assumptions.
     13   Q.      Not to beat a dead horse, but you're not           13   Q.       Okay. So I asked you to make every
     14   saying that either the Northwest Detention Center or       14   correction you thought was necessary, and these are
     15   the Adelanto facilities actually, in fact, operates        15   the corrections you identified, right?
     16   the VWP in compliance with the PBNDS, right?               16   A.       Yes.
     17   A.      Correct.                                           17   Q.       And you don't have any basis in fact to
     18   Q.      And you have no opinion as to the                  18   suggest that any other changes are appropriate to
     19   compliance or non-compliance with PBNDS by the VWP         19   the data that are reflected as amended by you on
     20   in either location, right?                                 20   Exhibit 208, correct?
     21   A.      Correct.                                           21   A.       Correct.
     22   Q.      Do you know that, in fact, that the VWP is         22   Q.       Now, back to the shift length discussion.
     23   operated in the same manner in either location?            23   We were at paragraph 29 of your report. Are you
     24   A.      I don't know if they're operated in                24   with me there?
     25   identical manners, but I can see several                   25   A.       No.
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      1   similarities in the voluntary work programs.                1   Q.      Please do. When you're ready, let me
      2   Q.      You see similarities in the voluntary work          2   know.
      3   programs. What are those similarities?                      3   A.      Okay.
      4   A.      The prevalence of janitor positions, the            4   Q.      Thank you. You say, "Due to the
      5   length of time for the kitchen workers, the dollar a        5   similarities between the Novoa Matter and the state
      6   day that's paid for the details, the -- yeah, that's        6   of Washington Matter, the plaintiff expert report on
      7   what comes to mind.                                         7   lost wages in Washington Matter offers a useful
      8   Q.      Okay. So the three things you identified            8   comparison to the Bland Report." Did I read that
      9   as being similar are the fact that dollar a day is          9   correctly?
     10   paid in both facilities, that the kitchen time is          10   A.      Yes.
     11   similar, and the janitor is the most prevalent             11   Q.      We talked about the similarities, in your
     12   occupation, the largest -- I'll leave it at that,          12   view, between fundamental -- what we're talking
     13   the most prevalent occupation. Is that right?              13   about is the Voluntary Work Program and compensation
     14   A.      Yes.                                               14   for that, right?
     15   Q.      Okay. I'm introducing into the share               15   A.      Yes.
     16   folder Exhibit 208. Let me know when you have it,          16   Q.      And we talked about your observations that
     17   please.                                                    17   there were similarities in the two programs between
     18          (Whereupon Exhibit 208 was marked for               18   Adelanto and Northwest Detention Center, correct?
     19          identification.)                                    19   A.      Yes.
     20          THE WITNESS: Okay.                                  20   Q.      And the three things that you offered were
     21          MS. SCHEFFEY: The title "Marked," is that           21   that the janitors were the most prevalent employment
     22   what --                                                    22   type, the kitchen timing seemed about the same, and
     23          MR. CHAREST: Yes.                                   23   everyone got paid a dollar a day, right?
     24   Q.      And just to confirm, Exhibit 208 is a              24   A.      That is what came to mind, yes.
     25   screenshot of the amendments that you would make to        25   Q.      And you can't think of any other
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     1    similarities that support your observation of              1   the document was that we've referred to a bunch of
     2    similarities, correct?                                     2   times, their description of the Voluntary Work
     3    A.      Well, they're both operated by GEO.                3   Program.
     4    They're both voluntary work programs. They're both         4   Q.      The PBNDS?
     5    civilly detained individuals based on their                5   A.      Yes.
     6    immigration status. They both -- which causes the          6   Q.      What exactly did the counsel in Washington
     7    detainees to have a relatively short amount of time        7   tell you about the philosophy of conclusion, this
     8    in -- average time in detention. They both, under          8   wonderful ability to work and not get paid?
     9    the voluntary -- I mean, just under the philosophy         9   A.      Just as I've -- my understanding is based
    10    under the Voluntary Work Program, there is an             10   on just their description of what this is. These
    11    attempt to involve a significant number of                11   are not traditional jobs that you would find out in
    12    detainees. So just because I raised a few doesn't         12   the marketplace. They are tasks that have been
    13    mean there aren't more comparisons. I'm just -- I         13   created by GEO under the concept of the Voluntary
    14    was just listing a few that came to mind.                 14   Work Program to be completed by detainees, and many
    15    Q.      Okay. So you listed the philosophy of             15   of them are not very long. They could be longer if
    16    inclusion, short time of detention, that they're all      16   they were traditional workers, but they're not very
    17    Volunteer Work Programs, that they're all civil           17   long in order to include more detainees.
    18    detainees, that they're all operated by GEO, in           18   Q.      Is that what the lawyers told you? My
    19    addition to the first three you mentioned, right?         19   question was what did the lawyers tell you?
    20    A.      Yes.                                              20   A.      I don't recall. It's been too long. I
    21    Q.      Okay. How did the philosophy of inclusion         21   don't know their exact words. That's the
    22    apply or affect in any way shift length?                  22   understanding of the Voluntary Work Program that I
    23    A.      It's my understanding that GEO attempts to        23   gained based on discussions with them and also
    24    include -- to provide as many details as possible to      24   reading the materials.
    25    include as many detainees as possible, as opposed to      25   Q.      The materials being what? I mean, you're
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      1   offering a few random jobs that might be possible          1   painting this utopia of like "everybody gets to
      2   for detainees to do.                                       2   work, and it's wonderful." What's the basis, other
      3          It's my understanding that the Voluntary            3   than lawyers telling you that?
      4   Work Program exists to create participation                4   A.       The large number of detainees
      5   opportunities for more detainees as opposed to less,       5   participating in the program.
      6   and that that would necessarily shorten the detail         6   Q.       Oh. So --
      7   lengths, because you could have one janitor working        7   A.       It's obvious that there -- that there is
      8   eight hours, whereas instead, they break it up and         8   an inclusion of a large number of detainees.
      9   into more pieces so that more can participate.             9   Q.       Right, which you perceive to be a
     10          So that philosophy of inclusion creates            10   voluntary act that they're not compelled to do,
     11   more of a concept of a detail than a typical job          11   right?
     12   that would be 8:00 to 5:00 or whatever. That's a          12           MS. SCHEFFEY: Object to form,
     13   very unique type of program in terms of work-related      13   argumentative.
     14   tasks. You don't really see it out in the                 14           THE WITNESS: That's my assumption,
     15   commercial market space.                                  15   just -- it's not my basis to say, but that's my
     16          So the fact that both were GEO facilities          16   assumption based on the description of the program.
     17   operating a Voluntary Work Program was an important       17           MR. CHAREST: Q. What is the basis of
     18   part of using this other facility as a useful             18   that assumption, ma'am, that people want to work for
     19   comparison.                                               19   nothing?
     20   Q.       Who told you that that was the philosophy        20           MS. SCHEFFEY: Object to form, foundation.
     21   of GEO or the Voluntary Work Program? What's your         21           THE WITNESS: I don't have any basis to
     22   basis for that statement, is my question.                 22   know what they want to do. I'm talking about my
     23   A.       It's discussions with counsel in the             23   understanding based on the description of the policy
     24   Washington case, as well as just reading the --           24   statements and my observations about the way the
     25   reading the -- whatever the detention -- whatever         25   program is working.
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     1          MR. CHAREST: Q. Do you understand that            1   A.      Well, other than listed in their policy
     2   if people don't work as instructed, they get sent to     2   manual, which I read; that there is a philosophy
     3   seg- -- segregation, solitary confinement?               3   about the program stated in the policy manual. I'm
     4          MS. SCHEFFEY: Objection to form,                  4   not trying to read into it beyond that. That's just
     5   foundation.                                              5   my understanding based on what their information
     6          THE WITNESS: I don't have an                      6   says about it.
     7   understanding about what happens if they choose not      7   Q.      Yeah. The policy manual I think you're
     8   to work.                                                 8   talking about is the PBNDS, right?
     9          MR. CHAREST: Q. You're not aware of any           9   A.      Yes.
    10   allegations at all about being forced to do this        10   Q.      And what the PBNDS doesn't say, but is
    11   work? Is that your statement under oath, ma'am?         11   also true, is that GEO benefits from this free
    12   A.      I may have been. I may have read that in        12   labor, right?
    13   pleadings, but I have not focused on that, and I        13   A.      I can't agree to that.
    14   don't recall anything about it. It's not my part of     14   Q.      Okay. Do you think a cotton plantation is
    15   the case to have an opinion about.                      15   more or less expensive with free labor?
    16   Q.      Well, I don't disagree with it                  16   A.      The cost of labor is cheaper if it's free,
    17   necessarily, but you're the one that's talking --       17   but it doesn't mean that GEO is benefiting if they
    18   trying to spin this utopia of like, "Oh, look,          18   can increase their revenues to cover their cost.
    19   everyone gets to work and is so happy to do it, and     19   Q.      That's depending on an if things change
    20   you can tell that this program of inclusion because     20   that are different than what they actually are,
    21   so many people participate." Those are -- that's        21   correct?
    22   your statement, not mine.                               22   A.      If the -- if the revenues increase to
    23          MS. SCHEFFEY: Object to form. It                 23   cover the costs, yes.
    24   misstates prior testimony.                              24   Q.      A counterfactual position that would bail
    25          MR. CHAREST: Q. Right?                           25   you out of the answer "yes" to my question, right?
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     1   A.       Yes, I did use the word "inclusion,"            1          MS. SCHEFFEY: Object to form.
     2   meaning more participants as opposed to less. You        2          THE WITNESS: I feel like that's
     3   can have less participants if you're working eight       3   unnecessarily argumentative.
     4   hours a day. You can have more participants if           4          MR. CHAREST: Q. Golly. You still need
     5   they're working shorter -- shorter details.              5   to answer it.
     6   Q.       And you pointed to the fact of lots of          6   A.       I don't even understand it. "A
     7   people doing it as having a reflection of this           7   counterfactual position that bails you out of
     8   inclusive ability and this openness and allowing         8   answering my question."
     9   everyone to be there, rather than everyone's forced      9   Q.       Well, you understand the hypothetical,
    10   to do it, right? That's -- you can have the same        10   right?
    11   data and draw the opposite conclusion, can't you?       11   A.       Yes.
    12   A.       Well, maybe "inclusion" is too charged of      12   Q.       The hypothetical being imagine we had a
    13   a word. I meant more individuals participating, as      13   facility that requires labor, but we have a free
    14   opposed to fewer.                                       14   labor source, or virtually free labor source, on one
    15   Q.       And I offer you a lifeline of what I think     15   hand, and a facility where we actually have to pay
    16   you're trying to say without stepping in this           16   for the labor that we need to run. Which of those,
    17   minefield. Are you ready? In the ordinary course,       17   assuming the income is the same to the operator of
    18   a janitor would work for eight hours a day, and in      18   the facility, makes the operator more money?
    19   this situation, we have evidence, I think is what       19          MS. SCHEFFEY: Object to form.
    20   you're saying, of more than one person doing those      20          THE WITNESS: We've been over this several
    21   eight hours of work. Is that fair?                      21   times, and I've agreed that if the income stays the
    22   A.       Yes.                                           22   same, the labor that costs less is more beneficial.
    23   Q.       Without with regard to why they're doing       23   That wasn't the question you asked a few minutes
    24   it, we can leave that aside for your purposes,          24   ago.
    25   because that's not your part of the case, right?        25          MR. CHAREST: Q. Well, history will
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     1   determine what I asked.                                 1   right?
     2          Okay. So we were talking about the               2   A.       Yes.
     3   similarities between the Northwest Detention Center     3   Q.       Do you have any basis to say that that is
     4   and Adelanto, and you said they both have the same      4   true, ma'am?
     5   philosophy, which is this philosophy of conclusion.     5   A.       No.
     6   And I think fundamentally, with respect to shift        6   Q.       Okay. So that assumption is founded on no
     7   lengths, you're saying that more than -- more than      7   facts, right?
     8   one person will work an eight-hour shift or parts of    8   A.       The assumption -- yes, that's correct. I
     9   an eight-hour shift, and therefore, shift lengths       9   have not investigated the specifics of the
    10   are overall shorter, correct?                          10   operations to say they have uniform operational
    11   A.      Than you would find out in the market          11   policies.
    12   where someone would work an eight-hour shift, yes.     12   Q.       Right. And, you know, if they did have
    13   Q.      Do you have any data to suggest that the       13   that data, GEO could give it to you, right?
    14   same number of people are used per eight-hour shift    14   A.       I assume that they could give me something
    15   in Adelanto as are used in an eight-hour shift in      15   that they have, yes.
    16   Northwest Detention Center?                            16   Q.       And GEO never gave you anything to show
    17   A.      No.                                            17   that the shift lengths in Northwest Detention Center
    18   Q.      So any suggestion that Adelanto shift          18   are the same as the shift lengths in Adelanto,
    19   lengths and Northwest Detention Center shift lengths   19   correct?
    20   is based on speculation because you have no data to    20   A.       Not directly, no.
    21   show that they are, in fact, related to each other,    21   Q.       Not directly? So let's leave at that for
    22   correct?                                               22   a second. To be really clear, GEO has not provided
    23          MS. SCHEFFEY: Object to form.                   23   you with any data to support any analog between
    24          THE WITNESS: Yes, that's correct.               24   shift length at Northwest Detention Center and shift
    25          MR. CHAREST: Q. And so an understanding         25   lengths at Adelanto, correct?
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     1   of what a shift length is in Northwest Detention        1   A.      Correct.
     2   Center is not demonstrably relevant to the              2   Q.      You said "directly" in response to a
     3   determination of what a shift length is in Adelanto,    3   question earlier. Did you mean to say indirectly
     4   correct?                                                4   you may have seen data?
     5   A.      Could you repeat the question? Maybe I          5   A.      Not to make a comparison. They haven't
     6   just don't have a vocabulary you have, but maybe use    6   provided data to make -- where they have made a
     7   more simple vocabulary.                                 7   comparison. There is only what exists just in terms
     8   Q.      I'll do my best.                                8   of the sources of information within each case that
     9   A.      Sorry.                                          9   has come -- ultimately come from GEO.
    10   Q.      Yeah. That's no problem. You're entitled       10   Q.      Okay. So data about Northwest Detention
    11   to get a question you understand.                      11   Center in the Nwauzor case exists and was provided
    12          If I know that the shift lengths in             12   for the Nwauzor case about Northwest Detention
    13   Adelanto are five hours, and I know -- do I know       13   Center, right?
    14   that that actually tells me anything about the shift   14          MS. SCHEFFEY: Object to form.
    15   lengths in Northwest Detention Center, as a matter     15          THE WITNESS: Yes.
    16   of fact?                                               16          MR. CHAREST: Q. And data exists around
    17          MS. SCHEFFEY: Object to form.                   17   the Adelanto facility and was provided in the Novoa
    18          THE WITNESS: It may, in my opinion. It          18   case, and that data exists, right?
    19   may because they're operated by the same company,      19          MS. SCHEFFEY: Object to form.
    20   and so -- and so they may. They may be similar.        20          THE WITNESS: Yes.
    21          MR. CHAREST: Q. So they're operated by          21          MR. CHAREST: Q. But do you -- have you
    22   the same company, the presumption in that              22   ever seen anything, ever, that says the data that
    23   observation is that there is a uniform policy          23   applies to Northwest Detention Center also applies
    24   applying to both Adelanto and Northwest Detention      24   to Adelanto?
    25   Center, correct? Or practice? Or both, actually,       25   A.      No.
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     1   Q.       You reference an expert report by Peter H.      1   what's the point?
     2   Nickerson, Ph.D. in your report, at paragraph 30,        2   A.       The point is that as -- the point is that
     3   correct?                                                 3   as a plaintiff expert, one might want to look to the
     4   A.       Yes.                                            4   other available highest number and question whether
     5   Q.       We started talking about it a little            5   or not, if you're higher than that number, what
     6   bit -- a little ahead of schedule, and I want to         6   might be the reasons, are there valid reasons. It's
     7   dwell on that for a moment. First off, you cite in       7   just, for purposes of asking the question is there
     8   your report, Footnotes 50 -- sorry -- 35 and 36, two     8   anything that I have over-assumed, is there anything
     9   different sections of the Nickerson report, correct?     9   I'm stretching on.
    10   A.       Yes.                                           10          My critiques to the 1.72 bring that number
    11   Q.       Now, you say expressly that you do not         11   down, so when I say it's not valid, my critiques are
    12   assert that the average hours per shift used by         12   adjustments downward, but for purposes of a
    13   Dr. Nickerson in the State of Washington matter are     13   comparison, if one took the highest number, compared
    14   accurate for the use in calculating lost wages in       14   it to Bland's highest number, Bland might have
    15   the Novoa matter. That's at paragraph 31 of your        15   wanted to ask why am I higher? Is there anything --
    16   report. Did I read that correctly?                      16   any reason? Does this make sense that I'm higher
    17   A.       Yes.                                           17   than the expert from another case, another plaintiff
    18   Q.       All right. So to be really super-duper         18   expert from another case?
    19   clear, you are not saying that the information          19          Now, there might be perfectly good
    20   contained in the Nickerson report, Appendix C1 that     20   reasons. There might be perfectly good reasons why
    21   is cited in your report, is accurate in any way,        21   they're different. Offers just a useful comparison.
    22   correct?                                                22   Q.       Okay. So there is, I think, a couple
    23   A.       That's correct. I've issued a rebuttal         23   things going on there, and I'll try and unpack them.
    24   report to that report, so I wouldn't say it was         24   The first one that you said is Mr. Bland, as a
    25   accurate.                                               25   plaintiff's hired expert, should look at the other
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     1   Q.      Right. So -- but -- and you draw -- the          1   plaintiff's hired expert and say, "Well, here's his
     2   thing that you really draw from the Nickerson            2   top line number. How do I compare to that," right?
     3   report, for the purposes of this case, is his            3   A.       Yes.
     4   articulation of average shift length, which you say      4   Q.       Okay.
     5   on a weighted average basis is lower than Mr. Bland,     5   A.       And I'm not saying it needs to be the
     6   and that Mr. Bland is higher by 38% from the             6   same. I'm saying it's a useful comparison.
     7   Nickerson report, on that issue, correct?                7   Q.       Okay. Leave that aside. The first
     8   A.      Yes.                                             8   question is how is Mr. Bland supposed to get the
     9   Q.      So you're measuring the Bland calculated         9   Nickerson report to do that work?
    10   average shift length, on one hand, by the Nickerson     10   A.       I don't know. I don't know how all the
    11   calculated average shift length, on the other hand,     11   plaintiff attorneys work together. I don't know.
    12   noting a 38% delta in favor of Bland, correct?          12   Q.       Well, there's a protective order in the
    13   A.      Yes.                                            13   State of Washington case, right?
    14   Q.      Right. But to be sure, you don't agree          14   A.       I would assume so, but I don't even know
    15   that the Nickerson number is valid, right?              15   who are the attorneys for the plaintiffs, to know
    16   A.      That's correct. I've critiqued it.              16   whether it's the same attorneys. I don't know if
    17   Q.      But not only have you critiqued it, you've      17   the experts are working together. So if he didn't
    18   previously said "I don't believe it's valid," right?    18   have access to it, then it's not a fair criticism by
    19   A.      Yes.                                            19   me, but I don't have a basis to know that.
    20   Q.      And sitting here today, you don't think         20   Q.       Okay. Well, let me tease that out again,
    21   the Nickerson articulation of average shift length      21   that next level down. If, in fact, Mr. Bland did
    22   is valid, correct?                                      22   not have access to the Nickerson report when he was
    23   A.      That's correct.                                 23   evaluating his steps -- not just the Nickerson
    24   Q.      All right. So then when you're comparing        24   report, but all of the data that underlies it --
    25   the Bland number to a knowingly invalid number,         25   then it's not a fair criticism of him to say, "Hey,
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     1   look, Adelanto number is fine, but look at these         1   correct.
     2   Northwest Detention Center numbers," right? That's       2   Q.       Okay. And GEO could have provided that
     3   an unfair criticism, right?                              3   data if it existed, right?
     4   A.       It's an unfair criticism of him. It might       4   A.       Yes.
     5   be something for me to consider, but -- because I        5   Q.       Right. But it didn't, to you at least,
     6   have access to it, but in terms of what he was able      6   that you know of, right?
     7   to consider, I agree. If he doesn't -- if he can't       7   A.       Correct.
     8   have access to it, he can't know it and make a           8   Q.       And I would assume you -- but I'll ask
     9   comparison.                                              9   anyway -- do you ascribe any reason as to why the
    10   Q.       Is it fair for you to be able to access        10   owner of the data would not provide the data if it
    11   data and information that he does not have and then     11   supported the owner of the data's position?
    12   turn around and say he's done something wrong with      12          MS. SCHEFFEY: Object to form.
    13   that data and information?                              13          THE WITNESS: No.
    14          MS. SCHEFFEY: Object to form, asked and          14          MR. CHAREST: Q. Do you have any reason
    15   answered.                                               15   to -- doesn't matter.
    16          THE WITNESS: I don't know. I think               16          And all of this is talk about trying to
    17   that's a question about document product -- I just      17   figure out what shift lengths are at Adelanto,
    18   don't know. I didn't even know that he wouldn't         18   right?
    19   have access to it. So I don't know.                     19   A.       Yes.
    20          MR. CHAREST: Q. Okay. Now, about the             20   Q.       And similarly, GEO, more than anyone in
    21   information that gives rise to the Nickerson report,    21   the universe, any other thing in the universe, would
    22   there are -- it's not just -- I mean, you might         22   have data around what those numbers are, correct?
    23   disagree with me, but Nickerson didn't just pull        23   A.       If it exists, I would -- you know, they
    24   these numbers out of thin air. There were documents     24   would be the only one that has it.
    25   and deposition testimony that form the basis of his     25   Q.       Right. And GEO never provided you with
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     1   opinion. Whether you agree with the conclusion or        1   that data, did it?
     2   not, those materials exist, and he relied on them,       2   A.      No.
     3   correct?                                                 3   Q.      Do you know why?
     4   A.       Those materials exist, yes.                     4   A.      No.
     5   Q.       Yeah. And do you think that Mr. Bland has       5   Q.      Did you ask for it?
     6   those materials?                                         6   A.      Yes. In every case, I've asked what data
     7   A.       Are we talking about the same thing we          7   exists regarding shift lengths.
     8   just talked about? I don't know. I really don't          8   Q.      What are the answers you get back on that
     9   know.                                                    9   question?
    10   Q.       Okay. Is it fair to criticize Mr. Bland        10   A.      There is some data that serves -- some
    11   for not having taken into account those materials to    11   documents that have been provided. GEO doesn't
    12   which he does not have access?                          12   track the amount of time spent by detainees
    13   A.       In terms of suggesting that he failed to       13   conducting these details.
    14   look at something that he should have, yes, it's        14   Q.      That's what they tell you?
    15   unfair. It might still be reasonable for me to do       15   A.      Yes.
    16   it.                                                     16   Q.      So aside from interpreting, then, the data
    17   Q.       Okay. Keeping in mind, of course, that         17   that Mr. Bland did rely on, and -- well, I guess, is
    18   ultimately what the Nickerson report does, insofar      18   there anything else that you can point to to say any
    19   as the part that you rely on here as a concern about    19   conclusion he had on shift length is incorrect?
    20   the Bland report, is talk about shift lengths, which    20   A.      Other than what's already discussed in the
    21   you've already said you don't have any data to show     21   report -- which some things you haven't gotten to,
    22   that shift lengths at Adelanto have any bearing at      22   though I'm sure you'll get to them -- beyond that,
    23   all on shift lengths at the Northwest Detention         23   no.
    24   Center, right?                                          24   Q.      Well, let me -- let me be more clear about
    25   A.       I don't have data that would show that,        25   it, because when we talked about it, you said the
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     1   things that -- the three things you identified were      1   to understand in paragraph 31, you say, "I use the
     2   the things that he addressed in the Bland report,        2   Bland" -- sorry -- "the Nickerson report to," quote,
     3   which I take to mean you have interpretation --          3   "'illustrate the sensitivity of Mr. Bland's
     4   interpretive -- can I start again? I'm sorry. May        4   calculation,'" right?
     5   I?                                                       5   A.       Yes.
     6   A.      Yes.                                             6   Q.       And to -- sometimes I use words that are
     7   Q.      You identified three things with which you       7   hard to understand. Sometimes everybody does. When
     8   disagreed with Mr. Bland about his shift length          8   you say there "to illustrate the sensitivity," what
     9   estimates. You said the Bland -- the materials in        9   you're doing -- what you're saying is, if I use
    10   the Bland report, the kitchen break issue, and then     10   Mr. Nickerson's variable -- Nick- -- can I start
    11   other things in your report. And the other things       11   again?
    12   in your report, if I recall correctly, was              12   A.       Yes.
    13   fundamentally the Nickerson report. Is there            13   Q.       When you use the term "illustrate the
    14   anything else that you can think of?                    14   sensitivity," what you're talking about there is, if
    15   A.      No, I'm not aware of any other data.            15   I use Mr. Nickerson's shift length in place of the
    16   Q.      And the kitchen break issue is addressed        16   shift length variable rather than Mr. Bland's shift
    17   by the annotation you made to his table in              17   length in place of the shift length variable, then
    18   Exhibit 208, correct?                                   18   the product of that math equation is different,
    19   A.      Yes.                                            19   right?
    20   Q.      And the, I guess I'll call it,                  20   A.       Yes.
    21   reallocation of recreational workers to custodial       21   Q.       And nothing more, nothing less, correct?
    22   services was also addressed in the annotations you      22   A.       Yes, correct.
    23   made to the table in Exhibit 208, correct?              23   Q.       Right. So when we go back to the fourth
    24   A.      Yes.                                            24   observation of assumptions in paragraph 19, we
    25   Q.      And then all that leaves out there is the       25   describe -- remember the construct of the equation?
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     1   Nickerson report, which you've already said, and I       1   Are you with me?
     2   think we all agree, is only about Northwest              2   A.       Yes.
     3   Detention Center, correct?                               3   Q.       You said, "the detainee payments as a
     4   A.      Yes.                                             4   proxy for days as applied to the job type mixtures
     5   Q.      And there's nothing in the Nickerson             5   as applied to the assumed shift lengths." So it's
     6   report that talks about anything about shift lengths     6   that factor, that variable that you're placing the
     7   in Adelanto?                                             7   Bland data with the Nickerson data and saying, "Oh,
     8   A.      That's correct.                                  8   it's different. The result is different," right?
     9   Q.      Your observation is, assuming Bland had          9   A.       Yes.
    10   access to this Nickerson report, he should have         10   Q.       And that is the output that's reflected in
    11   looked at what this other expert had and compared it    11   the bottom of paragraph 31 on page 10 of 22 of your
    12   to his numbers to see, "Well, look, is it a check I     12   report, right?
    13   should use or not," right?                              13   A.       Yes.
    14   A.      Yes, that's correct.                            14   Q.       Using data from a report you dispute, from
    15   Q.      But that's an unfair criticism if, in           15   a facility that is not our facility, that is based
    16   fact, Mr. Bland did not have access to that report,     16   on information that we don't have access to, to show
    17   correct?                                                17   that when you multiply one time -- one number by a
    18   A.      It's an unfair criticism of him. It may         18   different number, the number changes, right?
    19   be a fair observation for me to draw.                   19   A.       Yes. Yes.
    20   Q.      Okay. But again, the Nickerson report           20   Q.       Moving on to the inadequate support --
    21   itself you say is inaccurate, including specifically    21   well, hold on. Let me just -- I have to do this.
    22   with respect to the shift lengths, right?               22           MS. SCHEFFEY: Could we go off for a -- or
    23   A.      Yes.                                            23   I mean -- oh, sorry. You're not taking a break?
    24   Q.      And then finally, this is kind of where --      24           MR. CHAREST: I'm not, actually. The --
    25   the big windup here is I'm trying to -- I'm trying      25   but I am shifting gears, and I'm -- if you want a
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      1   break, I'm happy to do it.                                 1   A.      I don't -- I'm not offering anything that
      2          MS. SCHEFFEY: I was going to say at some            2   refutes his number, that says -- offers an
      3   point in the next 15, if you have it. I just need          3   alternative number.
      4   to --                                                      4   Q.      All right. So sitting here today, you
      5          MR. CHAREST: Well, let's knock this out             5   cannot say on any basis that, in fact, the job
      6   real quick, then.                                          6   mixtures that Mr. Bland calculated are incorrect,
      7          MS. SCHEFFEY: Yeah, do that. That's what            7   right?
      8   I'm saying. It's not a rush. Go ahead.                     8   A.      Right.
      9          MR. CHAREST: I'm trying to introduce --             9   Q.      And you work for the company who oversees
     10   well, tell you what: Let's take the break because         10   this entire project, right?
     11   I'm having a problem with the Exhibit Share anyway.       11          MS. SCHEFFEY: Object to form.
     12   So let's just take a break now.                           12          THE WITNESS: I assume GEO oversees this
     13          THE VIDEOGRAPHER: All right. We're going           13   project.
     14   off the record. The time is 2:45.                         14          MR. CHAREST: Q. Hope somebody does,
     15          (Recess taken from 2:45 p.m. to 2:55 p.m.)         15   right?
     16          THE VIDEOGRAPHER: We're back on the                16   A.      I don't really know, but I'm hired by
     17   record. The time is 2:55 p.m.                             17   GEO's attorneys.
     18          MR. CHAREST: Q. Ms. Morones, as a final            18   Q.      All right. You're hired by GEO's
     19   set of questions on the calculations that are             19   attorneys, really by GEO, to be strictly speaking.
     20   reflected on paragraph 31 in your report, just to be      20   GEO pays your bill, right?
     21   really clear, it is not your opinion that an              21   A.      Yes.
     22   appropriate reduction of damages is reflected in          22   Q.      GEO is the company that oversees the work
     23   that calculation, the $4.6 million, right?                23   at Adelanto, right?
     24   A.      Correct.                                          24   A.      Yes.
     25   Q.      It's a sensitivity analysis only, and not         25   Q.      If GEO had any basis -- any factual basis
                                                         Page 206                                                     Page 208

     1    any kind of measure of appropriate or inappropriate        1   to dispute Mr. Bland's job type mixture evaluation,
     2    damage calculation, correct?                               2   it could have given that to you, right?
     3    A.      Yes.                                               3   A.      Yes, I would assume so. And I do want to
     4    Q.      In paragraph 32 we talk about the things           4   say that we did receive, the day of or the day
     5    that Mr. Bland himself relied on and your criticism        5   before a report -- our report, a production of more
     6    of his interpretation of those. You with me?               6   sign-in sheets, but we did not evaluate them. We
     7    A.      Yes.                                               7   didn't have time to evaluate them. So GEO did
     8    Q.      All right. So paragraph 32 you note that           8   provide some additional data, and I have not yet
     9    Mr. Bland looked at sign-in data from a 78-day             9   evaluated it.
    10    period, and you say, "That data may not be                10   Q.      Let me tease that out a little bit. The
    11    representative of the mixture of job types," right?       11   day before or in that proximity before your report
    12    A.      Yes.                                              12   was due, you received new other sign-in sheet data
    13    Q.      What factual basis do you have to say that        13   from GEO; is that correct?
    14    those sign-in sheets are not representative of a          14   A.      Yes.
    15    mixture of job types?                                     15   Q.      Those materials were not part of your
    16    A.      Well, only within the dataset, when you           16   evaluation in your report?
    17    look at just one of the shorter periods within the        17   A.      Correct.
    18    dataset, how sensitive the numbers are to just the        18   Q.      You have not since evaluated those
    19    data within that dataset. So -- so that would lead        19   materials, to be able to talk about them today?
    20    me to believe that his conclusion rests on                20   A.      Correct.
    21    insufficient data.                                        21   Q.      How long ago was that, ma'am?
    22    Q.      That's not my question, though. My                22   A.      Whatever the date of the report was.
    23    question is, what factual information do you have         23   Q.      August 31st.
    24    that refutes the job type mixture that Mr. Bland          24   A.      Correct.
    25    calculated?                                               25   Q.      So 25 days ago, you received data
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     1   regarding sign-in sheets from GEO, and have not yet     1   before they were provided to you, correct?
     2   looked at them before this deposition, correct?         2   A.      Yes.
     3   A.      Well, we looked at them, but we have not        3   Q.      So if there's any like -- well, let's
     4   quantified them because it's a very substantial         4   leave aside the reasons why things happened. Do you
     5   project to be able to do that, and we just -- I         5   know of any reason why the -- GEO decided to wait
     6   haven't done it.                                        6   until the day before your report was due to provide
     7   Q.      Is that project underway now?                   7   these -- these data to you?
     8   A.      I have not been asked to do that.               8   A.      No.
     9   Q.      That's not my question. Is the project          9   Q.      You -- on paragraph 33, you say, "Due to
    10   underway, ma'am?                                       10   the volume of sign-in sheets received and the format
    11   A.      Oh, "underway." I'm sorry. No.                 11   of the records, I have not yet evaluated the
    12   Q.      Do you have any intention to testify about     12   accuracy of the job mixture summary table shown in
    13   the import of those sign-in sheets that were           13   Table 4," right?
    14   provided by GEO the day before your report that you    14   A.      Correct.
    15   have not yet reviewed for your deposition?             15   Q.      Have you, since you wrote this report in
    16   A.      I do not. I would leave it up to the           16   August of 2020, completed that work?
    17   attorneys to decide whether or not that would be       17   A.      No.
    18   permitted, but at this point -- at this time, I        18   Q.      Is that work ongoing?
    19   don't have any plan to do that.                        19   A.      No. I don't plan to offer any opinion
    20   Q.      The attorneys didn't meet with the judge       20   about the accuracy of the tabulation of that data.
    21   and have a word with the two on that issue, right?     21   Q.      And to be really -- when you say "that
    22   A.      Absolutely. I don't -- I just don't know       22   data," I want to be real. Let's tie it all
    23   whether -- whether there's still time to do that.      23   together. You don't plan to offer any opinions and
    24   Q.      Do you know why GEO waited until the day       24   have no opinions, as we sit here today, about the
    25   before your report was due to provide this amount of   25   accuracy of the data reflected in Table 4 of the
                                                     Page 210                                                     Page 212

     1   sign-in data?                                           1   Bland report?
     2   A.       I do not.                                      2   A.       That's correct.
     3   Q.       Did you ask for them to wait before your       3   Q.       And that includes the comment in paragraph
     4   report, until just before your report was due, to       4   34, then, when you say your analysis reflects a
     5   give you the data about sign-in data -- sign-in         5   difference in the period summarized in Table 4?
     6   information?                                            6   That's not an opinion you intend to offer?
     7   A.       No.                                            7   A.       I'm not sure what you mean by that
     8   Q.       Did your cursory review of those sign-in       8   question because paragraph 34 talks about
     9   sheets indicate that they had all just happened and     9   Mr. Bland's observation that there's a general
    10   GEO only just found them, or were they historic,       10   consistency in the mix, and according to my view of
    11   years-old documents that were around already?          11   just -- even just visually looking at it, it doesn't
    12   A.       I didn't see anything about them that         12   appear consistent to me. So that's a difference of
    13   indicated one way or the other. They just looked       13   opinion about consistency of the data. It's not
    14   like sign-in sheets.                                   14   accuracy of the data accumulation.
    15   Q.       Sign-in sheets had dates on them, right?      15   Q.       And you look at Table 4 and say they're
    16   A.       Yes.                                          16   not that consistent over time, and he says they are
    17   Q.       Were the dates August of 2020?                17   consistent over time; is that right?
    18   A.       No. I mean, the time period represented       18   A.       Right.
    19   was pretty extensive. Beyond that, I don't remember    19   Q.       You're not applying any kind of standards
    20   anything else.                                         20   or metrics or anything other than your personal
    21   Q.       When you say -- I'm sorry. Are you done?      21   definition of the word consistent to the Table 4
    22   A.       Yes.                                          22   that anyone can look at and observe, correct?
    23   Q.       And when you say "the time period was         23   A.       Well, I've provided an alternate
    24   extensive," what you mean to say, to be really         24   calculation. If you used one of the periods that
    25   clear, is it covered a lot of time, including years    25   is -- where the data is not the same as the other
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     1   periods, you get a different answer. So I'm drawing      1   Q.      You're the one that just said "shift
     2   the observation that the 78 days of data has some        2   length." That's why I --
     3   periods that are internally inconsistent with other      3   A.      I said in terms of shift lengths, what
     4   periods.                                                 4   you're saying is true.
     5   Q.      Yeah. So let's talk about that really            5   Q.      Okay.
     6   quickly, your alternate job assumption. And what         6   A.      But in terms of shift distribution, with
     7   we're talking about there begins on paragraph 35.        7   respect to having all those sign-in sheets, I don't
     8   Well, begins and ends on paragraph 35, but starts on     8   know that they're just a calculation of the others
     9   page 11 and rolls over to page 12, correct?              9   as opposed to the literal -- the literal categories
    10   A.      Yes.                                            10   where he slotted them.
    11   Q.      So the first point is, you say you see          11   Q.      Can you tell me, sitting here today, how
    12   differences in the data, and the data we're talking     12   Mr. Bland dealt with -- and when I say "dealt with,"
    13   about is the Bland Table 4, right?                      13   which job type he treated "multiple"?
    14   A.      Yes.                                            14   A.      In situations where the sign-in sheets
    15   Q.      So I'm going to try and share my screen         15   indicated two different types -- two different
    16   again so we can have a common understanding. Are        16   descriptions.
    17   you looking at Table 4 from the amended Bland           17   Q.      Is that your answer?
    18   report, ma'am?                                          18   A.      Yes.
    19   A.      Yes.                                            19   Q.      Okay. And then for "other," he applied
    20   Q.      All right. And the inconsistency that           20   the weighted average shift length to those
    21   you're describing is that -- like, for example, the     21   categories, correct? Trying to help (indicating).
    22   column November 2017 is different than the column       22   A.      Well, that paragraph 36 is where he -- so
    23   for November -- sorry -- December of 2017, which is     23   if we could go to the prior paragraph, Table 4 --
    24   different than the column for January 2018, correct?    24   that describes Table 4.
    25   A.      Yes.                                            25   Q.      Okay.
                                                      Page 214                                                     Page 216

     1   Q.       And the variation goes from 61% --              1   A.       Right. So he's saying, basically -- the
     2   sorry -- from 61% to 64.6%, correct?                     2   way I understand this, these paragraphs, is that
     3   A.       Yes, for that first line, yes.                  3   they have tabulated the entries on the time sheets
     4   Q.       And you were just saying that like 13 is        4   and tallied them by the job categories, and then he
     5   different than 15 is different than 13, right?           5   computes the mixture, and then Table 4 shows the
     6   A.       Yes. And it's most significant on the           6   results of that analysis.
     7   "multiple" line. And those changes of mix                7           Then the paragraph after the table that
     8   assumptions do have an impact on the total dollars.      8   you were referring to talks about how he multiplies
     9   That's the point, is that it's sensitive to fairly       9   those by the hour -- by the length assumed, the
    10   minor variations in the mix used.                       10   length of each shift, and that's when he -- when he
    11   Q.       So the "multiple" and "other" -- isn't it      11   multiplies by the length of these shifts -- each
    12   true that those were all duly sort of reapportioned     12   shift, that's where "multiple" and "other" are
    13   amongst the first four categories through a weighted    13   relying on the other categories.
    14   average process?                                        14           So when you're asking me that question, I
    15           MS. SCHEFFEY: Object to form.                   15   was stopping, hesitating because it's my
    16           THE WITNESS: In terms of the shift              16   understanding that Table 4, which just counts the
    17   lengths, I don't know that that's the case. I would     17   shifts by job category, came from his tallying of
    18   have to look back at Mr. Bland's report about the       18   sign-in sheets, literally. No extrapolations. Just
    19   ratio, the distribution of --                           19   counting -- putting them in the bucket "custodial,"
    20           MR. CHAREST: Q. We're looking at the            20   "kitchen," "laundry," "recreation," "multiple" if
    21   shift lengths now, and it has those four categories     21   there was two descriptions noted, and then "other."
    22   that we talked about and you amended earlier. Do        22   Q.       I don't want to interrupt you because it
    23   you recall that?                                        23   sounds like you were trying to get to a point, but
    24   A.       We're not -- but this discussion, we're        24   if that's the --
    25   not talking about shift lengths.                        25   A.       Well, just you asked me a question about
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     1   Table 4 and said, "Is it multiple and other just          1   total-total.
     2   based on an extrapolation of custodial, kitchen, and      2   Q.      So then going back to your report, ma'am,
     3   laundry?" Not in this table. When it's multiplied         3   you have this alternative job mixtures assumption,
     4   by the length of the shift, it is. So that's what I       4   and that's what you were referring to earlier. Was
     5   was -- just wanting to stop and pause and make sure       5   like, "Look, if I pick any one of these, there's
     6   I was right about that, that this is a literal            6   going to be impact," right?
     7   tabulation of the sign-in sheets.                         7   A.      Well, I didn't say if I -- I didn't say if
     8   Q.      Okay. Assuming what you said is correct,          8   I picked any one. I just picked one and showed the
     9   the fact that in the math that happens is that the        9   impact.
    10   time that's associated -- the shifts that are            10   Q.      Well, of necessity, if you pick any one of
    11   associated with -- whoops, that's wrong. Can I           11   three component parts, each component part being
    12   start again, please?                                     12   different, they are going to result in a different
    13   A.      Sure.                                            13   number than the total, right?
    14   Q.      The shifts that are associated with these        14   A.      Yes, very likely, if the component parts
    15   "other" and "multiple" entries are assigned a shift      15   are different, yes.
    16   length that is the weighted average shift length         16   Q.      I mean, it's math. It's a ratio, right,
    17   across the entire group, right?                          17   ultimately what we're talking about, right?
    18   A.      Yes, but not in that table. That comes           18   A.      Yes.
    19   after. This table is just the ratio of the number        19   Q.      Yeah. And so you just happened to pick
    20   of shifts, the count of shifts.                          20   January 18th, which led to a half-a-million or
    21   Q.      Yes. Okay. I think we're saying -- I             21   million-dollar reduction, right?
    22   think we understand each other. I'm not sure it          22   A.      Well, I didn't happen to pick. I picked
    23   matters too, too much. But anyway, the statement         23   it because it appeared to be significantly different
    24   that the differences between periods summarized in       24   than November, say.
    25   Table 4 are not consistent is your visual                25   Q.      Did you run the same analysis for the
                                                       Page 218                                                       Page 220

     1   observation of these numbers and your conclusion          1   other two sub -- datasets?
     2   that they are not the same column by column,              2   A.      I did not.
     3   correct?                                                  3   Q.      Would you be shocked to find out that
     4   A.       Yes. And then showing the result of using        4   using any one of the other two datasets would make
     5   the January 18 column. If we just use a subset of         5   the number go up?
     6   that period, you get a different number.                  6   A.      I don't know. I didn't -- I didn't do it
     7   Q.       I was going to get that, but I just want         7   because I believed this was sufficient to make the
     8   to make sure I understand what you're saying. So          8   point.
     9   the first thing is, you're looking at these numbers       9   Q.      I'll -- I know -- you're saying -- you're
    10   and saying, "Oh, 5.4 and 5.9 and 6, those are            10   going to tell me as a CPA, you don't know what I
    11   different," right?                                       11   just said is true?
    12   A.       Yes.                                            12          MS. SCHEFFEY: Object to form,
    13   Q.       Okay.                                           13   argumentative.
    14   A.       But when if you asked me how do I -- why        14          THE WITNESS: I don't recall doing the
    15   do I say they're inconsistent, it's both. It's both      15   analysis. You might be right. I don't disbelieve
    16   visual and it's both looking at what happens if you      16   you. I just didn't do it.
    17   use one column as opposed to the total.                  17          MR. CHAREST: Q. So going back to the
    18   Q.       Okay.                                           18   Bland report, what we're talking about here is you
    19   A.       Both of those add together to -- for me to      19   picked the January 2018 column randomly, right? And
    20   say they're incon- -- they're inconsistent where he      20   ran that to see how it compared to using this total
    21   says they're consistent.                                 21   column here?
    22   Q.       Is a total just a tabulation, so all            22   A.      No. As I said, I didn't pick it randomly.
    23   custodial services for each set of data listed in        23   I picked it because of the significant difference,
    24   the total, or is it an average across the three?         24   primarily in the multiple, just that the numbers are
    25   A.       It's my understanding that it's just the        25   fairly different, to show -- to illustrate the
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     1   sensitivity of using a subset of the data.             1   "other," right?
     2   Q.      Yeah. Is your testimony under oath that        2   A.      That sounds about right.
     3   neither you nor any of your cohorts did the same       3   Q.      Yeah.
     4   analysis with the November or December 2017 date       4   A.      That and "multiple" is a pretty big
     5   set?                                                   5   difference to say the data is consistent across
     6   A.      I don't know if Brent did it or not. We        6   these periods.
     7   didn't talk about it. He didn't show it to me. I       7   Q.      Since you're comparing November 2017 and
     8   know that I didn't.                                    8   January 2018 in this version of the answer, why did
     9   Q.      Okay. Do you know why Brent happened to        9   Brent run the numbers for January 2018 as opposed to
    10   pick January 2018?                                    10   the November 2017 to see what the sensitivity was?
    11   A.      I just told you, it's got the most            11   A.      To illustrate the impact to the number.
    12   significant difference in one of the -- one of the    12   Q.      Well, guess what happens if you use the
    13   columns.                                              13   2000 -- the November 2017 numbers in the same exact
    14   Q.      Columns. So --                                14   way?
    15   A.      One of the lines. I'm sorry. And              15   A.      We --
    16   multiple.                                             16          MS. SCHEFFEY: Objection; asks for a
    17   Q.      So the difference between custodial           17   guess.
    18   services is 2%, right?                                18          THE WITNESS: You've already said that it
    19   A.      Yes.                                          19   results in a higher answer. I believe you, as the
    20   Q.      The difference for kitchen services is        20   multiple, which means multiple shifts, is higher in
    21   1.1, right?                                           21   November '17 compared to the total. But that
    22   A.      Yes.                                          22   question -- the question -- the whole point of this
    23   Q.      The difference from laundry is 0.2?           23   discussion in my report was the issue of
    24   A.      Yes.                                          24   consistency.
    25   Q.      I hate this. The difference in "multiple"     25          MR. CHAREST: Q. How does running the
                                                    Page 222                                                        Page 224

     1   is 1%, right?                                         1    numbers out with one data point, meaning
     2   A.      Yes.                                          2    January 2018, show inconsistency across the time? I
     3   Q.      And the difference for "other" is 0.1,        3    mean -- yeah, that's my question. If you don't
     4   right?                                                4    understand it, it's fine, but...
     5   A.      Yes.                                          5    A.       It really just a more simple point that
     6   Q.      And that is demonstrably less, by the way,    6    these columns -- Mr. Bland suggested that the data
     7   of a variable from the total than any other one,      7    within these periods were consistent, and I'm saying
     8   right?                                                8    I don't see them as being consistent. I see them as
     9          MS. SCHEFFEY: Object to form.                  9    being enough different that it matters to the
    10          THE WITNESS: The "multiple" line is -- I      10    overall calculation, that if you use one of these
    11   don't understand. I don't agree with you.            11    periods, you get a million-dollar difference in the
    12          MR. CHAREST: Q. Okay. Your statement          12    outcome. It's just a point about consistency or
    13   under oath is that Brent picked this one because of  13    inconsistency.
    14   the delta between the numbers in the column of       14    Q.       And if you use the other ones, you also
    15   January 18th and the numbers in the column in total, 15    get a different outcome, but they're higher, right?
    16   right?                                               16    A.       Yes. So it's an issue of sensitivity to
    17   A.      No.                                          17    this set of data.
    18   Q.      No?                                          18    Q.       And you just happened to pick the one that
    19   A.      I meant to say that I was concerned about    19    showed the lower number difference, not the one that
    20   the difference between January '18 and November '17. 20    showed the higher number difference? That's your
    21   Just visually looking at those two columns, I see    21    testimony under oath?
    22   significant differences in those two columns.        22    A.       Yes.
    23   Q.      The differences being 3.5% in custodial      23    Q.       Okay. I'll be curious to hear Brent's
    24   services, .1% in kitchen services, .3% in laundry,   24    discussion with the lawyers about that process, but
    25   .6% in recreation, 5% in "multiple," and 1.1% in     25    anyway...
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     1          MS. SCHEFFEY: Move to strike colloquy of         1   A.      Yes.
     2   counsel.                                                2   Q.      You note in footnote 42 conversation with
     3          MR. CHAREST: Q. Isn't it true that, by           3   GEO counsel about this specific topic. Who told you
     4   and large, with this job shift, the driver behind       4   what, and when, and what did they say?
     5   the analysis, the prime -- the prime driver behind      5   A.      I don't recall who it was. As I said
     6   the analysis is the custodial services, which is        6   before, there are typically at least two, probably
     7   steadily between 61 and 64%?                            7   more often three, attorneys on the phone. One of
     8   A.      Well, it's certainly a significant driver.      8   them raised the issue that the recreation category
     9   Q.      It is, by order of magnitude, more than         9   was likely a janitor based on their discussions with
    10   three times larger than any other one, correct?        10   GEO representatives, and then they provided this
    11   A.      Correct. However, the -- I would have to       11   document, this job description document, to support
    12   do the -- play with the models. The kitchen            12   that assertion.
    13   services is a big driver too because of the number     13          When was it? Within two weeks prior to
    14   of hours. So --                                        14   our report, in that time period.
    15   Q.      The kitchen services bounced between 13        15   Q.      How many conversations did you have like
    16   and 15% consistently across all the time frames,       16   that with GEO's counsel when they were providing you
    17   right?                                                 17   with facts for you to rely on?
    18   A.      Yes.                                           18   A.      I don't know. I would have to look at my
    19   Q.      So the two big drivers that you've             19   time records. Maybe -- I don't know. Less than
    20   identified are the ones that are all within 4% of      20   ten, more than three.
    21   each other, of themselves across time, right?          21   Q.      Bigger than a breadbox?
    22   A.      Yes.                                           22          Did you take notes during those meetings?
    23   Q.      But you still think it's inconsistent          23   A.      I likely did.
    24   because the multiple changed by 5%?                    24   Q.      How about Brent? Did Brent take notes
    25   A.      Yes.                                           25   too?
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     1   Q.       And the multiple, by the way, is the one       1   A.       Yes, that would be likely.
     2   that, when you do the math, receives the weighted       2   Q.       Do you have those notes now, still?
     3   average shift length, so it has no effect on the        3   A.       I believe so. I don't know if they're
     4   outcome, right?                                         4   scanned and on our network, but they're probably in
     5          MS. SCHEFFEY: Object to form.                    5   existence somewhere.
     6          THE WITNESS: No, because the shift               6   Q.       Was anyone else other than you and Brent
     7   lengths are based on a weighted average, but the        7   involved in these meetings with GEO counsel when
     8   ratio of the number of shifts that are multiple         8   they were telling you factual information on which
     9   compared to all of them are based on a literal          9   you should rely?
    10   counting. So it does have an effect on the outcome.    10   A.       I don't believe so.
    11   We calculated the effect on the outcome.               11   Q.       And you're saying that the notes exist?
    12          MR. CHAREST: Q. No, you calculated the          12   You could collect them and produce them to show
    13   effect of the outcome by picking one time frame, the   13   what, in fact, the GEO attorneys told you to rely
    14   one that resulted in a lower number as opposed to      14   on, correct, factually?
    15   the total. That what you -- the calculation that       15   A.       If that conversation was written down,
    16   you did does not reflect the inclusion or not          16   yes, we could produce that, and that could be
    17   inclusion or the effect of using the weighted          17   available. I don't know. I haven't checked the
    18   average shift length on the multiple, right?           18   notes to see what exists for those conversations.
    19          MS. SCHEFFEY: Object to form.                   19   Q.       And you can't remember the substance of
    20          THE WITNESS: That wasn't the subject of         20   those conversations, but you did include information
    21   the calculation. The assumed shift length wasn't       21   that's in your brain now as a foundation for at
    22   the subject of the calculation. It was the ratio of    22   least some of the observations you made in this
    23   shifts to total shifts.                                23   case, correct?
    24          MR. CHAREST: Q. Moving on to page 12 of         24   A.       Yes.
    25   22. Are you with me?                                   25   Q.       Would you provide those inform -- those
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      1   notes for us, please?                                      1   right?
      2   A.      Yes, if they exist and if GEO's counsel            2   A.       Well, this is an example where they
      3   tells me that it qualifies under what's to be              3   provided a document that described the sanitation
      4   produced. I, you know, go by what's my instruction         4   worker relating to recreation.
      5   on that. I know that not all discussions with              5   Q.       Yeah. So this is an example of GEO
      6   counsel have to be produced.                               6   providing information to actually factually rebut
      7   Q.      But you know that when you receive factual         7   something that the experts have said that you called
      8   instructions from counsel, you're supposed to              8   into question, correct?
      9   disclose what those instructions are, right?               9   A.       As I said, I don't know the timing of when
     10   A.      Yes, which is why I cited it as a                 10   the attorneys obtained the document, whether it was
     11   conversation.                                             11   already in production or not.
     12   Q.      A conversation about what? Well, I don't          12   Q.       You're missing the point, because I don't
     13   know. So we need the notes to know, right?                13   differentiate, with respect to you, between the GEO
     14   A.      Okay. Well, if you're asking me, I will           14   attorneys and GEO, right? Because the GEO attorneys
     15   take a look and see if -- what we have for that           15   work for GEO. So when I say "GEO," I mean the
     16   conversation.                                             16   attorneys too. You understand that, right?
     17   Q.      Great.                                            17   A.       Yes.
     18          MS. SCHEFFEY: And send them to me, and we          18   Q.       Okay. So this is an example when GEO or
     19   can work the legal part out with Mr. Charest. And         19   its attorneys provided you with a document that you
     20   I'm not saying I disagree with your legal analysis        20   could rely on and say, "Ah-hah. Look at this.
     21   on facts of data. Just saying best not to waste           21   Here's actual evidence that I can rebut this factual
     22   deposition time.                                          22   assertion that Mr. Bland has made," correct?
     23          MR. CHAREST: Q. Okay. Which GEO person             23   A.       Yes, that's correct.
     24   did this attorney identify as the person who had          24   Q.       Because in this specific case, they
     25   noted this potential issue with respect to the            25   actually found something that is actually tangible
                                                         Page 230                                                        Page 232

      1   recreation sanitation worker being a janitor?              1   to actually rebut, hypothetically, Mr. Bland, right?
      2   A.       I don't know.                                     2   A.       I assume so, yes.
      3   Q.       Would -- and GEO, when it identified              3   Q.       And in all the other instances, when you
      4   something that it factually disagreed with, told its       4   were asked "did GEO provide anything," they had the
      5   lawyers and provided a document in this instance,          5   same power to do so, but did not, correct?
      6   correct?                                                   6   A.       They had the power to give me what they
      7   A.       I don't know if the lawyers already had           7   had. I don't know what exists.
      8   the document or not.                                       8   Q.       Right. And the point being, if it
      9   Q.       Well --                                           9   existed, GEO would have it, and if GEO had something
     10   A.       Provided to us.                                  10   to rebut anything else that the experts had said,
     11   Q.       I'm sorry. I thought you told me in the          11   they could have provided it to you, just like they
     12   answer that the GEO contact gave the document to the      12   did with this document that's noted in 40 -- in
     13   lawyers, and the lawyers gave it to you. Is that          13   footnote 42, correct?
     14   not right?                                                14          MS. SCHEFFEY: Object to form.
     15   A.       If I said that, I'm sorry. I might have          15          THE WITNESS: That was very compound. I
     16   been imprecise. I had a conversation with GEO             16   believe what you're saying. I'm just going to
     17   attorneys. Their knowledge was based on having had        17   repeat it, just because it was long. If they had
     18   a conversation with the GEO representative, and then      18   it, they could have given it to me. That's my
     19   we received this document as support. I don't know        19   simple understanding of what you just asked.
     20   when and where and how, the timing of them obtaining      20          MR. CHAREST: Q. Right. And in every
     21   the document.                                             21   other instance, you received no such contradictory
     22   Q.       So in all the other times we've been             22   information or data from GEO, correct?
     23   talking about, "Well, GEO should know, and if they        23   A.       I don't recall if there is anything else.
     24   have information, they could provide it to you,"          24   Q.       There were two things you cited in your
     25   this is an example of when it actually happened,          25   report where a lawyer or GEO told you something, one
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     1   of which they give you a document, and this is it,       1   says -- it's a list of worker rules and regulations,
     2   right?                                                   2   right? That's the thing that you had in mind that
     3   A.      I'm believing you. I just don't remember.        3   you cited in footnote 48?
     4   Q.      Yeah. But in every other instance, if            4   A.      I would prefer that you put them on the
     5   there existed something to rebut what the                5   screen than test my literal memory of those
     6   plaintiff's experts are saying, GEO could have           6   documents.
     7   provided it to you, and either chose to not or did       7   Q.      Yeah, I'm going to try and see if I can't
     8   not because it doesn't exist, right?                     8   figure that out.
     9          MS. SCHEFFEY: Object to form.                     9          (Whereupon Exhibit 211 was marked for
    10          THE WITNESS: I believe so. If it didn't          10          identification.)
    11   exist or they -- yes, one or the other.                 11          MR. CHAREST: Q. Okay. I'm entering
    12          MR. CHAREST: Q. We talked about the -- I         12   Exhibit 211, which is Bates labeled
    13   guess at the bottom of paragraph 38, you say, "It's     13   GEO-Novoa_00000118, if I'm not mistaken. Let me
    14   more accurate to assume that the shift lengths for      14   know when you have it. Actually, let me start
    15   recreational job types correspond to other shifts       15   again, if you don't mind. Just nod when you see the
    16   classified as custodial services," and you identify     16   exhibit first.
    17   1.5 hours as the reasonable assumption for that,        17   A.      I don't have it yet.
    18   correct?                                                18          MS. SCHEFFEY: It's still loading.
    19   A.      Yes.                                            19          THE WITNESS: Must have been a large
    20   Q.      You stand by that assumption?                   20   document.
    21   A.      I stand by the assumption that it's more        21          MR. CHAREST: Q. No, it's not, actually.
    22   accurate to assume a custodial-length job shift than    22   You still don't have it?
    23   the full schedule of recreation activity, which is      23          MS. SCHEFFEY: No. It's loading.
    24   what Mr. Bland assumed.                                 24          MR. CHAREST: Could we go off the record,
    25   Q.      Have you done any sensitivity analysis to       25   then, while this gets sorted, please?
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     1   determine what the impact of recharacterizing the        1          THE VIDEOGRAPHER: One moment. We're
     2   recreational job types as custodian job types is?        2   going off the record. The time is 3:39 p.m.
     3   A.       By itself, no. The sensitivity analysis         3          (Discussion off the record.)
     4   is combined with taking the meal off of the kitchen      4          THE VIDEOGRAPHER: We're back on the
     5   shift as well.                                           5   record. The time is 3:44 p.m.
     6   Q.       So that's on the bottom of paragraph 41;        6          MR. CHAREST: Q. All right. Ms. Morones,
     7   is that correct?                                         7   you've cited two documents in footnote 48 in which
     8   A.       Yes.                                            8   you use to criticize Mr. Bland for not adjusting the
     9   Q.       All right. We talked about -- we'll get         9   assumptions for a lunch break taken by kitchen
    10   to that, then. I appreciate you pointing that out       10   workers, correct?
    11   to me.                                                  11   A.      Yes.
    12          The next issue you talk about is the             12   Q.      So the first question: Do you know, as a
    13   kitchen services assumption, which is again the         13   matter of fact, that kitchen workers at Adelanto get
    14   assumption that you say Mr. Bland makes that people     14   any kind of break for lunch at all?
    15   in the kitchen get time -- don't get time off, where    15   A.      Outside of this representation in these
    16   you assume that people in the kitchen do get time       16   documents, I don't.
    17   off, right?                                             17   Q.      Okay. So you said, "this representation
    18   A.       Correct.                                       18   in these documents." What was --
    19   Q.       And you base your assumption on a document     19   A.      Discussion with counsel. The
    20   that talks about, "Don't eat when you're in the         20   representation from counsel, and then these
    21   kitchen unless you're here to eat," right?              21   documents.
    22          MS. SCHEFFEY: Object to form.                    22   Q.      Okay. So I don't see a reference to
    23          THE WITNESS: I would want to pull up             23   representation from counsel in this particular one.
    24   those documents. I can't recall what they say.          24   Do you?
    25          MR. CHAREST: Q. The thing I'm looking at         25   A.      I'm sorry. I'm tired. No. No. You're
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     1   right. You're correct.                                  1   A.      I don't know.
     2   Q.      That's fine.                                    2   Q.      Do you have anything in your report,
     3   A.      Sorry. I was confusing the last issue.          3   outside your report, in any document that you've
     4   Q.      No worries at all. I understand.                4   ever seen, that supports a 25-minute lunch break
     5          So then let's tee that up and run around         5   given to anyone ever at Adelanto?
     6   again. You have no basis in fact, aside from these      6   A.      I'm not recalling anything as I sit here.
     7   two documents that you've cited, to suggest that        7   Q.      Right. Now, leave aside the specific
     8   detainees actually get a lunch break that is of         8   time, whether it's 25 minutes, 30 minutes, ten
     9   sufficient time and consistency to be removed from      9   minutes, five minutes. Do you know of anything that
    10   the calculation of payable time, correct?              10   actually confirms that workers in the kitchen at
    11   A.      Outside of these documents, I do not.          11   Adelanto get breaks regularly to eat while they're
    12   Q.      And how did you come across these two          12   on their shift?
    13   documents?                                             13   A.      Outside of these documents that indicate
    14   A.      I don't know. Mr. -- Brent, my assistant,      14   that the -- that the detainees did take breaks, I
    15   pointed them out to me and indicated that he thought   15   don't know of anything that any document, as I sit
    16   we should subtract a meal break, and I don't know      16   here, that says that they have to or regularly take
    17   how he obtained them.                                  17   breaks.
    18   Q.      Do you know whether or not Brent had           18   Q.      So aside from these documents that you've
    19   independent discussions with counsel that you were     19   cited in footnote 48, you're not aware of anything
    20   not privy to?                                          20   that supports the existence of any break whatsoever,
    21   A.      I don't know. He may have.                     21   correct?
    22   Q.      So it's possible that he learned this from     22   A.      As I sit here right now, I'm not.
    23   counsel; you just don't know?                          23   Q.      Well, not just as you sit here right now,
    24   A.      That's correct, yes.                           24   but your report doesn't reflect anything, right?
    25   Q.      But again, this is one of those examples       25   A.      That's correct.
                                                     Page 238                                                     Page 240

     1   where, if it was true, GEO could have connected you     1   Q.      Including a conversation with counsel,
     2   with someone that could say, "Ms. Morones, this is      2   whether or not Brent adds those on the side, right?
     3   true, and I can prove it," right?                       3   A.      That's correct.
     4   A.      I assume so, yes.                               4   Q.      All right. Let's look at these documents
     5   Q.      I mean, they could -- you could have            5   that are the basis for this assumption. You cite
     6   talked to the warden. You could have talked to          6   GEO-Novoa_000018 (sic) as the first document in
     7   whoever's in charge of the lunch program there,         7   footnote 48, correct?
     8   right?                                                  8   A.      Yes.
     9   A.      I assume so, yes.                               9   Q.      Where in that document does it say people
    10   Q.      Not just assume. That is a fact. You           10   get a lunch break or any kind of break?
    11   could have talked to those people, right?              11   A.      Let me open the document.
    12          MS. SCHEFFEY: Object to form.                   12   Q.      Please.
    13          THE WITNESS: I -- as I said, I don't know       13   A.      This document indicates that they are not
    14   what they're doing in their lives or whether they      14   allowed to eat in the kitchen, except at your
    15   would be available, but I assume so.                   15   scheduled mealtime in the designated eating area,
    16          MR. CHAREST: Q. But instead, you've got         16   and -- and I would assume, with a five-hour shift,
    17   these two mystery documents that you then say, "Oh,    17   that they're allowed to eat during a five-hour
    18   I think it's fair to assume that there are lunch       18   shift.
    19   breaks," right?                                        19   Q.      Okay. So the basis for the assumption
    20   A.      Yes.                                           20   that there is a lunch break is the assumption that
    21   Q.      How long are the lunch breaks?                 21   they're allowed to eat, right?
    22   A.      I -- we have assumed 25 minutes. I             22   A.      Yes.
    23   don't -- I don't -- that's -- yeah, that's the         23   Q.      And the basis for that assumption is a
    24   assumption.                                            24   document saying you're not allowed to eat, right?
    25   Q.      Why?                                           25   A.      That they're not allowed to eat in the
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     1   kitchen.                                                1   A.      It doesn't seem logical -- like a logical
     2   Q.      The place where they work, right?               2   assumption.
     3   A.      Right.                                          3   Q.      Have you ever heard of being satellite
     4   Q.      Okay. Any other reason why this document,       4   fed? Are you aware of the practice of giving the
     5   in your view, supports the concept of uniformly         5   workers paper bag lunches and sent back to their
     6   applicable 25-minute breaks for everyone that works     6   dorm after their shift is over?
     7   in the kitchen?                                         7          MS. SCHEFFEY: Object to --
     8   A.      Because it also says they have a scheduled      8          MR. CHAREST: Q. Either one of those
     9   mealtime. And I would assume that they have a           9   concepts?
    10   scheduled mealtime -- a breakfast/lunch/dinner         10   A.      Not specifically. I'm aware that some
    11   scheduled lunchtime, and if we're working the          11   detainees were fed in their pods, not in cafeterias.
    12   five-hour shift, that necessarily means that they      12   Q.      And do you know how, if at all, that
    13   have a scheduled mealtime within the five-hour         13   practice applies to kitchen workers?
    14   shift. Otherwise, you're going to make them not        14   A.      I don't know.
    15   have a scheduled mealtime.                             15   Q.      Did you ask anyone at GEO if this actually
    16   Q.      So don't you think everyone has a              16   works?
    17   scheduled mealtime in this place?                      17   A.      I did not talk to a GEO person.
    18   A.      Yes.                                           18   Q.      Did you ask anyone at GEO if the workers
    19   Q.      Yeah.                                          19   in the kitchen actually get a 25-minute break every
    20   A.      So that's -- that's the necessary              20   day, every shift?
    21   assumption, is that there is a scheduled mealtime      21   A.      As I said, I didn't talk to a GEO.
    22   within the time period that they're working.           22   Q.      About this topic on which you're opining,
    23   Q.      Well, no. Now you've combined -- you've        23   correct?
    24   added a condition onto the assumption with no basis,   24   A.      Correct.
    25   right? Because we start with this proposition:         25   Q.      That would have been a simple and easy
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     1   Everyone has a scheduled mealtime. Okay? Some of 1          thing to do, wouldn't it have been?
     2   those people that have scheduled mealtimes also work 2      A.      I don't know how available they were.
     3   in the kitchen. You're assuming that their           3      Q.      You talked to the lawyers somewhere
     4   scheduled work time is not scheduled around their    4      between ten and three times in the month before your
     5   mealtime, right?                                     5      report was due, right?
     6   A.      That's correct. I'm assuming that their      6      A.      Yes.
     7   mealtime occurs within the five-hour shift.          7      Q.      Yeah. And during those conversations, you
     8   Q.      Is there any basis to support that           8      could have brought this up, right?
     9   assumption?                                          9      A.      "Brought this up"?
    10   A.      The other document that talks about the     10      Q.      The lunch break issue, ma'am.
    11   workers leaving for their mealtime.                 11      A.      Yes.
    12   Q.      So first off, before we go to the other     12      Q.      Yeah. And they saw drafts of your report
    13   document, any basis to answer my question in this   13      before it was issued, correct?
    14   one, 211, that you cited as the first document in   14      A.      Yes.
    15   support of your position?                           15      Q.      And did anyone bother to think "Maybe we
    16   A.      Not overtly in the document. Just common    16      should actually discuss what actually happens here,"
    17   sense, that for the long shift of a mealtime that's 17      or did they just rely -- let you rely on two
    18   before and after the mealtime, that somewhere in    18      documents that you picked out of an unknown pile?
    19   that -- within that breakfast shift, they would be  19      A.      They didn't raise this as a concern or an
    20   allowed to eat. Otherwise, they have to skip        20      issue.
    21   breakfast and eat after the breakfast shift, which  21      Q.      And neither did you, correct?
    22   is pretty late.                                     22      A.      Correct.
    23   Q.      And you just think that that's a not good   23      Q.      Yeah. Even though either one, you or the
    24   way to treat people, and people -- and therefore,   24      GEO lawyers, could have raised that issue and said,
    25   didn't happen, right?                               25      "Well, golly gee, I know we're talking about an
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      1   assumption here that may or may not have factual            1   GEO. Did I accurately describe the document?
      2   basis, the facts of which everyone in this room can         2   A.      Yes.
      3   find out. Let's not talk about it," right?                  3   Q.      Yeah. What about this document -- well,
      4           MS. SCHEFFEY: Object to form,                       4   let's walk through it. Mr. Hauser's upset because
      5   argumentative.                                              5   the staff can't eat because the detainees are
      6           THE WITNESS: I don't understand your                6   eating, right?
      7   question.                                                   7   A.      Yes, that's my understanding.
      8           MR. CHAREST: Q. Okay. My question is                8   Q.      Says, "We're lacking detainee workers, and
      9   this: Even though in the ten -- three to ten                9   the kitchen staff took their lunch." Those are the
     10   conversations you had with GEO counsel leading up to       10   two reasons why they're only running three chow
     11   the issuance of your report in which drafts of your        11   halls at the time, right?
     12   report were discussed at length, and the fact that         12   A.      Yes.
     13   the GEO lawyers had access to GEO for factual              13   Q.      And he's -- and that's a basis, you say,
     14   information, neither you nor the lawyers bothered to       14   for, "Oh, well, the kitchen staff gets a break from
     15   even think about whether or not the assumption that        15   their work," right?
     16   you're proposing here, this 25-minute food break for       16   A.      Yes.
     17   kitchen workers, is reasonable, right?                     17   Q.      But then is that the final answer on what
     18           MS. SCHEFFEY: Object to form.                      18   happens here or not? What actually happened here?
     19           THE WITNESS: We did not discuss it as              19   A.      I don't understand your question.
     20   being an unreasonable assumption.                          20   Q.      Well, they keep talking about it, right?
     21           MR. CHAREST: Q. Didn't discuss it at               21   I mean, my point is, just because Mr. Hauser says
     22   all.                                                       22   they want a break, doesn't mean that, in fact,
     23   A.       I didn't discuss it. Brent may have. I            23   there's a break given every single day of the year,
     24   didn't.                                                    24   right?
     25   Q.       Whatever Brent discussed with the lawyers,        25   A.      That's possible, yes.
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     1    you don't know what happened there, right?                  1   Q.      Possible? What do you mean? On one day,
     2    A.     That's correct.                                      2   on Sunday, he walks in there and people are eating.
     3    Q.     And here you are having to answer for it             3   That means on every single day, every single shift,
     4    with no basis, right?                                       4   everyone gets a 25-minute break?
     5    A.     I don't know whether he discussed it or              5          MS. SCHEFFEY: Object to form.
     6    not.                                                        6          MR. CHAREST: Q. Ma'am?
     7    Q.     Well, here you are having to answer for it           7   A.      Yes.
     8    with these two documents?                                   8   Q.      That was my question. Let me do it -- let
     9          MS. SCHEFFEY: Object to form.                         9   me do it a little more scientifically. The fact
    10          MR. CHAREST: Q. Right?                               10   that, even if this description of what happened is
    11    A.     Yes, we're talking about these two                  11   accurate, that there was -- the detainees were
    12    documents that we cite as support.                         12   taking a break and eating while the kitchen was
    13    Q.     Yeah. And the first one doesn't say                 13   open -- assume that to be true -- do you, as a
    14    anything about a break. You assume they must get a         14   forensic accountant and a fraud detector, think that
    15    break because of the length of the shift, right?           15   one data point means it is always true in every
    16    A.     Yes.                                                16   other day of the year and throughout the entire
    17    Q.     And the second one talks about a break,             17   class period?
    18    kind of. Let's talk about that one, 212. You               18   A.      No.
    19    ready?                                                     19   Q.      And then in response to the e-mail
    20    A.     Yes.                                                20   exchange, the second e-mail from the top, we have
    21          (Whereupon Exhibit 212 was marked for                21   Michelle Keeney, who is the food service production
    22          identification.)                                     22   supervisor. Sounds like someone that might know
    23          MR. CHAREST: Q. Okay. It's a March 4th,              23   what's going on, right?
    24    2018 e-mail sent at 4:50 p.m. on a Sunday by               24   A.      Yes.
    25    Mr. Hauser, who is a watch sergeant, apparently, for       25   Q.      Did you ever talk to Ms. Keeney?
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      1   A.       I have not.                                       1   breaks in this e-mail are GEO employees, then I
      2   Q.       She might know the answer to your                 2   would agree that it's not valid support for the
      3   questions here, right?                                     3   assumption that the detainees get breaks.
      4   A.       She might.                                        4          MR. CHAREST: Q. Right. And sitting here
      5   Q.       She says, "On Sunday afternoon food               5   today, can you swear under oath that the people that
      6   service workers all took their lunches and were back       6   are discussed here taking breaks are, in fact,
      7   in the kitchen to make satellite trays in time. The        7   detainees?
      8   only person who takes their lunch break at or during       8          MS. SCHEFFEY: Object to form.
      9   chow time is the cook supervisor," one person, "and        9          THE WITNESS: I have assumed that they
     10   that is because he is finished cooking." Do you           10   are. I don't know one way or the other absolutely.
     11   know if the cook supervisor, the one person that          11   I have assumed that they are.
     12   gets a break during that window, is a detainee            12          MR. CHAREST: Q. Well, absolutely? This
     13   worker or not?                                            13   is real. Okay? We're testifying. You're under
     14   A.       I don't.                                         14   oath. My question is, do you know whether or not
     15   Q.       All right. So based on that clarification        15   the people that are taking breaks are, in fact,
     16   of what was going on that Mr. Hauser was complaining      16   detainees?
     17   about, how solid do you think this assumption that        17   A.       I don't. Not from this information.
     18   every detainee gets a 25-minute work break from           18   Q.       Not from any information, right?
     19   every shift at the kitchen in Adelanto?                   19   A.       That's correct.
     20          MS. SCHEFFEY: Object to form.                      20   Q.       Right. So this document on which you rely
     21          THE WITNESS: The statement that the                21   doesn't actually, to the best of your knowledge,
     22   kitchen -- the one supervisor is the only one             22   indicate that detainees actually get breaks,
     23   allowed to take lunch during chow time doesn't            23   correct?
     24   correlate to the five-hour -- I would assume doesn't      24   A.       It suggests that they do, that they take
     25   correlate to the five-hour shift. I don't expect          25   breaks.
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     1    chow time to be five hours. I interpret that to            1   Q.       It suggests that people that work in the
     2    mean, while the other inmates are coming in and            2   kitchen in some capacity take breaks, but not
     3    eating, during that time, the meal break shouldn't         3   necessarily that those people are detainees, right?
     4    be taken.                                                  4   A.       It does not distinguish between detainees
     5           So that statement doesn't tell me that              5   and non-detainees in this description.
     6    there's only one person that gets a meal break.            6   Q.       And you've assumed it applies to detainees
     7    That makes sense to me, that when the other                7   without basis at all, right? Ma'am?
     8    detainees are coming in and eating, the workers            8   A.       I'm sorry, I'm reading the document. Do
     9    should not be taking their meal break during that          9   you mind if I --
    10    time.                                                     10   Q.       Of course. I thought you might have been
    11           MR. CHAREST: Q. Do you know whether or             11   drifting, but okay.
    12    not food service people or the kitchen staff are          12   A.       Oh, no. Just -- yeah, I'm just reading
    13    detainees or GEO employees?                               13   the document.
    14    A.      I understand that there's a combination.          14   Q.       Feel free.
    15    Q.      Do you know the people that were taking           15   A.       Okay. So point No. 2 on this e-mail, on
    16    this break that we're talking about here were even        16   the first page of it, says, "On Sunday afternoon the
    17    detainees?                                                17   food service workers all took their lunches."
    18    A.      I don't.                                          18   They're all there. They're food service workers,
    19    Q.      You assume that, right?                           19   and they all took their lunches. I would assume
    20    A.      Yes, I assume that.                               20   that means detainees, non-detainee, everyone who's
    21    Q.      But if kitchen staff are GEO employees,           21   related to food service, took their lunches.
    22    that assumption is just fundamentally flawed,             22   Q.       During the shift is your assumption?
    23    correct?                                                  23   A.       Yes. Because the way the shift is defined
    24           MS. SCHEFFEY: Object to form.                      24   is the time they show up to the time they leave, the
    25           THE WITNESS: If all of the people taking           25   way I interpret those schedules. So if they're
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     1   there and they're taking their lunches, it's during     1   do you think about the validity of your assumption
     2   the shift.                                              2   about the word "food service worker" in Exhibit 212,
     3   Q.       If, as you suppose, the food service           3   ma'am?
     4   workers are detainees, right?                           4   A.      It tells me that there are employees that
     5   A.       But it says, "The food service workers all     5   are food service workers.
     6   took their lunches," so yes, I assume that includes     6   Q.      Right. But my question is, what does it
     7   detainees.                                              7   tell you about the quality of your assumption that
     8   Q.       Because they're eating there?                  8   the food service workers discussed in 212 are, in
     9   A.       Because it says they all took their            9   fact, detainees?
    10   lunches.                                               10   A.      It doesn't tell me anything because
    11   Q.       Yes, ma'am. My question -- I don't know       11   detainees could very well be described as food
    12   if you understand it. How do you know that the food    12   service workers.
    13   service workers that are described in paragraph 2 of   13   Q.      Do you have any basis in fact, in the
    14   the first page of the e-mail that's marked as          14   record, in the universe, to support what you just
    15   Exhibit 212 are, in fact, detainees?                   15   said?
    16          MS. SCHEFFEY: Object to form.                   16   A.      I -- there's no basis to contradict what I
    17          THE WITNESS: Because I understand that          17   said, and a food service worker is a very generic
    18   the kitchen operation is staffed by a few employees    18   concept description. So it could include detainees.
    19   and many detainees. So to read the statement "The      19   It could include employees.
    20   food service workers all took their lunches," I        20   Q.      Well, we know it does include employees
    21   would expect that to mean everybody present.           21   because that's literally the job title that's being
    22          MR. CHAREST: Q. Okay. That's your               22   offered in Exhibit 213, right?
    23   interpretation of what "food service worker" means,    23   A.      Yes.
    24   right?                                                 24   Q.      All right. So it's not "could include
    25   A.       Yes.                                          25   employees." It does include employees, right?
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     1   Q.      I'm going to be adding another document         1   A.      I would assume so, based on this letter,
     2   here in just a second, please.                          2   yes.
     3          (Whereupon Exhibit 213 was marked for            3   Q.      Well, you're the one that has this
     4          identification.)                                 4   expertise about the quality of underlying documents.
     5          MR. CHAREST: Q. You should be able to            5   Show me an underlying document that supports the use
     6   see a document that's been marked Exhibit 213. It's     6   of food service workers as a moniker for detainee
     7   entitled "Food Service Worker." Let me know when        7   workers, please.
     8   you have it.                                            8   A.      I do not know of one.
     9   A.      Okay.                                           9   Q.      Okay. So we discussed now Exhibit 211 and
    10   Q.      Document that's been marked as Exhibit 213     10   Exhibit 212, those being the only two documents,
    11   is Bates labeled GEO-Novoa_00062421. It's a            11   only two pieces of information in the universe that
    12   two-page document dated June 20, 2018, with a GEO      12   you're aware of that supports even the existence of
    13   letterhead at the top. Have I accurately described     13   a break for food -- for restaurant worker detainee
    14   the document, ma'am?                                   14   workers, right?
    15   A.      Yes.                                           15   A.      These are the ones I'm aware of.
    16   Q.      But similar in connection to the offer of      16   Q.      The only ones you're aware of, right?
    17   employment letter that we saw by GEO for janitors,     17   A.      That's correct.
    18   right?                                                 18   Q.      With a full level of information available
    19   A.      It's a similar form, yes.                      19   to GEO, that's all you have, correct?
    20   Q.      But this one offers a different job title.     20   A.      Yes.
    21   What's the job title on this one?                      21   Q.      You don't know where they came from. You
    22   A.      Food service worker.                           22   don't know who identified them for your man --
    23   Q.      Okay. Is that a detainee?                      23   what's his name -- Brent? They just appear in your
    24   A.      I would -- no. This is a employee.             24   report, and you relied on them, right?
    25   Q.      Okay. Having seen this Exhibit 213, what       25   A.      They didn't just appear in my report and I
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     1   relied on them. He discussed the issue of the meal      1   A.      That's correct.
     2   break and talked to me about that that was a            2   Q.      Now, you describe the break as a lunch
     3   deduction that he believes should be made, and that     3   break. Did your -- your criticism, your
     4   these documents indicate the existence of a meal        4   recalculation, eliminate only 25 minutes from the
     5   break. Sounded very logical and rational to me, so      5   midday shift, or did it eliminate 25 minutes from
     6   we did it.                                              6   each shift?
     7   Q.      Right. You stand by that, that assumption       7   A.      Each shift.
     8   now?                                                    8   Q.      What's the basis to say that the workers
     9   A.      Yes. I believe it's very likely that the        9   get a breakfast break or a dinner break?
    10   detainees get a meal break during their five-hour      10   A.      It's the same assumption, that over the
    11   shift that transpires during a meal. I believe it's    11   course of a five-hour shift, that they take a meal
    12   more likely than not. Your expert assumed no meal      12   break.
    13   break.                                                 13   Q.      Okay. So then you agree that the shifts
    14   Q.      Do you have any facts to support it, aside     14   are five hours, right?
    15   from the two documents we've discussed?                15   A.      I don't disagree.
    16   A.      Aside from these two documents, no.            16   Q.      Okay. That's fair, because you're
    17   Q.      What else? What else? When you                 17   rebuttal, so you don't have to have opinions
    18   conclude -- the math that you did in the bottom of     18   necessarily, but you don't challenge the length of a
    19   paragraph 41 reflects the, what, removal of the        19   five-hour shift for the kitchen staff, correct?
    20   25-minute shift length for all restaurant workers      20   A.      Correct.
    21   for each shift, right?                                 21   Q.      But you say it's reasonable to assume that
    22   A.      Yes.                                           22   for every five-hour shift, there is a .4-hour
    23   Q.      That starts with the five-hour shift that      23   reduction that should be made for all -- some sort
    24   you -- that you've discussed, right?                   24   of mealtime during that five-hour shift, correct?
    25   A.      Yes.                                           25   A.      Correct.
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     1   Q.      Minus 25 minutes --                             1   Q.      The basis for one mealtime per shift still
     2   A.      Yes.                                            2   being those two documents that are reflected in
     3   Q.      -- that you generated through those             3   footnote 48 that we've discussed, correct?
     4   documents, right?                                       4   A.      Correct.
     5   A.      Reduces, yes. It assumes 4.6 hours.             5   Q.      Now, again, these are data points that GEO
     6   Q.      4.6? Okay.                                      6   could provide if they actually had to rebut the
     7          And then this also reflects the commentary       7   Bland report, correct?
     8   about the recreation job be classified as a             8          MS. SCHEFFEY: Object to form.
     9   custodial job, right?                                   9          THE WITNESS: I would assume so.
    10   A.      Correct.                                       10          MR. CHAREST: Q. I mean, you could have
    11   Q.      So did the math that's reflect -- does the     11   got on the phone with Michelle Keeney, the food
    12   math that's reflected in the bottom of paragraph 41    12   service production supervisor, and had a
    13   reflect any other of your commentary or issues?        13   conversation with her about do these folks get to
    14   A.      Let me take a look at the schedule. I          14   have breaks on these shifts, right?
    15   don't believe so, but I'm going to review the          15   A.      I assume that would be possible.
    16   schedule and see if anything else comes to mind.       16   Q.      Now, I'm not -- I was first thinking about
    17          (Pause.)                                        17   just lunch, but you could have had that same
    18          THE WITNESS: No. The calculation                18   conversations for breakfast, lunch, or dinner, which
    19   addresses the lunch break and the change assumption    19   you've assumed, right?
    20   for recreation that includes both shift length and     20   A.      Correct.
    21   hourly rate.                                           21   Q.      But you didn't do it?
    22          MR. CHAREST: Q. Okay. So if I wanted to         22   A.      I did not.
    23   look at either one in isolation, I could not find      23   Q.      And that was a choice that either you or
    24   the answer in the math that was reflected in           24   the GEO counsel actually both made, right?
    25   paragraph 41, correct?                                 25   A.      We didn't ask them -- we didn't ask for
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     1   it, I don't -- so I would -- I don't know what they      1   I don't recall about his deposition, but I would
     2   thought about it. We didn't ask for that.                2   assume so.
     3   Q.       Well, you didn't ask to talk to anyone          3   Q.       Well, it's listed as "Materials reviewed"
     4   involved in the food service production, and GEO         4   by Mr. Nickerson in his Appendix B, the sixth entry
     5   didn't offer to put you in contact with anyone           5   down. I'm sorry. That's just exhibits. I'm sorry.
     6   involved in the food service production, correct?        6   Where are we? There it is. Well, it's in Exhibit
     7   A.       That's correct.                                 7   B. I can show it to you if you want me to.
     8   Q.       Even though it was an available thing that      8   A.       No, that's okay. I would assume that I
     9   could happen?                                            9   have it. I just don't have a recall about it.
    10   A.       Yes.                                           10   Q.       Right. But in order to know anything
    11   Q.       Okay. Let's talk about -- I don't really       11   about the validity or non-validity of Appendix C1 in
    12   care, to be honest with you, what his data are, but     12   the Nickerson report, you would have to look at the
    13   let's talk about the Nickerson report, and              13   underlying documents, right?
    14   specifically, the things that we have and the things    14   A.       Yes.
    15   that we don't have. Okay? So the Nickerson report       15   Q.       The underlying documents being the --
    16   is in your documents at Exhibit 209. Let me know        16   Exhibit 20 and the deposition transcript that
    17   when you're there, please.                              17   discusses the exhibit, right?
    18           (Whereupon Exhibit 209 was marked for           18   A.       I probably did. I just don't recall.
    19           identification.)                                19   Q.       Right. But from our perspective, from the
    20           THE WITNESS: Okay.                              20   plaintiff's perspective, to evaluate the validity or
    21           MR. CHAREST: Q. It's still --                   21   not of Exhibit C1, it's impossible, would you not
    22           MS. SCHEFFEY: Do you want us to open 209        22   say, without an access to the Exhibit 20 and the
    23   or 209 and 210?                                         23   underlying transcript from the deposition?
    24           MR. CHAREST: We'll talk about 210 in a          24          MS. SCHEFFEY: Object to form.
    25   second. We'll do them one at a time.                    25          THE WITNESS: That -- it sounds
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     1   Q.       You referred in your report to Appendix C1      1   reasonable; that to evaluate Exhibit 20, you need to
     2   of this report, this Nickerson report, as an             2   understand what it's based on.
     3   alternative shift length measurement, which you          3           MR. CHAREST: Q. Well, to evaluate
     4   don't think accurate, right?                             4   Appendix C1, I would need to know what it's based
     5   A.       I have certainly critiqued Mr. Nickerson's      5   on, right?
     6   report. His assumption about overall shift length.       6   A.       Yes.
     7   Q.       All right. But you've said now, I think,        7   Q.       And it's based on Exhibit 20 to the Kimble
     8   three times already, you don't think his work is         8   deposition, right?
     9   accurate, right?                                         9   A.       Yes.
    10   A.       I'm not sure why you're asking me it for       10   Q.       And he discussed Exhibit 20, which was the
    11   if I've said it three times.                            11   progenitor for Appendix C1 in his deposition, right?
    12   Q.       A bad habit I have.                            12   A.       I assume so. I don't remember, but I
    13           The document that's listed here as being        13   assume so.
    14   sort of the progenitor of the information that's        14   Q.       But beyond that, we just have a series of
    15   reflected in Exhibit C1 is called Exhibit 20. Do        15   numbers that have no basis in fact for us to
    16   you know what Exhibit 20 is?                            16   evaluate, right?
    17   A.       I vaguely remember Exhibit 20. I have a        17   A.       Yes. If you don't have the underlying
    18   general recollection.                                   18   information, you won't -- you won't be able to
    19   Q.       The Exhibit 20 is an exhibit from a            19   evaluate it.
    20   deposition of a GEO corporate rep, the name of the      20   Q.       Right.
    21   individual being Ryan Kimble, correct?                  21           Flip, if you would, please, to page GEO --
    22   A.       That sounds accurate.                          22   it's a Bates label -- GEO-Novoa_00086956.
    23   Q.       And you have available to you Exhibit 20       23   A.       Can you say the last three again?
    24   and Mr. Kimble's deposition, right?                     24   Q.       956.
    25   A.       I believe so. I know I have Exhibit 20.        25   A.       Could you tell me the PDF page?
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     1   Q.       Maybe.                                        1   Northwest Detention Center, right?
     2   A.       Oh, I think I'm almost there.                 2   A.      Mr. Nickerson did.
     3   Q.       6 is the PDF page. Actually, go back one.     3   Q.      Well, you're the one that reflected --
     4   We'll get there. I'm sorry.                            4   that referred to it, not Mr. Nickerson, not anyone
     5   A.       That must be on a different page. I'm         5   else.
     6   completely -- the PDF page 6. Okay. Okay. No,          6   A.      Right, but I was saying that in this other
     7   wait. I think I'm good. Go ahead.                      7   case, plaintiff's expert indicated or relied on this
     8   Q.       Try the PDF page 5, actually. That's when     8   assumed average shift length, and in my rebuttal
     9   it starts talking about Exhibit 20 under the           9   analysis, I point out areas where I found
    10   description of the data, section Roman IV. Are you    10   contradictory information, but I didn't directly
    11   there?                                                11   rely on Exhibit 20.
    12   A.       Yes.                                         12   Q.      You relied on, in your report in this
    13   Q.       Describes Exhibit 20, which we've            13   case, Appendix C1, which itself relied on
    14   discussed as being referenced in Appendix C1 as a     14   Exhibit 20, right?
    15   table showing the work area, number of workers        15          MS. SCHEFFEY: Object to form.
    16   assigned to the work area, and the total number of    16          THE WITNESS: Just to the extent of saying
    17   hours worked for some given point in time. He notes   17   that the plaintiff's expert in the Washington case
    18   that there are no dates associated with that table,   18   or the Nwauzor case relied on that, just to report
    19   correct?                                              19   what he did and to suggest it could have been a
    20   A.       That's what it says, yes.                    20   comparison for the expert in this case. So to that
    21   Q.       Did the fact that the table was undated      21   extent, I relied on it.
    22   mean it's more or less or not at all -- no            22          MR. CHAREST: Q. Well, if you're trying
    23   difference -- reliable?                               23   to suggest to comparison, you're saying that it's --
    24   A.       It would depend on what else we know about   24   you're comparing it to something that matters, that
    25   it, so I don't know.                                  25   makes sense. Is the comparison of something that
                                                    Page 266                                                      Page 268

     1   Q.       And sitting here today, you don't know?       1   doesn't matter at all? I mean, if you tell me that
     2   A.       I don't remember.                             2   the Nickerson report doesn't play any impact in your
     3   Q.       Okay. Do you know if Exhibit 20 is a          3   analysis whatsoever, and whatever you said about the
     4   GEO-produced document or a State of Washington or      4   Nickerson report in your report doesn't really
     5   Nwauzor-produced document?                             5   matter, that's done, but if you're going to rely on
     6   A.       I don't know.                                 6   the Nickerson report in any way, I need to
     7   Q.       Do you know if, in fact, Exhibit 20           7   understand exactly how. So which is it?
     8   accurately reflects the work area or the number of     8   A.       It's difficult to answer because it's not
     9   workers assigned or the total number of work hours?    9   so simple. In the Nwauzor case, where Mr. Nickerson
    10   A.       I hesitate to say. It's been a while, but    10   issued his opinion, I critiqued it as being based on
    11   I do believe that it is based on quantification of    11   Exhibit 20 and pointed out categories where other
    12   the check-in sheets in terms of its distribution of   12   testimony contradicted the assumptions in
    13   how it distributes jobs. I don't remember, sitting    13   Exhibit 20. So my critique resulted in reductions
    14   here, what was the basis for the length of time.      14   to the 1.72.
    15   Q.       And the shift length is the key point on     15          But for purposes of comparison, I still
    16   which you rely for the reference to this report in    16   think it's a valid comparison because your expert's
    17   the first place, right?                               17   opinion in this case is a higher average rate. So
    18   A.       Well, no, both work together equally         18   to the extent that it's a reasonable comparison at
    19   importantly. The distribution of shifts and the       19   this ceiling of 1.72, I've relied on it, keeping in
    20   shift length are both important in determining the    20   mind that I've criticized some of the inputs to it
    21   total average shift length.                           21   that results in a reduction even more.
    22   Q.       Okay. I'll let -- that's -- I accept what    22          I apologize if that's a complex answer,
    23   you're saying there. I understand what you're         23   but sometimes questions are just not so simple and
    24   saying there. But fundamentally, you looked at this   24   easy to say, "Yes, I relied," "No, I didn't."
    25   document as the average shift length source for       25   Q.       I think I completely understand what
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     1   you're saying. You relied on the Nickerson report         1   done.
     2   as being, though wrong, still lower than Mr. Bland's      2   Q.       You're the one that pulled the Nickerson
     3   report, right?                                            3   report off the shelf and said, "Hey, look, there's a
     4   A.       Yes.                                             4   different average shift length," and you didn't
     5   Q.       But you know that they're different              5   bother to ask the question, "Are the two shift
     6   facilities with different number of workers,              6   lengths comparable," right?
     7   different activities, and you still think it's okay       7           MS. SCHEFFEY: Object to form.
     8   to compare one over the other?                            8           THE WITNESS: Well, I considered the
     9   A.       Yes, because that's what we do in a              9   question, so it's not true that I didn't bother to
    10   yardstick-type comparison. They're not identical,        10   ask the question.
    11   but they're still similar enough to look at one and      11           MR. CHAREST: Q. Okay. You did not do
    12   say, "Hey, how does this one operate? Well, if this      12   anything to try and actually see on a mathematical
    13   one operates this way, why is mine different? Does       13   basis that one is comparable to the other, correct?
    14   that make sense? Can I reconcile them?"                  14   A.       That's not entirely correct either.
    15   Q.       And how are they different? How are             15   Q.       Tell me what you did. Tell me what you
    16   they -- have you done any attempt to do the              16   did on a mathematical basis.
    17   reconciliation between Northwest Detention Center        17   A.       I'm not sure what you mean by
    18   and Adelanto?                                            18   "mathematical," but I can observe -- based on
    19   A.       We've talked about this extensively, and I      19   looking at the job categories and the similarities
    20   pointed out several areas that I felt like they're       20   in the kitchen shift and the number -- significant
    21   similar, acknowledged areas where they're different.     21   number of janitorial custodian-type jobs, I can
    22   Q.       What have you done to reconcile the             22   observe similarities in the programs. I didn't put
    23   differences between -- the factual differences           23   any numbers in a spreadsheet and say, "Because this
    24   between the two facilities to then compare one           24   is this, then this equals this."
    25   average shift length to another, ma'am?                  25   Q.       Yeah. So you saw that the jobs are
                                                       Page 270                                                     Page 272

     1   A.       I have not conducted a formal quantitative       1   similar, but you know that the shifts are
     2   analysis.                                                 2   dissimilar, which is -- has to be in order to have a
     3   Q.       Or an informal quantitative analysis,            3   dissimilarity in the overall average shift length,
     4   right?                                                    4   right?
     5   A.       No.                                              5   A.      Yes.
     6   Q.       No, I'm not right, or no, you have not           6   Q.      What did you do to normalize or to
     7   done it?                                                  7   identify the validity of comparing the shift length,
     8   A.       I have not conducted any analysis other          8   for example, for a janitor at Adelanto to a janitor
     9   than say the plaintiff expert in this other case          9   at Northwest Detention Center?
    10   opined on this. It's -- it's lower --                    10   A.      I didn't.
    11   Q.       I heard what you said.                          11   Q.      Right. And on average, the janitor length
    12   A.       -- offer a useful comparison.                   12   of shift in the Northwest Detention Center is half
    13   Q.       We're trying to talk about your efforts         13   an hour, right?
    14   to, as you put it out, harmonize the two to see if       14   A.      Yes.
    15   they could be -- if the differences between the          15   Q.      And it's an hour and a half at Adelanto,
    16   facilities could be normalized to then compare           16   right?
    17   actually apples to apples. Right? And the answer         17   A.      Yes.
    18   is, you have not done a formal qualitative analysis,     18   Q.      And you --
    19   right?                                                   19   A.      Well, that's the assumption. That's the
    20   A.       My criticism is of your expert. My              20   assumption, and I have not rebutted that assumption,
    21   criticism is that there's another indicator out          21   but that's the assumption.
    22   there that he didn't consider. I understand he           22   Q.      Right. And you have offered no opinions
    23   didn't have it, so that's not fair. I was not aware      23   as to any reason as to why the 1.5-hour assumption
    24   of that. But it wouldn't be my burden to provide --      24   at Adelanto was wrong, correct?
    25   to do the -- to do the work I'm suggesting could be      25   A.      That's correct.
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     1   Q.      Right. And so if the 1.5-hour assumption          1   no -- there's not as much evidence in this case as
     2   at Adelanto is not incorrect, then it is, of              2   there was in the Nwauzor case.
     3   necessity, incorrect to rely on a report where the        3   Q.       Yeah, if only he had an e-mail on a Sunday
     4   average shift length for janitors is .5 hours,            4   afternoon talking about a one-and-a-half-hour shift
     5   right?                                                    5   length, that would be perfect, right?
     6   A.      That may be correct, yes.                         6           MS. SCHEFFEY: Object to form.
     7   Q.      Yeah. And that is the fundamental                 7           MR. CHAREST: Q. Listen. What do you
     8   driver -- take away all the fancy talk -- of the          8   have, as a matter of fact, to say that the use of
     9   difference in shift length, is the fact that, in the      9   .5-hour shift lengths at Northwest Detention Center
    10   data that is presented through Exhibit 20, which we      10   is at all relevant to the evaluation of shift
    11   don't have, reflected in Appendix Exhibit C1, which      11   lengths for janitors in Adelanto, a different
    12   you only provided after we demanded it from your         12   facility that is a different layout?
    13   lawyers, shows that the Northwest Detention Center       13   A.       All the reasons that we've been talking
    14   averages .5 hours, and when you compare it to the        14   about all day long. That it's a GEO facility. It
    15   1.5 hours in Adelanto, you have a complete               15   has the Voluntary Work Program. It has all of these
    16   disconnect, right?                                       16   features, these positions. Just that the -- that
    17          MS. SCHEFFEY: Object to form.                     17   it's another GEO operation. And one can look to
    18          THE WITNESS: Yes, those assumed shift             18   that. Doesn't have to be identical. When you do a
    19   lengths are different.                                   19   comparable analysis, they never are identical. You
    20          MR. CHAREST: Q. Yeah. And more                    20   can look to that to make a comparison, and you can
    21   importantly, it's not appropriate to compare shift       21   learn from that. That might give you a clue about
    22   lengths in Northwest Detention Center, which are .5      22   something that's going on over here that -- an
    23   hours, to shift lengths in Adelanto, which are an        23   assumption that may not be correct.
    24   hour and a half, correct?                                24   Q.       When you're talking about janitorial
    25   A.      Not necessarily. You know, you blocked me        25   services in particular, do you think the layout of
                                                       Page 274                                                    Page 276

     1   into a conclusion that assuming the 1.5 hours is          1   the facility has any -- has any bearing on the time
     2   correct. I haven't specifically found alternative         2   it takes to do the work?
     3   data that says it's not correct. However, one of          3   A.       Well, it certainly would, but that doesn't
     4   the general assumptions was that your expert used         4   mean, if you think of it in terms of a
     5   kind of basically, like, schedules, these basic just      5   traditional -- total number of hours, yes, certainly
     6   time schedules, and didn't account for the                6   would have an impact on the total number of hours.
     7   possibility that the actual task should have been --      7   How that's conducted under this Voluntary Work
     8   was actually shorter.                                     8   Program that's broken up into little pieces, it may
     9          In the Nwauzor case, there was a lot of            9   not have any impact.
    10   deposition testimony taken to obtain more specific       10   Q.       So your testimony is that, because GEO
    11   information about how long did those tasks take.         11   operates the Voluntary Work Program kind of
    12   So -- so I agreed with you because you said              12   uniformly in different places and breaks up into
    13   "assuming the one and a half hours is correct."          13   little pieces, the little pieces being .5 hours in
    14   Well, I haven't rebutted it because I haven't found      14   Adel- -- in Northwest Detention Center, therefore,
    15   other alternative data, but on a general sense, your     15   they must be broken up into .5-hour pieces in
    16   expert, using these overall schedules to kind of say     16   Adelanto? Is that your -- is that your -- is that
    17   it's going to be an hour and a half, indicates that      17   the logic that we're hearing now?
    18   it could be a reach in many of these categories.         18   A.       That's not what I'm saying. You're trying
    19          So to make this comparison on an overall          19   to take my big-picture comparison -- and I know
    20   basis I still thought was reasonable because you         20   that's your job to do it. You're taking my
    21   have this other case that has all of these positions     21   big-picture comparison, which is how comparables
    22   that results in a different answer. Maybe your           22   work -- you look at it in a big picture. You're
    23   expert's answer is not super tight. Maybe the            23   trying to break it down into smallest detail and say
    24   assumption is that this overall schedule is the          24   that doesn't work, but it doesn't need to work when
    25   length of the detail isn't accurate because there's      25   you're making a comparison on that super high level.
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      1   This is a comparable facility in terms of its -- who        1   Q.      Do you know the basis for the half-hour
      2   owns it, its operation, how the program works. It           2   shift length that's reflected in Exhibit 20 that
      3   doesn't need to be identical on that little                 3   then got converted into Appendix C1 that was
      4   itty-bitty level.                                           4   attached to the Nickerson report that you -- that
      5   Q.       It's like saying two cars are the same             5   you identified in your report?
      6   because they're both red, right?                            6   A.      I don't recall.
      7   A.       No, it's not.                                      7   Q.      Would it surprise you to know that it was
      8   Q.       Well, the fact that you have one similar           8   the guards talking about how long they thought it
      9   trait doesn't mean that everything about both places        9   would take something to get done?
     10   is the same, right?                                        10   A.      I -- I just don't recall, so doesn't --
     11   A.       The fact that you have one similar trait?         11   Q.      We'll talk -- I'm going to show you in a
     12   Q.       Yes, ma'am.                                       12   second, but if that's the basis, that completely
     13   A.       What's the one similar trait?                     13   undermines the rationale that you have of this
     14   Q.       They both house detainees and have them go        14   inclusive "a lot of people got to get into the game,
     15   through a Voluntary Work Program that's run by GEO.        15   you know, and that's how GEO does it" concept,
     16   That seemed to be your overarching theme, the big          16   right?
     17   picture you keep talking about. All right?                 17          MS. SCHEFFEY: Object to form.
     18   A.       Well, that's a pretty big similar trait.          18          THE WITNESS: I don't understand your
     19   Same owner, same type of detainees, same type of           19   point about how that undermines the rationale.
     20   Voluntary Work Program. Those are pretty big.              20          MR. CHAREST: Q. If half hour is based on
     21   Those are not one thing. Those are really big              21   an estimate of a guard on how long it takes to clean
     22   similarities.                                              22   a certain area, how does that relate to GEO's
     23   Q.       So are you saying that there's a policy at        23   overall policy and how it runs the Voluntary Work
     24   GEO where the janitorial shifts are held at a half         24   Program?
     25   an hour as a matter of policy?                             25          MS. SCHEFFEY: Object to form.
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     1    A.      No.                                                 1            THE WITNESS: It doesn't surprise me that
     2    Q.      Okay. Because that would be something               2   a shift would be -- or a detail would be short
     3    that would be on matters you run across all planes,         3   because I understand they're trying to create many
     4    right? That would make sense, but that's not what           4   opportunities to participate. It doesn't surprise
     5    you're saying, correct?                                     5   me that one would be short.
     6    A.      That's correct.                                     6            MR. CHAREST: Q. That's not my question.
     7    Q.      You're saying, as a matter of                       7   My question is this: If the basis for a
     8    happenstance, because GEO runs it like this here, if        8   one-half-hour shift length assumption that is
     9    it does, which you don't even agree with, then it           9   reflected in Exhibit 20 and then turned into
    10    must run it like -- the same way at Adelanto, right?       10   Appendix C1 is some guard telling somebody how long
    11           MS. SCHEFFEY: Object to form.                       11   they thought it took to clean a particular area,
    12           THE WITNESS: Yes. I'm saying that it's              12   how, if at all, does that pertain to shift lengths
    13    likely -- it's very likely consistent because              13   in Adelanto?
    14    they're owned by the same company, and it's a              14   A.        That's the part I guess I misunderstood.
    15    Voluntary Work Program in -- with both places, so          15   I thought you were talking about how does it pertain
    16    they're likely consistent.                                 16   to shift lengths. Just all the same reasons.
    17           MR. CHAREST: Q. Likely consistent why,              17   It's -- it's -- it's what one facility -- it's
    18    ma'am? Because there's a policy, or just luck?             18   how -- it's specific observation about one -- how
    19    A.      Because that's how organizations work.             19   one facility works where the specific observations
    20    There's one organization running two locations.            20   are not available for the other ones.
    21    Q.      Do you have any facts to suggest that              21   Q.        A specific observation about how long it
    22    volun- -- that GEO runs the Voluntary Work Program         22   takes to clean a certain area at Northwest Detention
    23    the same in Adelanto as it does in the Northwest           23   Center, which is a different layout than Adelanto,
    24    Detention facility? Facts.                                 24   right?
    25    A.      As I sit here right now, no.                       25   A.        I assume so.
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     1   Q.      Yeah. So if it takes a half hour for a           1   conclusion reached for the Adelanto facility is
     2   detainee to clean a certain area in Northwest            2   high. It doesn't necessarily mean it is, but it
     3   Detention Center, how long does it take that same        3   could indicate that.
     4   detainee to clean an area in Adelanto?                   4   Q.       Because it takes a half hour for a
     5   A.      Doesn't mean that it would take -- that          5   detainee to clean a certain area at Northwest
     6   one person would take twice as long in Adelanto.         6   Detention Center, that indicates that the
     7   Q.      Well, don't you need to know how big the         7   hour-and-a-half shift length at Adelanto is high?
     8   areas are to make -- to do that math?                    8   A.       It indicates that it could be.
     9          MS. SCHEFFEY: Object to form.                     9   Q.       Is it -- do you think that the detainees
    10          THE WITNESS: No.                                 10   are asked to clean a half hour at a time, however
    11          MR. CHAREST: Q. Really?                          11   much you get done, or do you think there's whole
    12   A.      No, no, because shift lengths are not --        12   "clean this room"?
    13   the way I understand them, shift lengths are not        13   A.       It's my understanding that there are tasks
    14   based on traditional job concepts that --               14   assigned. That's what "detail" means. And I've
    15   Q.      Let's pause right there because I've heard      15   seen that word referenced so that there are, you
    16   your view on that.                                      16   know, "complete the task." It's not so much, "Hey,
    17          MS. SCHEFFEY: Let the witness finish.            17   you're here assigned here for this amount of time."
    18          MR. CHAREST: Q. The question is not              18   It's, "This is your task. Finish this task."
    19   about your view of what you think the traditional       19   Q.       And do you think the tasks that are
    20   view of shift lengths is. The issue is this: The        20   assigned in Adelanto are one-half-hour tasks for
    21   data that Mr. Nickerson relays is described as a        21   janitors?
    22   guard telling somebody about how long it takes to       22   A.       I don't know.
    23   clean an area, not about, "Oh, well, it takes two       23   Q.       You have no idea, right, about that?
    24   hours, but let's cut it in half to give them more       24   A.       I don't know.
    25   time." It's an area, period.                            25   Q.       But you have zero facts to tell you how
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     1          And if that's true -- and I'll show you in        1   long the tasks that the janitors are assigned in
     2   a second. But if that is true, how can you say that      2   Adelanto actually take, correct?
     3   that information has anything to do with how long it     3   A.        I have not seen evidence of the length of
     4   takes to clean a different area in a different           4   the tasks.
     5   facility?                                                5   Q.        Apart from the material that Mr. Bland
     6          MS. SCHEFFEY: Object to form, foundation.         6   collected, right?
     7          THE WITNESS: Your hypothetical assumes            7   A.        Which included schedules. Daily
     8   that only one person would clean the larger area.        8   schedules.
     9          MR. CHAREST: Q. My hypothetical assumes           9   Q.        Why did you cite to the Nickerson report
    10   that the different areas might be different, and you    10   and not the Nickerson amended report?
    11   don't know, right?                                      11   A.        It was just an oversight.
    12   A.       I know that the Adelanto facility overall      12   Q.        Sorry?
    13   is larger.                                              13   A.        It was just an oversight.
    14   Q.       Do you know the size of the areas of any       14   Q.        So you think the amended Nickerson report
    15   particular detainee's assignment as a janitor in        15   is the more accurate one?
    16   either location?                                        16   A.        I'm not aware that it's changed that -- in
    17   A.       I don't.                                       17   the amended report. Changed that 1.72.
    18   Q.       But yet you're willing to compare shift        18   Q.        Talks about all kinds of new other
    19   lengths from one to the other and treat them as         19   material that supports a position in the amended
    20   equivalents?                                            20   report, though, right?
    21   A.       I didn't treat them as equivalents. I          21            MS. SCHEFFEY: Object to form.
    22   said it provides a useful comparison. That's the        22            THE WITNESS: I have not seen an amended
    23   way a comparable analysis works.                        23   report that you describe that talks about a lot of
    24   Q.       How is it useful?                              24   new material. I have not received that or reviewed
    25   A.       Because it could indicate that the             25   it, if that exists.
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     1          (Whereupon Exhibit 210 was marked for            1   A.      Oh, okay. Maybe on the appendix. I'm
     2          identification.)                                 2   struggling. Could you give me the Bates number
     3          MR. CHAREST: Q. Can you look at                  3   instead? I don't see the "of" -- oh, wait. Okay.
     4   Exhibit 210, please. Let me know when you're there.     4   There I am. Okay.
     5   A.       Okay.                                          5   Q.      So it starts "Hours Worked," correct?
     6   Q.       So Exhibit 210 is what I understand to be      6   A.      Yes.
     7   an amended report issued by Dr. Nickelson --            7   Q.      What's the first line that he says?
     8   Nickerson. Have you seen this before?                   8   A.      "Since my last report, I have received
     9   A.       I believe so, yes.                             9   additional documents and spreadsheets upon which to
    10   Q.       You did see the amended report?               10   base my analysis."
    11   A.       Well, but you described something --          11   Q.      Okay. And he goes on to talk about those
    12   Q.       You've seen it?                               12   additional documents and spreadsheets, which we
    13          MS. SCHEFFEY: Let her finish, please.           13   don't have, but he had, and you have, right?
    14          THE WITNESS: I have seen this, but I have       14   A.      I don't know. As I said, I haven't done
    15   not spent much time with it based on my                15   any work after issuing my first report, so I haven't
    16   understanding of just a quick review. I haven't        16   looked to see what he cites and haven't requested
    17   done any more work in that case since I issued my      17   any additional information, haven't received any
    18   report; that it appeared he made minor changes, and    18   additional information.
    19   I don't -- your description of extensive, a bunch of   19   Q.      Do you know that you haven't -- let's be
    20   additional information, is not consistent with this    20   really clear because we're (garbled) -- are you sure
    21   report. So I'm confused. I don't -- but I've spent     21   that you have not received any additional
    22   very little time with this report, so maybe there is   22   information that's associated with this amended
    23   more here and I just am not aware of it.               23   report, or you just don't remember it?
    24          MR. CHAREST: Q. My description is               24          MS. SCHEFFEY: Object to form.
    25   inconsistent, but you don't know what's in the         25          THE WITNESS: Well, if it happened back in
                                                     Page 286                                                        Page 288

     1   report?                                                 1   2000 -- whenever it was that I issued my report --
     2   A.      As I said, I haven't done any work on that      2           MR. CHAREST: Q. 2018, ma'am.
     3   case since issuing the report, so I haven't reviewed    3   A.       '18, '19. I don't believe I did because I
     4   this report extensively to understand, but -- all of    4   just don't believe that I worked on this case after
     5   what it's changed, but my understanding was that the    5   my report. Just went quiet for me, so --
     6   1.72 hours is not changed.                              6   Q.       Brent received it. When I'm talking about
     7   Q.      Turn, if you would, to page 4 of 12. Oh,        7   you received, I'm talking about the royal "you."
     8   I'm sorry. 3 of 12.                                     8   Your group received --
     9          MS. SCHEFFEY: Past the exhibits?                 9   A.       Right, right, right. I -- I'm -- I
    10          MR. CHAREST: I'm sorry?                         10   believe that we did not, but it's been a while, so I
    11          MS. SCHEFFEY: Do we have to go past the         11   could be wrong, but I just don't remember.
    12   exhibits, or are you talking about PDF pages?          12   Q.       Under oath today, can you swear that you
    13          MR. CHAREST: No, it's marked 3 of 12.           13   did not receive this information?
    14   It's GEO-Novoa-00161995.                               14   A.       No, because my memory's not that reliable,
    15          THE WITNESS: Okay.                              15   but it's my belief that I didn't.
    16          MR. CHAREST: Q. Are you there?                  16   Q.       Right, but you are -- your belief, based
    17   A.      Yes.                                           17   on what?
    18   Q.      He talked -- he starts the section there       18           MS. SCHEFFEY: Argue -- come on.
    19   about hours worked, right?                             19           THE WITNESS: Just based on my memory and
    20   A.      I must not be on the right page.               20   what I just said of -- I just had no activity after
    21   Q.      It's the bottom of the page. I mean, it's      21   issuing my report. I don't recall any activity.
    22   a header near the bottom, above some footnotes.        22           MR. CHAREST: Q. You don't know whether
    23   A.      I'm on page PDF page 3.                        23   or not the other side's expert produced to you
    24   Q.      No. It's 3 of 12. It's marked on the           24   workpapers from an amended report, and the lack of
    25   bottom of the page.                                    25   that memory is therefore basis to say you didn't
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      1   receive it; is that right?                                  1   remember having those and citing those before
      2   A.       I said it's my belief that I didn't                2   issuing my report.
      3   receive it because I don't recall receiving it.             3          MR. CHAREST: Q. So you did have this
      4   Q.       Well, this is how it describes some of             4   information?
      5   this information. Looking at page 4 of 12, the              5   A.      Well, some -- I don't recognize it all,
      6   first full paragraph, he says the analysis continues        6   but some of this might have been what I obtained for
      7   to rely on two primary sources of evidence: One is          7   purposes of my report, and then it was produced to
      8   the payments made, and No. 2 is Exhibit 20 of the           8   him when my report was issued, and that's why he's
      9   GEO deposition, with the individual being named Ryan        9   calling it new information. I don't know. I don't
     10   Kimble, correct?                                           10   know that. I just -- I recognize one set of
     11   A.       Yes.                                              11   information in his footnote 11.
     12   Q.       And then he says there's a summary chart          12   Q.      Okay. And that's information that we
     13   compiled by GEO which is evidence of the hours             13   don't have, right?
     14   worked each day and the categories that -- of that         14          MS. SCHEFFEY: Object to form.
     15   work, and that's how he describes Exhibit 20, right?       15          THE WITNESS: I assume so. I don't know.
     16   A.       Yes.                                              16          MR. CHAREST: Q. In the second full
     17   Q.       He goes on to say, "I have also reviewed          17   paragraph, there's a description of what's in
     18   other sources of information that support the              18   Exhibit 20 and the source of it. Are you with me?
     19   information contained in Exhibit 20, including             19   A.      Yes.
     20   additional information pertaining to detainee work         20   Q.      Says, "Exhibit 20 summarizes the number of
     21   categories and the associate daily hours worked,"          21   detainee workers inside the 'Pod' and 'Outside
     22   and he cites footnote 11, with a series of                 22   Detail' jobs at the facility, together with
     23   information there. So that's the new information           23   estimates of the average amount of time these
     24   that you said he didn't have?                              24   detainee workers spend completing their job" --
     25           MS. SCHEFFEY: Object to form.                      25   "each job on a daily basis." Did I read that
                                                          Page 290                                                       Page 292

      1           THE WITNESS: The new inform- -- would you           1   correctly?
      2   repeat that last part? The new information that he          2   A.       Yes.
      3   didn't have or I didn't have?                               3   Q.       Yeah. I may have missed it, but is there
      4           MR. CHAREST: Q. Well, I don't know if               4   any commentary here about "and the need to make sure
      5   you have it or not. You don't know either,                  5   everyone's involved, and therefore, could keep short
      6   apparently. My point is, this is the report, the            6   shifts," or is it just the jobs and how long it
      7   amended report that talks about new information that        7   takes to get them done?
      8   supports his position that you said didn't exist.           8   A.       I understand he's describing his
      9   A.       I didn't say it didn't exist. I said I             9   understanding of Exhibit 20.
     10   don't recall receiving it.                                 10   Q.       Okay. Do you have any basis to dispute
     11   Q.       Okay. Do you remember it now?                     11   what he's saying about the description of
     12   A.       Well, give me a minute. There's a lot on          12   Exhibit 20?
     13   footnote 11.                                               13   A.       Not sitting here, no.
     14           (Pause.)                                           14   Q.       Goes on to say, "There are 20 different
     15           THE WITNESS: So footnote 11 has a lot of           15   'Pods' listed on the table, with 11 to 19 jobs in
     16   information. Some of that I recognize as having            16   each one; and there are 10 different outside detail
     17   received before I issued my rebuttal report, and           17   jobs." Did I read that correctly?
     18   it's cited in my rebuttal report, such as year-end         18   A.       Yes.
     19   reports, Northwest Detention Center year-end               19   Q.       Yeah. He says, "This table estimates a
     20   reports, those included charts that summarized the         20   total of 470 detainee workers at the Northwest
     21   check-in sheets.                                           21   Detention Facility every day, for a total of 810
     22           Those other descriptions, I just don't             22   hours of work per day," correct?
     23   have enough of a recall of what they are to know --        23   A.       That's what it says.
     24   to know if I had them and when I had them, but based       24   Q.       Do you know how many detainee workers work
     25   on just those -- the financial statements, I               25   on average every day in Adelanto?
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     1   A.      I -- sitting here, I don't.                     1   of the distribution of jobs times the assumed shift
     2   Q.      Do you know how many total hours of work        2   length. You asked me is that how he calculated
     3   are done every day in Adelanto?                         3   1.72. It doesn't matter how many days or hours a
     4   A.      I don't. I know it's in the inform- -- I        4   day are worked.
     5   mean, I don't know it's calculated per day. I know      5   Q.      Is that how you think the 1.72 is
     6   that there are some annual totals in the reports. I     6   calculated, what you just said?
     7   just don't, off the top of my head, know.               7          MS. SCHEFFEY: Object to form.
     8   Q.      Yeah, that would be useful information if       8          THE WITNESS: That's how I remember it.
     9   you're trying to measure the average daily shift        9   It's been quite a while. I remember it being a
    10   length, right?                                         10   function of just the same as it is in the Bland
    11   A.      I'm not sure I follow why the total number     11   report, a function of the distribution of jobs, the
    12   of workers per day impacts the average daily shift     12   ratio of jobs to each other, times their weighted
    13   length.                                                13   average -- or times their assumed shift length gives
    14   Q.      You don't see any connection between the       14   you that weighted average.
    15   two?                                                   15          MR. CHAREST: Q. That's not how any of
    16   A.      Well, there is -- I mean, we're going to       16   this works.
    17   have the same conversation -- I don't know if we're    17   A.      Well, I apologize. It's been quite a
    18   going to go another hour on the same conversation,     18   while since I looked at Exhibit 20.
    19   but -- but I -- my understanding of the program is     19   Q.      Yeah, but you're the one that's saying
    20   that there is a desire for more workers                20   Exhibit 20 and Exhibit -- Appendix C1 is like this
    21   participating, and by necessity that means that        21   source that we need to pay attention to because of
    22   shift lengths or detail lengths have to be shorter     22   the overarching commonality between the facilities
    23   than if there were traditional jobs.                   23   and how they're run, right?
    24          So if there are more workers per day in         24          MS. SCHEFFEY: Object to form.
    25   Adelanto, it could be simply a function of having      25          MR. CHAREST: Q. You're the one that's
                                                     Page 294                                                      Page 296

     1   more detainees. I don't know. It could be a           1     saying that, right?
     2   function of -- it could be a function of shorter      2     A.       Yes, I'm the one who said that 1.72 could
     3   shift lengths. I mean, so I'm not really sure what    3     be a useful comparison.
     4   you're asking in terms of the connection.             4     Q.       Yeah. And you don't even know how 1.72 is
     5   Q.      If you knew the number of hours worked per    5     calculated?
     6   day and the total number of workers, you would know 6       A.       I don't -- I don't remember. I didn't
     7   the average length of the workers' work each day,     7     rereview my work in that case.
     8   right?                                                8     Q.       What if it's calculated by asking a guard
     9          MS. SCHEFFEY: Object to form.                  9     how long it takes to take a -- to do a task,
    10          MR. CHAREST: Q. I mean, it's math.            10     multiplying that number by the worker count, and
    11   A.      The total number -- say that again.          11     then getting a total number of hours, adding those
    12   Q.      Look at the sentence I just read to you.     12     all up, and then dividing it by the total number of
    13   810 hours of work per day, 470 detainees, and he     13     worker count? What if that's the answer? Is it
    14   uses those data to calculate the 1.72 hours, right?  14     still a useful comparison?
    15   A.      Well, yes, but the 810 hours is based on     15     A.       I don't see why it isn't.
    16   assumptions about the length of each -- of each      16     Q.       Okay. Well, do you think the guard's view
    17   detail. So it's not -- it's not like a time sheet    17     on how long it takes to take -- to complete a task
    18   record or anything. It's the length of each detail.  18     at Northwest Detention Center has any bearing
    19   Q.      I didn't ask about a time sheet or the       19     whatsoever on average shift length in Adelanto?
    20   basis of it or anything. I asked you what I asked    20     Because that's really what we're doing here. We're
    21   you, and the answer is "yes," right?                 21     taking the guard saying this job takes a half hour,
    22   A.      That's not the way I understand Exhibit 20   22     times the number of people, average it all -- add it
    23   in terms of how 1.72 is reached, but I don't know if 23     all up and divide it up for a weighted average, and
    24   it matters. Maybe I'm not understanding your         24     then saying, "Oh, but it's different than Adelanto."
    25   question. The 1.72 is reached by the multiplication 25      That's what you're saying, right?
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     1          And so the fundamental thing that's being        1   kitchens --
     2   compared is a guard's view on how long it takes to      2           MS. SCHEFFEY: Counsel, we're not going to
     3   do a task in Northwest Detention Center to average      3   talk over each other. Let the witness finish, and
     4   shift length in Adelanto, correct?                      4   then you can speak.
     5          MS. SCHEFFEY: Object to form.                    5           THE WITNESS: There's different sources of
     6          THE WITNESS: I think that's a useful             6   those assumptions. One is the guard saying "I've
     7   comparison.                                             7   seen this, and this is what" -- "this is how long I
     8          MR. CHAREST: Q. Really?                          8   think it takes." The other is based on a schedule
     9   A.      Yes.                                            9   for the day kind of concept. And so -- so I'm
    10   Q.      Are the tasks the same?                        10   saying it might be useful to go up to the top level
    11   A.      We don't know because their records aren't     11   and look at it as a whole, to see whether or not the
    12   kept. The guard is making an observation -- we've      12   Adelanto conclusion seems rational based on this
    13   been through deposition testimony -- making an         13   other analysis where there's more detailed
    14   observation about how long these things take. Over     14   information about the lengths of shifts.
    15   on the Adelanto side, I have not seen that level of    15           MR. CHAREST: Q. So you think that a
    16   detailed, "This is how long these things take."        16   guard was under oath and told people how long
    17   It's more of a "Here's the overall schedule            17   different tasks take at Northwest Detention Center?
    18   approach." So yes, I think it is useful to refer to    18   Is that what you now think is the basis for Exhibit
    19   another situation where there's been more detailed     19   20?
    20   observations. They may not be identical. That's        20   A.       I don't recall all of the -- well, there
    21   not --                                                 21   is a large list of sources of assumptions in that
    22   Q.      Do you know if the tasks have any relation     22   case. I don't recall the basis of those assumptions
    23   to each other, other than it being janitorial work?    23   specifically.
    24   A.      They're -- on a specific task-by-task          24   Q.       Yeah, but you just testified the guard was
    25   basis, no.                                             25   under oath, and therefore --
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     1   Q.      Right. And so if I'm doing Task A in            1   A.       I didn't say he was under oath. You said
     2   Northwest Detention Center and it takes me 30           2   he was under oath.
     3   minutes, how long does it take you to complete Task     3   Q.       It was a deposition. You did. And that's
     4   Z in Adelanto?                                          4   fine. You're guessing, but you're wrong. Okay?
     5   A.      I don't think that the comparison has to        5   That's not what happened.
     6   be made on that micro level for the overall             6          MS. SCHEFFEY: Object to form. Move to
     7   comparison to be valid. It doesn't have to work         7   strike testimony of counsel.
     8   that way when you're using a comparable at a higher     8          MR. CHAREST: Q. Do you even know the
     9   level. It doesn't have to flow all the way down to      9   basis by which the shift lengths were measured and
    10   the detailed tasks.                                    10   evaluated in Exhibit 20?
    11   Q.      You keep saying "a comparable at a higher      11   A.       I cannot recall, sitting here.
    12   level," and we're talking about back to this notion    12   Q.       Yeah. Can you swear under oath that it is
    13   that the Voluntary Work Program is being run           13   accurate in any way?
    14   similarly at the different facilities, for which you   14   A.       Exhibit 20?
    15   have no factual basis, correct?                        15   Q.       Yes, ma'am.
    16          MS. SCHEFFEY: Object to form.                   16   A.       As far as shift lengths, I have issued a
    17          MR. CHAREST: Q. Right? You have no              17   report criticizing its accuracy. As far as the
    18   factual basis to say that the Voluntary Work Program   18   distribution, I felt that it was relatively
    19   is run similarly, as you allege, in any one of the     19   reasonable. It's a narrow period of time that's
    20   different detention centers, correct?                  20   reflected in Exhibit 20, but I felt like the
    21   A.      That's not correct. I see similar job          21   distributions were -- I understood what the
    22   categories. I see similar lengths of the kitchen       22   underlying data was for the distributions.
    23   shift. I see --                                        23   Q.       We're talking about shift lengths here.
    24   Q.      But you see different lengths of shifts        24   You understand that, right? Do you have any
    25   per janitors, so the similarity in the shift length    25   basis --
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     1   A.      Not necessarily, because 1.72 is based on      1   A.       I don't recall his deposition.
     2   both.                                                  2   Q.       You would need to see his transcript to
     3          MS. SCHEFFEY: And can we get the time on        3   know the answer to that question, correct?
     4   the record?                                            4   A.       Yes.
     5          MR. CHAREST: You can take a break. We'll        5   Q.       Did GEO ever present you with any data
     6   do it on the next break.                               6   that was contradictory of the 1.5-hour shift length
     7   Q.      The question is this: Do you have any          7   assumption with respect to custodial services in
     8   basis in fact to say that Exhibit 20's shift           8   Adelanto?
     9   lengths, the entering arguments of the data are        9   A.       I don't recall any.
    10   correct?                                              10   Q.       So sitting here today under oath in your
    11   A.      Do I have basis in fact to say that they      11   deposition, defending your opinions, you can't
    12   are correct?                                          12   identify anything you received from GEO that calls
    13   Q.      Yeah.                                         13   into question the 1.5-hour assumption with respect
    14   A.      The shift lengths. No, not sitting here       14   to shift length for custodial services; is that
    15   today.                                                15   correct?
    16   Q.      All right. And you understand the math is     16   A.       That's correct.
    17   shift lengths times number of workers equals total    17          MR. CHAREST: Pass the witness.
    18   amount of time for that particular job. Add it all    18          MS. SCHEFFEY: Can we get the time on the
    19   up, divide it by the total number of workers, and     19   record just right now, so I know how much Dan has
    20   that's your shift length. That's the math. So as      20   left?
    21   an entering argument, you don't know whether the      21          THE VIDEOGRAPHER: We've been on the
    22   beginning data are accurate or not, correct?          22   record for a minute and 30 seconds. Three and a
    23   A.      I know that some are inaccurate because       23   half.
    24   I've issued a report about that.                      24          MS. SCHEFFEY: Mr. Charest has three and a
    25   Q.      Yeah.                                         25   half left?
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     1   A.      There are others that I haven't supported,    1
     2   and there are some that I've criticized.              2            EXAMINATION BY MS. SCHEFFEY
     3   Q.      You don't know that any of them are, in       3           MS. SCHEFFEY: Q. So Ms. Morones, first I
     4   fact, accurate, correct?                              4    wanted to direct you to Exhibit 211. You don't have
     5   A.      Independently from -- other than the          5    to open it, but can you see the title of that
     6   evidence that I've presented in my report, no.        6    document?
     7   Q.      Yeah. And you don't know that the shift       7    A.      Yes.
     8   lengths, in fact, have any relation to shift lengths  8    Q.      What is the title?
     9   in Adelanto, correct?                                 9    A.      "Detainee Training English."
    10   A.      I do not conclusively know, correct.         10    Q.      Okay. And in that document earlier today,
    11          MR. CHAREST: Take a break, please.            11    you referenced that there is a reference to a
    12          THE VIDEOGRAPHER: Did you say "take a 12            scheduled mealtime; is that correct?
    13   break"?                                              13    A.      It's a reference to a rule about eating at
    14          MR. CHAREST: Yes.                             14    the regularly scheduled time.
    15          THE VIDEOGRAPHER: We're going off the 15                   MR. CHAREST: So the answer is "no."
    16   record at 5:17.                                      16           THE WITNESS: Something like that.
    17          (Recess taken from 5:17 p.m. to 5:21 p.m.)    17           MS. SCHEFFEY: Dan, please let the witness
    18          THE VIDEOGRAPHER: Okay. We're back on18             speak. You don't need to --
    19   the record. The time is 5:21 p.m.                    19           MR. CHAREST: The answer's "no," though.
    20          MR. CHAREST: Q. Ms. Morones, did              20    Go ahead.
    21   Mr. Kimble say anything in his deposition about the 21            MS. SCHEFFEY: Dan, I think that's an
    22   applicability or not of the data that was used to    22    inappropriate deposition tactic.
    23   derive the shift length in Exhibit 20 and ultimately 23           MR. CHAREST: Okay. Go ahead.
    24   reflected in the Nickerson report to facilities      24           THE WITNESS: The document says, "There
    25   other than Northwest Detention Center?               25    will be no eating in the kitchen, except at your
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     1   scheduled mealtime in the designated eating area."     1   the questions, please let me know.
     2          MS. SCHEFFEY: Q. Do you have any reason         2   A.      Nothing comes -- you know, it's been a
     3   to believe that detainees would be trained about a     3   long day. Nothing comes to mind that I would say
     4   meal break and not get a meal break?                   4   that I would want to change anything.
     5   A.      No.                                            5   Q.      Okay. Earlier today, do you remember a
     6   Q.      Have you seen any information indicating       6   long colloquy about what people were actually paid
     7   that detainees do not get a meal break?                7   to perform work at the Adelanto facility?
     8          MR. CHAREST: Objection; form.                   8   A.      Yes.
     9          THE WITNESS: No.                                9   Q.      Were you provided information about what
    10          MS. SCHEFFEY: Q. Okay. You testified           10   detainees were actually paid to perform the work at
    11   earlier about the Nickerson report. Do you remember   11   the Adelanto facility?
    12   that?                                                 12   A.      In terms of payroll records, no. I only
    13   A.      Yes.                                          13   recall those offer -- those offer sheets or -- I'm
    14   Q.      There was some question about the             14   not sure what to call them, but...
    15   October 9th, 2018 Nickerson report and whether you    15   Q.      And I know it's been a long day, but my
    16   had seen it. Do you remember that?                    16   question is were you provided information about what
    17   A.      Is that the amendment?                        17   detainees were actually --
    18   Q.      Yes.                                          18   A.      Oh, I'm sorry.
    19   A.      I don't have dates in my head. Yes.           19   Q.      -- paid to perform the work in their
    20   Q.      That would be, just for clarity on the        20   positions?
    21   record, Exhibit 210 amendment.                        21          MR. CHAREST: Form.
    22   A.      Okay.                                         22          THE WITNESS: Yes.
    23   Q.      Your report in the Nwauzor case was dated     23          MS. SCHEFFEY: Q. And what amount were
    24   September 11th, 2019. Do you have any reason to       24   detainees actually paid?
    25   believe it was not created close to that date?        25   A.      As far as I understand, a dollar per day,
                                                    Page 306                                                     Page 308

     1   A.      No.                                          1     dollar per detail, dollar per day.
     2   Q.      And if your report references this           2     Q.       Okay. And so would the actual amount that
     3   October 9th, 2018 report, do you have any reason to  3     detainees were paid for those positions be helpful
     4   believe that that report is inaccurate?              4     in the analysis you performed in your report?
     5          MR. CHAREST: Form.                            5     A.       I'm not sure I understand the question
     6          THE WITNESS: Which one?                       6     because they're taken into account. They're
     7          MS. SCHEFFEY: Q. Yeah. If your Nwauzor 7            subtracted out in any of the claims.
     8   expert report -- expert rebuttal report references   8     Q.       Okay. And so as for determining that rate
     9   the October 9th, 2018 Peter Nickerson amended        9     that they could have been paid, is the actual amount
    10   report, do you have any reason to believe you did   10     that they were paid a helpful comparison compared
    11   not see it before issuing your report?              11     to, for example, the SCA rates you used?
    12   A.      No.                                         12            MR. CHAREST: Form.
    13          MR. CHAREST: Form.                           13            THE WITNESS: No.
    14          MS. SCHEFFEY: Q. Excluding the Nickerson 14                MS. SCHEFFEY: Q. Can you turn to
    15   report, do the remainder of your critiques remain   15     Schedule 6B of your report, page 24. It's
    16   unchanged?                                          16     Exhibit 203.
    17          MR. CHAREST: Form.                           17            MR. CHAREST: Which schedule?
    18          MS. SCHEFFEY: What is your form              18            MS. SCHEFFEY: B, page 24. PDF page 24.
    19   objection?                                          19            MR. CHAREST: 6B; is that what you said?
    20          MR. CHAREST: Vague. Which critique are 20                  MS. SCHEFFEY: Yes, 6B.
    21   we talking about?                                   21            MR. CHAREST: Okay.
    22          MS. SCHEFFEY: Remainder of her critiques 22                THE WITNESS: Okay.
    23   in her report. She takes away the Nickerson report. 23            MS. SCHEFFEY: Q. Do you have that chart
    24          MR. CHAREST: Still form.                     24     in front of you that starts with "Contract Period
    25          MS. SCHEFFEY: Q. If you don't understand 25         5/27/2011" that's the first line I see in the top
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     1   left?                                                     1   October 3rd, 2017 letter, your estimate would only
     2   A.      Yes.                                              2   vary by 4 cents an hour?
     3   Q.      Are you able to open Exhibit 207 at the           3          MR. CHAREST: Form.
     4   same time?                                                4          THE WITNESS: That's correct.
     5   A.      If you tell me how. I haven't done it all         5          MS. SCHEFFEY: Q. If you were to be given
     6   day, so I don't know how.                                 6   a different input that was more reliable than the
     7   Q.      I downloaded it and opened them side by           7   one you used, would your calculation still be able
     8   side, but if not, I can maybe Screen Share one, if        8   to be applied to that new input?
     9   you're able to still look at your report.                 9          MR. CHAREST: Form.
    10   A.      Yeah, I'll look at the report. If you            10          THE WITNESS: I don't understand your
    11   want to show me the other one, that would be great.      11   question.
    12   Q.      Okay. Give me one second. Okay. Can you          12          MS. SCHEFFEY: Q. Yeah. So let's say the
    13   see my screen right now, which has your report on        13   Court were to find that the SCA rate for 2018 should
    14   it?                                                      14   apply to every year, for example. Would you still
    15   A.      Yes.                                             15   be able to execute your calculations using the wage
    16   Q.      So I have pulled up Exhibit 207.                 16   rates, the benefit rates, and come to a total hourly
    17   A.      Okay.                                            17   rate?
    18   Q.      I understand it's been a long day, but           18          MR. CHAREST: Form.
    19   looking at this first paragraph, do you see that it      19          THE WITNESS: I am still not 100% sure I
    20   says, "An hourly rate of 10.50 per hour plus a           20   understand, but this is -- this is an Excel schedule
    21   pro-rated Health and Welfare rate of 4.27 per hour       21   essentially, so I certainly could change any of the
    22   will be provided for this position"?                     22   calculations using any other rates, if that's what
    23   A.      That's what it says, yes.                        23   you're asking.
    24   Q.      Are you able to add those up today,              24          MS. SCHEFFEY: Q. And if there was a new
    25   sitting here? I know it's been long.                     25   rate, would you have to change your methodology for
                                                       Page 310                                                    Page 312

     1   A.       Yes. Hold on. Yes. 14.77.                        1   assessing the pay rates that detainees could have
     2   Q.       Okay. 14.77. And what is the date of             2   obtained?
     3   this letter?                                              3   A.      It's not a different methodology per se.
     4   A.       October 3rd, 2017.                               4   I guess I'm still struggling with the question. I'm
     5   Q.       Okay. I want to take you back to your            5   sorry. It's not a different methodology. It just
     6   report. So the period of October 3rd, 2017 would          6   would be updating their rates assumed that they
     7   fall within this second period of your chart, right?      7   would be paid by GEO.
     8   A.       That's correct.                                  8   Q.      Did you use an equation to reach your
     9   Q.       Okay. And for that, calculating for wages        9   conclusions?
    10   and benefits, what is the total hourly rate that you     10          MR. CHAREST: Form.
    11   identify for janitor?                                    11          THE WITNESS: Yes.
    12   A.       14.81.                                          12          MS. SCHEFFEY: Q. Would you have to
    13   Q.       Okay. So is that number higher or lower         13   change that equation if an input changed?
    14   than the amount they were actually paid in this?         14   A.      No.
    15   A.       I don't know if that's what they were           15   Q.      I'll stop sharing real quick. So if you
    16   actually paid. It's what they were offered, but it       16   go to the amended Nickerson report, which is
    17   is higher when you combine the two.                      17   Exhibit 210.
    18   Q.       Okay. And what is the difference between        18   A.      Okay.
    19   the number in your estimate and the number in this       19   Q.      If you can turn to page 4 of 12, which is
    20   2017 letter, which is marked as Exhibit 207?             20   Bates ending in 1996.
    21   A.       Four cents.                                     21   A.      Okay.
    22   Q.       Four cents?                                     22   Q.      Okay. So here, this -- there was some
    23   A.       Yes.                                            23   confusion earlier about whether this amended report
    24   Q.       Okay. So assuming that someone was              24   relied upon the 1.72 number. Do you remember that?
    25   actually paid the amount expressed in this               25   A.      Yes.
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      1   Q.       So if you'll see here about -- in the last         1   don't recall any other mathematical errors.
      2   paragraph on page 4, about midway through, it says,         2          MS. SCHEFFEY: Q. Is it your
      3   "The table estimates a total of 470 detainee workers        3   understanding that Mr. Bland updated his report
      4   at the Northwest Detention Center facility every            4   subsequently to be more consistent with your
      5   day." Do you see that sentence?                             5   criticisms?
      6   A.       Yes.                                               6   A.      Yes.
      7   Q.       If you read that sentence and the sentence         7          MR. CHAREST: Form.
      8   after it, can you tell me if it's your impression,          8          MS. SCHEFFEY: Q. Have you taken any
      9   sitting here today, that Mr. Nickerson used the             9   position about whether the one point -- or 1.72
     10   1.72-hour number in his amended report?                    10   number that was used in the Nickerson report is a
     11           MR. CHAREST: Form.                                 11   more accurate number than the one used in the Bland
     12           THE WITNESS: Well, the 810 is -- it's a            12   report?
     13   comparison of 470 detainees to 810 hours a day. So         13   A.      I specifically did not take a position.
     14   that, sure, it multiplies out to 1.72 hours per            14          MS. SCHEFFEY: Thank you. No further
     15   detainee.                                                  15   questions.
     16           MS. SCHEFFEY: Q. And what does the next            16          FURTHER EXAMINATION BY MR. CHAREST
     17   sentence following footnote 12 state? Can you read         17          MR. CHAREST: Q. So when you looked at
     18   it into the record?                                        18   Exhibit 207 and found the one price that was
     19   A.       "It is my understanding that the estimated        19   consistent with your report, does that change your
     20   hours for each work category included in this table        20   observation of the other prices, the rates that were
     21   are based on observations by detention officers on         21   not consistent with your report?
     22   how long each job takes on the average and are not         22   A.      I don't know. I would have to look back
     23   estimates provided by detainees who perform the work       23   and do the comparison.
     24   themselves."                                               24   Q.      The comparison being they were paying
     25   Q.       And does that clear up your understanding         25   janitors more than $11 an hour during the time you
                                                          Page 314                                                      Page 316

     1    at all about any of Dan's prior questions?                  1   say they were getting paid $11 an hour. Do you
     2            MR. CHAREST: Form. Which question?                  2   remember that?
     3            MS. SCHEFFEY: I said "prior questions."             3          MS. SCHEFFEY: Object to form.
     4            MR. CHAREST: All of them?                           4          THE WITNESS: Unfortunately, I don't
     5            MS. SCHEFFEY: Yes.                                  5   remember because it's been a long day, so I don't
     6            THE WITNESS: It's Mr. Nickerson's                   6   remember the quantitative comparisons from several
     7    understanding of the source of hours per job in             7   hours ago.
     8    Exhibit 20.                                                 8          MR. CHAREST: Q. Okay. The fact that you
     9            MS. SCHEFFEY: Q. Okay. And then just a              9   found one consistent document doesn't change the
    10    few more questions. So in terms of your assessment         10   other documents that are inconsistent with your
    11    of this report, did you look at Mr. Childers' and          11   report, right?
    12    Mr. Bland's reports with the goal of reaching              12   A.       I -- not necessarily. I don't know. I'd
    13    different conclusions?                                     13   have to go back and look at them.
    14    A.       I did not. I did not have an assignment           14   Q.       Do you want to? Okay. Exhibit 207. You
    15    to express an overall opinion of damages.                  15   there?
    16    Q.       Okay. What did you do?                            16   A.       Yes.
    17    A.       I reviewed the reports and analyzed the           17   Q.       The first one is $11 an hour, which is
    18    support, checked the math, pointed out areas that I        18   consistent with your report, correct?
    19    thought the support was weak or the math was               19   A.       Yes.
    20    incorrect.                                                 20   Q.       The next one is 14.04. The next one after
    21    Q.       And did you find mathematical errors in           21   that is 14.04, neither one of which are consistent
    22    Mr. Bland's report?                                        22   with your report, correct?
    23            MR. CHAREST: Form.                                 23          MS. SCHEFFEY: Object to form.
    24            THE WITNESS: As I said before, if you              24          THE WITNESS: This letter doesn't specify
    25    consider the failure to deduct actual, then yes. I         25   the benefit rate. The base hourly rate is -- from
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     1   what I recall, it's higher.
     2         MR. CHAREST: Right. Pass the witness.
     3         MS. SCHEFFEY: We're done. Thank you so
     4   much.
     5         MR. CHAREST: You're free. We're off the
     6   record.
     7         THE VIDEOGRAPHER: One moment. This marks
     8   the end of the video-recorded deposition of Serena
     9   Morones. We're going off the record at 5:39 p.m.
    10         THE REPORTER: Ms. Scheffey, did you need
    11   a copy?
    12         MS. SCHEFFEY: Yes, please.
    13         (Whereupon the deposition concluded at
    14         5:40 p.m.)
    15
    16              ---oOo---
    17
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    25
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     1           CERTIFICATE OF REPORTER
     2
     3          I, Natalie Y. Botelho, a Certified
     4   Shorthand Reporter, hereby certify that the witness
     5   in the foregoing deposition was by me duly sworn to
     6   tell the truth, the whole truth, and nothing but the
     7   truth in the within-entitled.
     8          The said deposition was taken down in
     9   shorthand by me, a disinterested person, at the time
    10   and place therein stated, and that the testimony of
    11   said witness was thereafter reduced to typewriting,
    12   by computer, under my direction and supervision;
    13          That before completion of the deposition,
    14   review of the transcript [ ] was|[X] was not
    15   requested. If requested, any changes made by the
    16   deponent (and provided to the reporter) during the
    17   period allowed are appended hereto.
    18          I further certify that I am not of counsel
    19   or attorney for either or any of the parties to the
    20   said deposition, nor in any way interested in the
    21   event of this cause, and that I am not related to
    22   any of the parties thereto.
    23                 DATED: September 29, 2020
    24
                     <%20029,Signature%>
    25               Natalie Y. Botelho, CSR No. 9897
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                       Federal Rules of Civil Procedure

                                       Rule 30



          (e) Review By the Witness; Changes.

          (1) Review; Statement of Changes. On request by the

          deponent or a party before the deposition is

          completed, the deponent must be allowed 30 days

          after being notified by the officer that the

          transcript or recording is available in which:

          (A) to review the transcript or recording; and

          (B) if there are changes in form or substance, to

          sign a statement listing the changes and the

          reasons for making them.

          (2) Changes Indicated in the Officer's Certificate.

          The officer must note in the certificate prescribed

          by Rule 30(f)(1) whether a review was requested

          and, if so, must attach any changes the deponent

          makes during the 30-day period.




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          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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           COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

     Veritext Legal Solutions represents that the
     foregoing transcript is a true, correct and complete
     transcript of the colloquies, questions and answers
     as submitted by the court reporter. Veritext Legal
     Solutions further represents that the attached
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     documents as submitted by the court reporter and/or
     attorneys in relation to this deposition and that
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     our litigation support and production standards.

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